                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 1 of 133



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   1Ct Round Cut VVS1/D Diamond Smiley Face Stud Earrings 14K Yellow Gold Plated | eBay

   URL
   https://www.ebay.com/itm/284912632282

   Collection Date
   Mon, 28 Aug 2023 07:44:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YsDdJv4tctTnGcZHKebrvf5kCXNN5EI3JIfdP6sPaugnnqA7Lp2sT6m1Jsz+xVkf4asqzWVk4LY3RM1yGwJiueMGbws4sTossZW+XRIS5lt7SC7IBRk5N6j5Cmajc4c3x0oZR8eN0YdeJ8VoRqnK5YgDzoig8zksmM9cod2e9iM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]284912632282]]_Mon,-28-Aug-2023-07-44-27-GMT.pdf

   Hash (SHA256)
   aab0332510f723670755ffcde45bfe3895d405439ff6ee78e6dcad6b4b7d0038

   Signature (PKCS#1v1.5)
eTpPbSy5dPCKNhJl2Kmjr40/AJH6W1ECX4JswHUXkUOOkGtI1/Q9nDXd/ea7kXHSs1RIn/LRPns8FDfemHxisxCDbQ/DImi58kp27lyOoiEeq0QULGEwaPaomCIvU/C52bAN2kjAnQQ2DLGfV5M+gzDyzKAsNQhcGpDQVe9GEqA=
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 2 of 133



                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 05:50:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Vsjcq0hIzLnnt26iT8WLJl1vj3n+Y4DmQBwl9ZigRi+DTRAjczQ6r1RjsFZQprdpy2VRyWOS2yPczByDBnKrXCs+TNvEjHl50bQ3zyX854wptu/bEI+shnQDHTWf0FCGfel/5XZMZbljnfSGfI6MBLqJQtZJFojuwNLqoUv6CH/
   TRMpWZkfiT8WAQkKx4qhrntjGAN8sMjabaN0WX3fLxNECk7t82m/4bzNFgKeGokeW4Wgg6wbSjajF9g7BubKD/QPAuvyHODw4MjTSsqtq97/Pd6HTe+NHPxMNHa4k65rAyg2AyaQHGjSNIro7hfTE42LtuqhOWarJ0hjmtZJwQw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-05-50-57-GMT.mhtml

   Hash (SHA256)
   12deacfe2f29cb5a31d2a16e68e2217a09a46f2a71e4b2621b3e3c02ac64384b

   Signature (PKCS#1v1.5)
NTULy4z3usxo8e4YxiIGJUP7fJEBrmy9lAMlq4lDtza6ncO+hdjFZEqOMJA4cUS+4VhuzA7h7qc3xQfXNZiOxs6CpsZ2kcsKX617S3k34oQVQMuUHBDljvdCfCO8ncgjlTyRPPqcXwqrsFx8D0+VfvoAVbxJ5oOdtxHbw3kKRp0zc9B/Gpu9uZDGbdrc6ljfIYfPFL500qudqQYE9xN
+nRPZvrBObnLmBa5Fc75cE+O9/xILfnnoD1o+Eh9URKLKEd4InTSCjfLFcTOmJoHV2XtUz//JIy0QlP6atE2Q3f3p9ezEiZheDVIoBNE+Q4TuoVVBOlBgkX15/TcYImknIQ==
                                                                              Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 3 of 133



                                                                                                                                                                                                    Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Smiley Hip Hop y2k Pendants Necklace Women Rhinestone Crystal Chokers | eBay

   URL
   https://www.ebay.com/itm/204119646811

   Collection Date
   Tue, 08 Aug 2023 04:12:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NWh7LThj5gy/t6AyXyX8+9uZ9NkO+OvotlRNwbZhPhIOgrL+gkv0PaKPKE4I5hgOBx8fFpFB5h3f5kaHzbrWR0XnKGzqUrJyYigKdj6hUUk5qEAj/GpUKUlvMNS7yIlEGhwwztZO2Y8Flo/6DYHZILPzx1a9q3DYijFSAjIEehhGeq+cMV4wZi8mv5IPmG
   +4TRhHy02cROH4ql6d0JhuryMSOBtKYuwX4WJ3NtEg8K5gOmnqrvbq2hdCW70LqsGLqtInzW7wUBrOuNXxOVv7Hi5jf02FnzY9RsggbTlqEYxGeKezVNY0iEOHYnzYCQAt+BQI0oAl8SiBoS5aqQwBaQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]204119646811]]_Tue,-08-Aug-2023-04-12-56-GMT.mhtml

   Hash (SHA256)
   447df00907d03a5203437f3a31b7d83907ec7b3bfade35f37480e2230f407911

   Signature (PKCS#1v1.5)
U+0gvS573oGgOTDHUw+erJ3gr4jtPhyxsX8RwOZyDBoKDuOHGmFOiKWOTPvqCHNABGHoFl+Q2cBh15wlIQ2txHznsFkkccBN2mKcKGwUFzOHJF76Fj7ab5MnB2Ek2UwM3YnihZLfLvGP0vRyzKnNhRo
+SJ2dv95nzrpvCB3uYuhOrJ5UEwmaNm3EcIPhUbMoI7wbA2hTn2Jmrvc/1754gfgJNCQuNURNAGOaOcVGry5u9/AGZjdu2nbkzuhlCp/D4Tvcn11L+4FzKGBg0ZKyDYB3066tjIZsjNdgRb/mFI5nj8c0vuSh4iWsJsurr4pEHnICy0OSlavz/nkbZps/PA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 4 of 133



                                                                                                                                                                                                      Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 04:13:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PGlRUvsJl6ZnquBlBo0KnU67yA6oWr5l6RMOswezq/zigTTOR8K9fDxoS28ae4TRJ6PhGeK9CX9FMifFaqiB8q3yIILJT35zNHX4i+EbskjQk35M1BsAY9CZbkYFonxXMr5E4zzCEfEtzi2IAHsqObvD2pU9HGiVbQnwrbT5dTlQouHLrjOuXkKAdwTDP0/
   xJBqDMxgq9C8DTqvHyFLq1rCWpnKTBNcNnKWoPlHAiePUVJbryK+Bl6vYT5aYiE1U7XHwOY62E4a54SnWgdJ7JcnBhHcWJACa9qRXKMFoxHlmlNOdwV9jtIOnQz/iQvsZMw0RBM3qMJbcVi5G/Oj4PA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-04-13-43-GMT.mhtml

   Hash (SHA256)
   20ee3b681f50cfeedc50f0239eac5417c64d1bfe837199d5d02f010dffecf410

   Signature (PKCS#1v1.5)
PYo14Uj06edbdO+/EPeSCkwL6cckmAdDd5LlDL6hY/4FuxmsX2Aiv77efUexJKBqJxJtNDs58eFfVGssbcUHd2tfgAhsq5hUsh7KBrH0cc9aQ7UxFXho5VLAmMZoe6uxNYbea
+SKmW7PLGd7numvv2m34bKN1XLycZcD8WnOXcqYURrYwKBZCDy9JexqOqQUUkFMApVyYgkh0YSpeUPynQScVPHw97saZRzj1OlCtGyIVyfzKIiphYfcBRZY/86AY2UOpSnc8B5X8vzcoyCQyHRdNmAJ0IKI0d+7x9Yx6hywA8F0Do7IB1Rza9zizUC/BOWSwZWAJ3/NSqtMjZ2w9w==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 5 of 133



                                                                                                                                                                                                     Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 18:44:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZrWrEmKLXp0/hlGyqGbNzvJeVUTAZilQc5kZRvmdheDxzFfjlncEqa4FE1jABxhvzIr2QyFvcCErtDt0sDLgPZzXxZ2Wbs2YV362ZlfrwArZbZ3YHRz8P4L3MxBdIx7d7fUAxwojX/dVhaDPMhvfSnk1hz/
   R9a7HCVSTtVRahC3tKb63Eu5KfUJBQwoGQokmXHJZQNlwkXNkR5+sjRHN7dE0jFF5nOeD5DKhov81ANkhVLYczVsE94BTImPCVdGiT6ByChpqJcma8J1NLXRJjnFoeYPgAtGnrYvNOo6MH0PTzk0NADLo2NmqIriP4cJ1KWmAvtU9PFDHgo95R7W/bA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-18-44-18-GMT.mhtml

   Hash (SHA256)
   04b7741a6511571871c3fde87b58871bf8253fbc6c9455e9509b30125e1a5746

   Signature (PKCS#1v1.5)
CZ4RIZmQM4JDWXCnzfaWhPZzptqbo2bXb3usaRMdGu88um/kAuBFRUteKCx4qoVO4TObVZMMPlEj9d5LKsp2EYK5CFelD5Ucov/YB+wqUf4/m5FxqHy2tHW3R0eTL1L35zhbA5hJz4dePMjauUR1HWu2h0w2WEzY/KcuMUkObh544tITF19LsvmPQCETnXrXDa6m3QF801amBJsaCvzkzcRI/
SRNIHQeF+saQSIgRhI8QsD/8rTrxVOJdhRznGOvsqqKbq08YQzvLTu40+4xtf0C9MwZJPZw4eLSuIiWWRJpQ1RiYkNxbgCHLK2iagTqPe6rwcHteJezBMSA7hzJfA==
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 6 of 133



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Resizable Mood Ring Temp Changing Colour Emotions Unisex Kid Gift Xmas | eBay

   URL
   https://www.ebay.com/itm/374280292946

   Collection Date
   Wed, 02 Aug 2023 06:26:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dwZTOrsAi7we7O6vHnHtSGncNLvW6m81SiXfHvqrgEEhynX+CRidtGs6OVDbvqgluT2PEyuB+ByDmkHc2fMnHxuHkZCXUesHkplCG3OAaebIIFyXsChSDfgHYCTI5wH4/jn2Gs1Vd1CT4AvigFqf47RAjjFZTWRxXroMEvxOWzQ=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]374280292946]]_Wed,-02-Aug-2023-06-26-21-GMT.pdf

   Hash (SHA256)
   4d040989e9f8a34c396851f0cf3253ddb7436e90d980331be0f8516659fe7218

   Signature (PKCS#1v1.5)
XsO0u6zyT5H9jxt0sueFaugejPLsHU5pOhvBaJLG4I03Lj98iS3OBzgQ6wrCem2yZ8p1Z70nLAeDJVi0JLUjzspUJ/WNUYHWQHq+Vlhx62f4HKaVAx6vpPAlsOQdJBbXr/ta3H5wFkMKp/TkrQCtOpowv09Aia9Xbytan0djQtQ=
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 7 of 133



                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 04:40:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Bfoernn4bNRopJPlsL8wXGQcDRqedp04xwIF/u2QySNXORalLQE5NGHdRBcfJvUWTL3lV9EGE9f4CXIyinaVCgIzgfK9zeHl1eM9ipfWB9duYuB4tDSGZj28kEh1BVReWoZabM6wHZyX1MJ2Uh4U7n9uSnzWUBZ55owkHadXutEl2U1z0A9RpZdpHVu1KAQkxWagk4uwPZ8+76q
   +MUg4Xs8bD7YlxwvmCo0Gq0apZ1ELtczg8AjAak1VdLxTrO1pqUXaANbh9jl0FgRuGDOFqfSNGmNMLjfuQ3kUQ+P90f9M0HG7faduBMkwL0JD3GPw0LAX9qcSkWQFQS+DiqWqtw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-04-40-53-GMT.mhtml

   Hash (SHA256)
   a4657d1951349144c77006b79f9287fec44d0b6d4903ecd223479c837147b36e

   Signature (PKCS#1v1.5)
NveOcA4nQb5KmoOP25/TKWepQwiY6n/xLEWhKz8KNAExegDz2lowQqvZafwipNZcinA05NSuGDL+vUghH9RQu+E+wFaqAg34Q9g/EQy1UMexNaeGJKt/7wU/G2fwoJgW5DPPOHY54V1qViPh0p7zmhYCnrbz6fjYHkk9LJ1KiDws8s5uWUug/dJmAw+NayjMhv8XWiYh6QsaAaKJF5LZt/
uPKJ6bMswdetpT6C+5ZhSqOsf/vmjS0pcECbJliwDAs+jD9joc9SOdyjS+OtWXCn1eMGCofrL4vAHKz6WlIh4vaZ0jmoNhaEXru5GQfBoGuJRc+1EVC94TBCSzNQ/pbA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 8 of 133



                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | Smiley Face Slippers With Exquisite packaging bag Keep warm Couples Slides Home Slippers Holiday Gift | Slippers

   URL
   https://www.amazon.com/dp/B09MFLB874

   Collection Date
   Tue, 08 Aug 2023 10:33:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Vs4OHOgxEe2hS89EJGJJqgJFJ+cPLVx/hLSP6ihYcR8eLIpbF1LB6woMXmCEZ8HwyImvVqWbIStBBavmPlqwdwGtDL3qRaXiSDQZJKUMs4wDOlvaAt1eBk3X4oBfssS6e84itjOQvVg4f7QdiM1D1o1oabA1wGMAD+/v7J2WwGj5Y3s
   +9i6mTA6g8bFBOAtNGNTYvIlQXNzzlIHUdB0At37HqlBIvpQ9TLx6oplY1rv1VM4lyOJ0voadrdInqaHMMOGYK8B/yWKX4f3NFd/l3g+FgYBTQuSmKSgmJLCdv4ztKEE7CMCg21GfJ77gbYFWkz6gwBEyTKJRSqc3U4/yvQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09MFLB874]]_Tue,-08-Aug-2023-10-33-29-GMT.mhtml

   Hash (SHA256)
   2660fb745f3674641aaf841dcc285aaf39aaf3fb13114b35f3e1427b083c65a3

   Signature (PKCS#1v1.5)
l9bPJzd8YROd7jMEBVbOk68N60gbgWw9IPkMjWx1YTHqSPm3c01ZWeioL5x1nAQEQg5u58KXeFxK8FyB8RQ/xV0LBAQL1Qg67oDKEQJRGnElLQGh96f2/B2CRMHRttiM2lase1jZJIduxgDVw4pubAMuKXmd8MBc33A3DJxuf986Mgr0o4BzhPb6DRGDlfLHw/
kEtRmivHN0k8k0vhwdzBYHCcOcv9ekxUoD5a9PWMgr6xGICecOZiPPbbJaFg9PN5FkcFcPPI1hu/UKNfyhR9prsbf1IWmVhClAiWAjL4B2RHB7OlZEIMsu+QP+eJfY0SF0edOUgstHH1SW/b536g==
                                                                              Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 9 of 133



                                                                                                                                                                                                                  Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   10x HAPPY SMILEY Yellow 12" FACE BALLOONS Latex Rubber Helium Party Decoration | eBay

   URL
   https://www.ebay.com/itm/225571731372

   Collection Date
   Thu, 03 Aug 2023 12:21:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dDciVkcTLSCza9TU7nxpklgumfxu5a03W/bs2d2PTjBY1YtzIIzBVNPQD87eqQcAb+HYXK2yuiPB2TdIyOU4/ERbtiTPXpwhv9dE0v7Z3YqX7XfXrWuWPLTtjvWOMUhs1d8D3Ol6toSW1pLJV0RIhKNI+ieoo/ac8/2Vf02JOU//XSkm9YUfyN76oww1AdpWzwSsocTuN9kIZuilENqTITm1LpVdvFbv
   +0Ho22p13s5iZ6sNZhwSAPbM3iJ+R7BU8a4V/aXeoegphrGgFrByS1PPUTDi04oZmYxhl9stwcdG5BgjrDV171uDKg/rtBXzQ9jg9t4ubEtuRnQQ77VW5Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]225571731372]]_Thu,-03-Aug-2023-12-21-00-GMT.mhtml

   Hash (SHA256)
   b4906d710041224603e3f214028f33d924bd665756952777ece8484aa27cc5f0

   Signature (PKCS#1v1.5)
bB9wu25R8Vnyo2v3v2CP5rxervh7SBJrjadSLmfvp1jqfTZ3EJkvqWYrKm83RIOsJeEsJmxKfMrRrDFhup1ZNAaZi0b60/PJN3tU4qPol8gmpQYDgWK/GjokuoFxYe072enc6DpA2JefTz+vZgdFRYR2u1reE2EllY98Wr8aifGoCa5PfB9Gtuu1cWTzo+q5L33tgl+SKHp7IIatQvxCscZfJZpcxp
+nexvMi4DpeZ3gn5+Vr4/bVlM8NUfbK9fmJSemE1FWBsfvZaSEAlJf6dG0LjWy0sxA8zmgzgDPLq7qEEgtrJY/IZ7oNi05V5jdHY2d57t/aG7hjzKeDS3cmg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 10 of
                                                                                                                       133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 03 Aug 2023 12:22:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49c4:8c00:5d47:e620:261b:674

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bCXA3AsbD7WnTMBTQBqbrKmmFfC796l3r+IoSHevmtX5ob47ae0aLkodhHWb+7zpoEfMxDn/fRHtdRRyTde
   +zDWtqRw2gbGAMoppGPQzgBYOpcvYcAG35CYG5us9GI0h7vLwBwDyR7Xeygym7afGKJZuH6Q2a3yYJCbniOuTGkE4jNJUxa1Rpoo2lpa3IqUVBdCQaSb7pu/2NdqVzg2GTfcYcJrnrmCyVwtbuKI0Vv9rZ6IyCFNSU9NorMax3iIBWiodGaQBqeuVdYHtPtQgHpnsWKq/
   eKmX6WyNGCLPisfsdpb2m3Aetd65bxIMMUlMbFisaWynPswYfxY9ZwxC4Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-03-Aug-2023-12-22-11-GMT.mhtml

   Hash (SHA256)
   5916405ea037c2c3d214d214cc379fa624c337dc282c5cd92d4f32ee01384604

   Signature (PKCS#1v1.5)
jouPFspWr1kFtJRF+N8iQDv7piAuGzqx5/w746TdtAXK3OumywwE3vlyoLatqL4EwdPHbDSVTel8Sl0AxoX3cOzz2xgUc4i0RDHNhAw6KGBNhUXnpYRwTpnLHhCvZK/WyKnR902mMPGcugIbilA8Dfro3TzFjCq22N+5bLNvDXMr8ofz5tUI6PfwqgSCdMW6zqYgr12pch4P0npxeGcFBtr0L/
fxvmRrDcPrFbpCWET+q/WMyWWK4rnTMfKvPKsV8ucSQNPNlZQ/9DVyynSb0HnoIKERjn13IQE1bPvxjqNXY6mRQkx28W02yGlLPLsHEMBkqE9tQl2hS1YPA1vtwA==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 11 of
                                                                                                                        133


                                                                                                                                                                                                             Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Personalised Embroidered T-Shirt, Smiley Face Comfort Colors Tee, Smile Shirt, Happy T-Shirt, Embroidered Tee, Embroidered Shirt, Custom Shirt, Retro Smiley Face Shirt : Handmade Products

   URL
   https://www.amazon.com/dp/B0BJ2ND5WF

   Collection Date
   Wed, 16 Aug 2023 08:34:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XyOXt3ZjeWmbRcKJO4pDMOprXIvrWtuhPwAV0fyKtLV4u3wXBpG7FDNUxuBRkiSVN5+qdDXuBmdfQEAu0V6SMBrINxj+LCGJ9f+ZqmRoHdnpsprQVWhbI8Ojswm46N/9eetCcK8TE/LLv2RDuSiy5TjRNtoGYPy/fLxWzQM/
   cuVtQVh31PITJiLrglaKCrCbOreUaRAl3/65xNIxqRPmtci5I4F0DB1xgiRI4r0tQ/FLp5KjDgtQIxyaz2BfkSrmChbBEFDWGa3tEXgORE6UHAN2eqJep0GY91A4Js91nkF+lxZYnDdKImZj0Al26QEotktEbuya3MGlOJPZ4lXYSg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BJ2ND5WF]]_Wed,-16-Aug-2023-08-34-27-GMT.mhtml

   Hash (SHA256)
   96de4f02d75bff3778d9b4655fc1ba0103be425b393cfce55576e1a6a30f3c7b

   Signature (PKCS#1v1.5)
A3h3Es/XfRFTDgQLOMJf7HRDjmq/ktgx5dwNjXe5kXPGucetmSzKc9DNWsa9DkN7toLqMIA5/dlvN/kJqW4R2/ONjSqlDTV7g3RIZ3iMapM2UvHyYI4LT72q5ETzIHD1dHPEvhJTS8klcIy3AoeeOVDeF2j88V+eZdyK+CBzTSh8ef/yA/WCGYokvE9DksrK
+UzLydEoqSgVscekix5W1MB5tgFF6SzB4eYsLr8WCP+BNNacrCU/FFPd7Fstuj51Wvlfuev15hsjtk5cP37l2Bjjpejbz/TqwiJM99U/0+sKv2O7oJu5MkRD4uvH8jp96/BcenhYQnHQR85gGGMSZw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 12 of
                                                                                                                       133


                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 08:35:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hPsICdMef+pT1u7J79wQ7APduWiAyKF2Fl3pzIMnXrvAa4PrRe4uEqs9nIcVp/Hkb0vfrw41Ya3GDgzJfva4g+P8ke7Kz7h42PA1AJc4gTZl1Zcxz2tiYaHDW/iGZW1/3OnQYYygLfibTl6iyL9FE8IP2ib7CUAF6TmDnpzEg9lLZ
   +tZJLkcmYykjmpUvI1MsVGpdCKRDQomEesPqaad3mHrMiGYMYWNYBwc9WRgOGmBfT3OVIEACQxiUn6gFdOu1/3DcMT7T9X+KUcnU+8KxUozT6ZAy+5nm7JPeYO209U1DW2qycjBRFY1rLYC0ftqqr19yqahsznYGXdJUnx/tQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-08-35-58-GMT.mhtml

   Hash (SHA256)
   ad99bee06894e188dca56f40659f22dedaf38d849047a35da6798d399f677306

   Signature (PKCS#1v1.5)
ghLSTgPQDxajRhtNDvZSZTeKYPxM8W+v9uMAojoXAOeLNC6yxc/1Nc6F9/o5xH0ulPzkH15hAEMQ3J000FlMOHaDFzPUh73kkRXm+EV4Yk+S0SkFBFh412MTIMZ0/rvjFtsS7o1+vyTnym7IO/IslrChR9S8i9PYbhaNG3uGiiJD+HGQNZhJMjXRH67ZPRaDcYeBGNMy
+vv1NzOljhfh4PzZJsXxorh7qASPV8Dh6bCtqO9XS/DIMDiNK/fSocpZ989xXlctsc+YYfUmlyhskms5K9XHX+l4y2D4rjC3dAW/qvgRpiH8q5L0Y9D+9AlLV7wpT6ZpMMwxV+SAdSICUQ==
                                                                                         Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 13 of
                                                                                                                              133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                                  Evidence Collection Report
   Page Title
   Smiley Face Squeeze Ball Pack of 3 Yellow Ball Stress Reliver Ball free ship | eBay

   URL
   https://www.ebay.com/itm/334764060221

   Collection Date
   Tue, 29 Aug 2023 15:29:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R1AkC8VUZWTqPn8CiquhEwCNuw9C+7s6Jg4WYsVj4n8rlriwHMvt54+BmHWcF5XCYma9IWrW+wI0ZbFRQ/3KcZyH0ReN9FycgeFf2e+LDvzt64dO/2A/uoDa/RjWS+Mpek3TGfjFOmrl3dqER0ZLY6Uv2h7vc9QQe8UC0P5Q5ALPNHYVNHshu+N3YAS
   +J34SiqFuPbODVWywVpL0jz4YkhzFoYfqlFeCmkoFyhhx757FEOuYB8qdWLknWtMQHn1c92AgQP8yMqHIxCAFwgwWe8hiJCeIReP4VqzKvOdQBNqVEdIiFRI5InkyuV5jaMxrqbVyzCF7B0O+p80WZzVA8Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]334764060221]]_Tue,-29-Aug-2023-15-29-49-GMT.mhtml

   Hash (SHA256)
   272e3883f094b8295e8fd57aa76d7bd3c7a7beeca49a61bcdda2270ac23e3290

   Signature (PKCS#1v1.5)
D0zN9rLKv4WVzdx4SPNYQtjkBm6ueINmi8kbVRAx8B8gipNYUCAsq5Gl92R8/NCs6iMbPudeq0Fg9RX5KJRAIICoV1fxcn17DEAs86+cXVwb8pjuac1EiVc9NrV3eS/Y
+rJv2H8QtDhzxvpcA29dOTE3e7NhXeajGxaCtHl2GXNkbZfZQXPNPlWv4qEvLaxAVFdgt5mofHAbkMG9mnjgelcj8z0+7TgEQpDIxMalN09Sl07XaCvdjdBxNz3Es6jsKdIdPOAVmK2FT9V3GXo+O/9h4Bnx+pgrUJUVMJdr1gnqvNzgluUh0OyKDExmIEaJp/vsc9Vt88qBtbtLiKNIVg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 14 of
                                                                                                                       133


                                                                                                                                                                                                          Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 15:33:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ibjPAjtVa4X/PtZgM1jttE/V5Y8xoaUoOe9b7+jFFKcF2nqwnCfxwazdJNB4rxKjIkNAgqtdUF7cOWLv65D82KiTo0hytnEzlFEtQL60lGexQgFUciz42E+DUb8Xo/mVSeV/EXnULWlfcYDeJQ2+8zHI7dUY/oe4YwR57KSRfP4F9gNC+ffDXRSzaiRzcLqepPD0/T0UWLe81ql0LGFG/5Pu7V+cLGNR
   +vKdzFjuFNNsukj23Z0zLRV8E9JnQbmIlEwFNEXfbPFZmUjmhJLcOgY/Ns9SQNynnNamsgvKWft88LUu2yxkEj7bmtV63tP8tCHd9OyHi/IagtclV4vVCw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-15-33-32-GMT.mhtml

   Hash (SHA256)
   ee296c48cb959277eb49ed1d460942415a282202a4b003a02981efe080295a5c

   Signature (PKCS#1v1.5)
D2+c34kBYHhpsu1q3eRtaOgdJStk8BhPAtDxpcXBtqhvz0ZUTGKcbtqjWqfWHhyl5lR9FOFP2KQsw3POsTx0DOOFru0+Reh5CNSEqV+uv7sUiZOWb+M0m6McloK/RH+70XVik8yTXJNze2SAfhJ/tkKkryDn7KhjH4gLBDRJ9MnB02rV9h0fPiccPbqcTjU/QhnILv6bH281CZ3k5rriBAWFUi3fN+Xoikv
+YF1VW1YhzZkjZMNeWaBGbfORCi2k9yrzXBYT3XAVtcgfsgT2t4Tr9JmDiHEWw9iA/QXagUPFwJFeATKgpFEbriIvWlXjNZlGXkGKKhhnI1iEHnmJfA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 15 of
                                                                                                                      133


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Summer Mens T Shirt acid house t shirt smiley face | Wish

   URL
   https://www.wish.com/c/60ddc94e050affa0f424ef14

   Collection Date
   Fri, 25 Aug 2023 06:34:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   x4Gk/tpqeYEcOO83tXC3cH8+6ISvkTb0VF4wLEq1E2RdjDBebS/xJLPzgrw/sUNGptHfCM6gOgeIsyMyJrXWWvlu13kiSdam0XmeAftg3S9GLapuqi645BTO3bLhEeuDNtnPzc5lcKdZ5Fa5OFTXCxSbvmEc+G4NGSKOw92tlTq7baJ1QCGk+yRFxakxpTZWGgc+wDfTdUT6jbHPF6bE/
   mxilfDvZPej+tW3XH7Cjp86mhccOoaYS3iXhFwLLyVlZeIfxbswZBE4gDf/r+KFyHFO+Lce7O01XH+Kzdg5OcYrg4s0lTFIkRwYIyyu1IE9vJRF/2bqNA/63RmEyyshMg==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]60ddc94e050affa0f424ef14]]_Fri,-25-Aug-2023-06-34-42-GMT.mhtml

   Hash (SHA256)
   ae9b1e7b884a77a9f1a83efa48f43c86a5f025f2989ff3834b601f7f945b6935

   Signature (PKCS#1v1.5)
ChWhhKsZSwvmVbrOpdlH2kS3+kWuu7rt73P9Jff0ro8Ci0DPEhT5KqMDHI4ybm+2CYCl+uRPRmtur/5vzVlJ0s/C39+r3c+PL2V1dJIhjovUUAvEYJYKCa2Nxr6AQw5ZO1Nwb6LiooZNmpdF4yijLdOrIC0f1x+fCT/XJPGju8QRgDB2Eguc+e9nCqJuObrpgOulAvFsHyvNZ9baTgAQwmRmU9S1Fml/
Ci0gizOdXc/rMX39riG3XnY3Ak0dT/aatZaahiZCkfR5y3X6s0gJ42bVui+PukDEdNqFaZRmPuW5UgjcTvq6Oix4wWxoBUjRONwkVEEux4UKYM8T3h9QZw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 16 of
                                                                                                                       133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 25 Aug 2023 06:36:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CTxGUiQfAgE778WdNF39GqQDvn61tjBsGd1h/Qmp6HkRkPE/Tr6hvnWAU6ndSeMdm4DZ7JSei4Y8UV4otfgyAD8sq0ZQTPfurmDnky4YjPB6sTpJucwuNS8aoZeZp+1+f6OyezhbqMK96JqNbmhsNwP67teUbkDRUPp76WpitosAV9pUwUA6T/TPFvvlASmTyvxEPMwq9lKoHTyPA1PJ
   +iRyVxx3Ipsw7cvZXihKi/xmhFrS7kultbV0TblnjAXqT3mhNEHSedJsTG2MEwLVC2kH0oluZ1/2lBCnj3vRvQm08Hr5Qx1Nx1B2uJEeYxEik/El58nFQ0K4ve1w852J/Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-25-Aug-2023-06-36-38-GMT.mhtml

   Hash (SHA256)
   9b2a0ca15d70a4e67faa95d364cbed94e36963b032bdfe18a6651dbdfdfda0ae

   Signature (PKCS#1v1.5)
U6cisAw1WXtLsadC7N5JSSn+SD102q8xdOsTwWYE2cXH1vff+ddtIDDVGHYpY8YRTnMosUqce0E5bVzXPlADTUyQcFbpqGvaNyLyZ4+UxOdwAc5sbiJsER0Tovb+4KSYc3NiIdPblK0cqJwBEuo6FSi4S4WTEtPj0+o9qvwnnEtq2JrmuESA+14IMibwvHi7kf
+QrgBc82GS1EvDQ3cbFfxorY7PVWUuO5pkLYywOhT/MME80nCJc3ao8TmOPJU2W2siFe1cUIt1/xO78MFn+pdP5GkzqLTDu9HvqMI2h3NcSpJY2skNRsztqzwygV0+pu1Gwv5EwgboASjarinOFA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 17 of
                                                                                                                     133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Smiley Face Rainbow Novelty Metal Motorcycle Plate | eBay

   URL
   https://www.ebay.com/itm/304735434154

   Collection Date
   Tue, 29 Aug 2023 08:57:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WLkeYMwFnpA/+ZntecTKdZA8DONqsRK1uEp7XwDSTusxFBhstIHLkFijG4Fk6xZmFev4cDQyYjT/vyjnsf4sklGLKPPkbEZICoLLFXBY3q1IcHEUaNiIzyx6c6GzOHqENT6A5doBCvgz8LaVpLkF2XlL8uJuXWeiqJACF
   +7Xq1FglJH8vn0OJOSBAIqdKOFQmMWFiTXQpmARoVZ9ZYyerrivCW/1vHy1Jc7B2PxaOA5fYIDcIJ5eZBQWPXiXeW3/sgSBDK92Ir/ucxVQDCrjsywcWouc7JQiC+wyPrTgvmSE9wyFwiRnNjOrD/L8jK5aCmmn5YcpNrrkqaGXQQSQ+A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]304735434154]]_Tue,-29-Aug-2023-08-57-47-GMT.mhtml

   Hash (SHA256)
   378c16b565ed7ccdc9dfd0fff4c8842ba7365b3b4f276335bd111aeb778ca290

   Signature (PKCS#1v1.5)
Fhl0CGc9nhITrnxSUKwHciN4Qs8hQLxwAzGrTtqECKBs7TO3Vs5e5H5eRTn2t7yHML3gJF9y4q99MClBGzlDaYDAtc6h0ZFJgDsEsQuCdymp4cODCObO21tGwOVwQJt9AejcuVSYhQBlwMp70WzDKHvwtPvJjJ4VU4GQnDvixZKAdX3ZVKSGVC0LjSWxrdjILd
+1UAAnaWDpif5hPsMg1i8QRpgCVxUXd2cI3ucmqsTDnVKwoAQ18DhvpDnJzB/eLdCLjC0sGUxxiT8Xosg60QXD6HrEN4WB5rAJpjqmWd3m9cVWPzfJAV8mygqLB54PJ8t80JrEeFksJm5sttwTtQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 18 of
                                                                                                                       133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:07:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VZjqoRumRrkhtkWCT0r/9lRLuayZECc+R/hZqpLQLHdelRpsPy7HT6cQina7WTMQiKY9rS/cJE6BaqajoUPjng6NSa/Ppe9m+NyuLGsF4H72K2iKRqGT9p7DUWgXXPWqBZ3enJV9Q6gnsHcx/RdnmRzQRcG2bne3p4e5BtlK2B//Jdi4OiLk9YLfE
   +kDBjLQLIpMdzTz8hoPUiyLVvhAlDeGQ3pjIleQ7rrYQCTw84tMzsT/IMvTznrvz5qNxNE0GHHO4IfRZPvo71ReidHBzEE/UEOiKpZJ4eRVCuD508QWM6iL+s6ZnolAmAl2hxFWmtAEayU9lo8QYRIkFnzbMA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-07-04-GMT.mhtml

   Hash (SHA256)
   4b5b5a8e86120fabae6eff51378a6260a66767ee1414f24e44da62b12cd027a9

   Signature (PKCS#1v1.5)
p4aFZD8VRhtVPJSP0+d9Uiwno0YKG587UwkIs2hnbktlxgthQeRJEvSSaZiTIzKxg320uO+jpBERwyB8A13AjVvOBTVemxYk1f4vqPQqkDFHfRx2R0K8N3JJcJvwPDU33570BzuLL5EuH9Bl8iQOW2FyJGHyzMVBm4TPiog1PPRCnZI9jlUEnQwC0LV4BJ2GWV324q+9euUUJ6r/Mf/
sjoIsOXmYIaipc4ShACbgcFLqG11PN03O+DU3uKdmCz9sadWFt0MUymMXBuEt/eGaoPA8jPs93wv7pBU9R7MNkdJixpk9bVE81Kpwouwel8gdX7E77jnCaJYBzRoumzh1kw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 19 of
                                                                                                                      133


                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Sparkle Created Round Cut White Diamond in 925 Sterling Silver 14K Yellow Gold Fn Diamond Peace Sign, Heart, & Smiley Face Charm Pendant Necklace for Women's : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B08T6NLW4R

   Collection Date
   Wed, 09 Aug 2023 08:59:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f7zLbmdWp6YEUi1xZ4t2e5dRV1sMInjRkvYU7NTrsVo2VnLFXiKUPEncTegri/xOhNui8dgJQv98a7rjDF70k5Va+FWMNsvvoT5GWkfZrLdYpOHWq5dnJYA4RoZj4FjeG0b7pe8tTKZdS/+UPouF/PKIe2g+MVOeWp8LFyh133ReYRy6ixYVrpprqofCW0IA/2N9LRC4dAw9pQUCfSyPtom3hF
   +TWb/u67f9vGqG2/H5Jo/DSbaWhRd1KriC3lJ0lyBP9GeJmhj7TPgRmxYFl8WRNYOGpN6a0Pkb9MznqStEs+ii1V0DS7bKrcyP3/C0NhC5c4NofkwT2DN3ZMn/hw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B08T6NLW4R]]_Wed,-09-Aug-2023-08-59-20-GMT.mhtml

   Hash (SHA256)
   3425d31ba30ac17c9ba6210e055bb2401c838d46f559a63eaf0d072e82fcd6c0

   Signature (PKCS#1v1.5)
DWQp389SATrGYDexVE3bxExpFGsyoMmtsric78fIvx5LB8P8jkDAFsRWeLducbxJ9r/xSfQQ14mY9e33Bwm0QI0amZkf66AGEgSEVG3mGoozNnmb+umPtq4h+WrfAVo0gE7mdWkItVzzq
+TGTtWVunvBxJ7Vnj4VcwqgisOUjnuglUNjYcLBC3g0aSvL2/9Ni11Grw1AlzIVeSeYLoy7v4Km9NYjIXcExqBqldaCveA2JC7aP5lCs8jh9h3ABLXQJfYs97e9nJzlKbi7CkdfckE9RV5vDWNprXt9aHQX373rxVm2Jr1pMV5tHk6FFwIquY3GHDFhsc3c96QTNmv2lw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 20 of
                                                                                                                       133


                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 09 Aug 2023 09:01:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qAEOkBu49TFfU4hf60W9KCdNAdyzx2v4xxnV+HiRF8pRZJjfE2xw6M+QuCG+2dOOrt32baMvWg6kJC9FrjLJy4wTh6XbRQujTeJmH6OXEATDKT/ltEh+0AIwqVriJN5DogASgDYcf+JYg7zGYHOlmYMCHi3hELvX2eHaOviajmBIhFo5vuuuysWqYt+H/
   mxQV7UdCMYGKvSHAvjgTIIWU2ONsvJB3DUTcjFH7qdB47tpaPlAsZkRg/xYIpHal8DpK0l5N1y9oXZRkScl4Bu+mtYYZNUlbk0JLomIxiBM63oF8CTExCdvJ5Tol+KTc0PBRvo7aAs1IAGIxjUrJI2JOQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-09-Aug-2023-09-01-10-GMT.mhtml

   Hash (SHA256)
   1ae2dc93af4478b6b63017ffab63463c0873095b2941af44c08c92c27484ce72

   Signature (PKCS#1v1.5)
GSIkTQCM7rOo1gtmhkUbXJHLgr/SMbFFL4RLWYBhdyCqbPFUXQVxVYsWoBWHHqmtGW/wPVRV6bCAZo+7odm6JQWzB6z5ejBI6dnGnNhqjz2fNSVqe/dDuIBmFWDuVIWj1tmChh6JRL7IzhW1MhaRT+dMZmJjLe9vZB5YmxF8hImh/
MF7AwDrsqofndt8e5wpIVVehzjsDwJaqMafKn5K8bvrFX2/GOhN1dmGDV0qwMiFDkuZm0TN47G9Dyh5rWZnHWCWFtj5LecJOTcEg7Me4+57Fikd4aV+rDQFAKYmfQmWyw+AcBoxtUmi7xRb3HZD8F7t0A5QoLcnKFRUtujz+A==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 21 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 05:58:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4904:b200:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OL9K1YQbgedGfT24a0vG7VbEEpEhjqG7JVEjQTXe/cbLBMFCrzaqvOLfX8A+ZghIOF4qCRA1T/Xv3KXrRax5eIWMUc3UPFqPzr+YyeZBmu3YwZm89QMsnpn+C0APdqf0KaBkPkt+Ec2ZIuot2gLuN6oUvC1yOeJiAHjhAehHTkKQS8o6wCIWMyMu6dCW8bey8jiUfqsV+0Fv/viGkYyilKNI+/
   JRPqoN2K8KA8QK0ScPKwP5vlJs03V7M15gp2JnfnjUjP3qoqSFMpr4uYB1pjpMtv0Yw7qvmNHyhd2VjLCGH1Uv+2ozCOWn6zS7SX2bXqgUmw2dZNEElrv9tyJrLA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-05-58-47-GMT.mhtml

   Hash (SHA256)
   131691f4c406434e4aafebd91e20a7a1c382364cf389767ebeb0a1fe2e886687

   Signature (PKCS#1v1.5)
E8+QO2seK5mZzUCeNakEawzzTCHZtJrEJHsv7eb1O+bOHBw1H7Eo3wP8fu49BHHkHQK1dvcPCF8x60f+HpueAlz/ouXdB3KkZD4ZB0kd5rBxwhfR0GkrQpLpKss0HdUVlRwatZtrOVBIc9LOx1O99lg2X9omQTXbnjoM6jUYkIHtpXpD1aYbEyWP+96peQ7JPOBvTBqaSmj7uyqd8bUGA5YEFg/f/
rItOoK5lPHVPHeZik3rZjbbnioJg4iQ/0EJeYNcZrCTW5tkd2HMtnDfJxsI4D4Mu9eAAOTNLpbBespqb9yse4ckAHkC28CGoWypFYhYvmLFbW6nDtLCu9o6dg==
                                                                                    Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 22 of
                                                                                                                         133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Emoji Happy Face Necklace Chain Smiley Earrings Ear Studs Kids Childs Girls | eBay

   URL
   https://www.ebay.com/itm/363616145966

   Collection Date
   Wed, 02 Aug 2023 06:32:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OPNRh+TvuQ0rYwCl9t0UWDW0yLDbG4Qe3f6PmhbDYh8foZjYnnoZ2v7Ocn6anzOr8kRBHPPZeOa7FXywBw3YqprkPnC9Sf1z8ZbVdQlXEtsesGbHX2wUDaCbimVf/K7wuLozoHib1NSktuSTWscHlKOYBRJ0bvlq6RMc8rxmwLA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]363616145966]]_Wed,-02-Aug-2023-06-32-29-GMT.pdf

   Hash (SHA256)
   0b961ea6dbc9792f4f780790337a9ac46dda92a3f3d924e84a315182ef1e84da

   Signature (PKCS#1v1.5)
ATXu3oKQWaLAh8zXFwyoK8KHDYu9fNLTCWyRmvUvk+riL8oVJtJLQc0jXGiWYVEeiKf3+oVoZLOzbS+p4BfcMZ5yzMV0+CypUbjhC6ohhYO/hKfnmiBVsGHqLFYhz0+ENaAym2Qa7Idh/xFLjwhNsuQmmloXnbn67I4TWwkVCxg=
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 23 of
                                                                                                                     133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   ASBRI SMILEY VEGAS POKER CHIP GOLF BALL MARKER | eBay

   URL
   https://www.ebay.com/itm/363706730792

   Collection Date
   Mon, 07 Aug 2023 14:04:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jlJ73bfGQ41cYGyLi7deEPW9017BVb8RvZygQjzoNc8gZCN8Dq2IsiOh+EyaUdED5e8uWoRQnSk5DUADviNP75eKVgE6ri1h7CGd65Za2KfOeackwy05Nog5Wx/kXA2FfpSKDv4wq/jsocHKbxyDo51XnZiNobBNWRBlM6kNktM3eRX1QtMIqAYqQ8dTHq3aMXL2R
   +5SyewIbFAsc46VOyHZ7bXvVTMPQQDLO8fsVwGSiCUTtadr1TwSNv6tq0JOW4yeU21ivZyzmBAuFGN5tUNGbEIKR0mYW4C6fmnJ/rsKw9B1pk3I05pHETVrPYXqP0AgKUGpPTbvPmheDmWuLg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]363706730792]]_Mon,-07-Aug-2023-14-04-11-GMT.mhtml

   Hash (SHA256)
   528698b274a2fac4e6547f91b727287548f4176b52a4bb3b664b61c7472b3476

   Signature (PKCS#1v1.5)
KteMXk47r08AxB+vrB8do9Uhm1irfrvmB0bG/z6mV8rSr7k/UzpFW/GICN7TnRIOnaiEmrZzDb6VUm5HJPBOwzEcO0qCNS9v0XdhuYmq1em55n9ETuWy/58IZQbKtuWSzp9mMQlveIDlbft2SnLD+PPOpk0Fock418uZQoTL/s/D66DTAPQdcmIdFTC80zgS6t0zDrDjyyPOEGsDUuti0sR9DMruvUvqr
+Yeya4tE+a+zGVtoKcVNNHhVEaiYQvEyt09XhX0FocBwZUeyQ0hd9Odq+4HEKY1+Shom9xn7KjAtiPRbE/I9qLrFtqQ0oaXxNdZy4F8GxCsiOHRpqQEuA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 24 of
                                                                                                                       133


                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 14:05:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b3xFhVe26o6gd6SVOpMg0aUWj239KXEo9tA6+dc0CRRGoQAqTb4fXrtVAMhnwiuR5o9kSGYpkwVx7R9T5avaHmwRQl4Zn0/ywyG/zB1692YGll+fZ6lENzJa79/1NaNRaTbv1U5OqjEZ1a/avJ9nKKT4GQ0xxt/
   Dv/5Fhb560G37fbPnOdb0TCA3SMbEWWDmAytL1H5fxjl36r2L5LjCVYvjIqcKaZj2/dcFtZlvm2EAjCM8Ivuut0n8tMKORU0zOVhUF9q8ji8HTVhW1gxOEWA0e234W4Sfcqqqab4ZszpzvA2KWerwkYF9BFiDBtC5q6spQflwGQzIK9FqUUp2uQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-14-05-22-GMT.mhtml

   Hash (SHA256)
   7f8464add7b7ab2b6ca8bd97b8a6ed3e788393e9c677f42a15b6029075cf9483

   Signature (PKCS#1v1.5)
gwssBtngdIAG1VWj2Um/ASQjt+WZWapn72yQDxsqwx4E3gXhiIfRI6c4VEtzYUMU7mpnfVHSa793sK0pQd3xiDVgiww0i9po/R42ELQFjeeLWFGbbvGKhpNqogDPla7sAZWDRWAwu9fBy6cWS2F/
muStqhPkf3AOQkzbAIYBswi8NIzCAHFmMSqLAwQs1EvBqLpxTbKn6xXxmZy0yPG6pWjQHdpiu4/qRLtI5KQbY6Tp2X5pOf+rOWKi8kJwRI2C8rN7aMpEvz30BWUCJ8D83lrsX2pXaBm+OgO8o3jwD6XmBqHKYsj/B1iR9xpJdX8Prm0o4E6djyqXfqCu7dDX+g==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 25 of
                                                                                                                     133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   SMILEY FACE SPARE WHEEL COVER STICKER | eBay

   URL
   https://www.ebay.com/itm/234962643100

   Collection Date
   Tue, 29 Aug 2023 09:24:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gwqqih1/hAwxB7z2yjz6Hw+Xk5eCsd9vWmHWJn4D+Oc/OoYs2Da8gkbg2N7bHC2eIy/QJq9rFWA29JTbzb8/z+rsePaf39f2c2ygwBOnAfLaJOfzy95nNx2LbHa4OAbKPzP5nmrn6g3OcCBUBM16xAYNabBRKD3jxlE1O1u1igpwgRea2N12Mx3Px0/CL2FBs/d69/
   JBjeyhgC5kLW3sG3+E0oSV1+uIF7KVoyazVm5GEDDD/ZS6Nc5yPTr9fuQl1iI0HeCkGbUup5a9x48AkiXw7lkLzpIqmvXSZIO35nDDjACalptwh9L+KDLMuQNuFa0MkE07hQiWvV5cPvCDug==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]234962643100]]_Tue,-29-Aug-2023-09-24-22-GMT.mhtml

   Hash (SHA256)
   16fb61a34fa08d18bbd0836f0b12128eabf420cb9d43620fc9540e4911fddbc6

   Signature (PKCS#1v1.5)
XIf6clWqTqArOfmF+PkIZhH5ij5gdTtx7y/Yq0NzMoSkYzvZjR32NgiUQ9/YsPDNa3Gsa9/mahxVQwFn0/F5cGW1C9vA4stL1Q9s4FR3dEHgd8+0bQLUpKX4t2zWjLJsBndMgJu+nfOB68vmWLxSh/
X3gTeVoUD1gdiZ6Ajy1lndn2Q9Bkl2wYJU96BSVIpmcDPqNake9a3QEI0Z4cvgHFbw7QzBD4KcWavhW8j2EF1efGWmm1mvQ3EiAOsmcaPt6qzv/pfwS/RorVflfDYZTzRAIdh2JFaYUs8cP7HHb861MtmgHiRIy9fTzRtqgIhV3q2bp5Of/ydBzUoUBnyFIA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 26 of
                                                                                                                       133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:33:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EZYesIbSbTFCyjp7spraur21urXP0xKVZ38xbsuBeu0wk9AUQWWHAiMxsjYOT8iD6CrXd7k1WxWEtl41pKlmDEOvP7WXgX3tSJm3KMnNGkgTmUT8gdkqvMDw9PcTp30mZnKejxg1VGfql4p9YtypxpGPfu600rdRroVtviEkQNCsFpDKrEEA7HhEcduDp0+a6M+UoRgHHJWSf6OL+duJ6k
   +3JenGkkkYaWl4d0iB0c58UT6OXU5gxryQej/uusB0MgzI0k5+IudDpX9RbobevYIaiBR+rB624p5zIarNDP76m+S8Mp9CH5UrhWw7fEO2u3bX2lCtmZvY5qEtYkN5/w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-33-40-GMT.mhtml

   Hash (SHA256)
   4a06ecc46b8ed5f09cecea098b325d4167581e6b8ab42071d960b8fe2aad0d3d

   Signature (PKCS#1v1.5)
QNQ/xvO3HyOgja2iBAg3YSsMiAuUWhnMuktD9Ysd3Ngvl/u0svT2Of37Pg2ZDw8qKH2+RxFhU9FOQD71Nd2aPo00YsNnyGEizFh+3at7711oSs1aqRRmZ1m+8n4ZQ+mcrUYp2OFvc9VXqQv8YGafF3vlgIRcnxV/zxZuS+VSxCFWI97u6In/II3MoarPeUaW4ClY4tObSCDWNIXBxXI
+1OKKe5PRiSS6WBj5uIaCzqBcdjC9wYeg7Flio45Mqc+VEUCDM8u/nDVqMN3dlErSHkRA4jjP7sjsctLLoFVDPRGNMMd4xhScvHasJItoZVNy5GxL7xz2w2sf5izbLpLZpw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 27 of
                                                                                                                        133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Yellow Smiley Faces Stickers for Schools Reward Kids Children Primary Early Year | eBay

   URL
   https://www.ebay.com/itm/144848886250

   Collection Date
   Tue, 08 Aug 2023 10:29:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KyIwO6ovXC0reyQZ/FJ1r2a+Sgo23IQ0YG416dwvCdj8Ev4BRDrVrlRSFF0RW18sIcEI7uvljzDEHY6vyyCnQvUYKJgP/L27Z4ZBYmF4EjyJYtMDZ7sSi5ryRLtMIVV7egvHGrOdXPm3IU8DNOBTdn3IEWVOwgk1BotpjPdMUtXmMFEoQEWd8uzhHzDPAU9IgGMKOZlg7PiibFHkX1RgGNbK/
   vDr9PkowxZ7wZoQfLaK3y4J3whgYups/1F5/qtmCRy5De/z1s9mNctWhaeZ6ZFiDpz5SUariJSuYcUrttde95NaDCXmgmDTVk04btb8q6Q9TL0O/K+xEfIuejSYbw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]144848886250]]_Tue,-08-Aug-2023-10-29-57-GMT.mhtml

   Hash (SHA256)
   9c75506d6a7031673201c2f8d7aa779dd2d546889ded01af1df406048406d6f1

   Signature (PKCS#1v1.5)
IwfoB3oYvk9FpEBiGTXEegMcH5Dcu2hPzfXSs0daeoANUtFuWhmHemYsYc1La/bn1Bluf2ajY8TX9Zo/f8Mxy0fsFcXFlznCbHqBXgj7wSMAgjU15YJRG9ra+UUILxFe31WLJDISpjEM+OMarhqPTa+nOZDM7Y9IyEaaAjwNZGbso/
pY7WEB7CVnNkQXBBEGbnodU6zx4adRjok3rfxyGXObsuNx3pKlSHrMCE5fJPmruQJFr/lriPVu7mdYy+grnDT+OBt2RXX8l+L0Lp04CCuz2pa3SzPPehL2TCV6zUKnbnFAbXaVoC65/t43nzoYDEysYr5HXZu8arRCrBgzlg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 28 of
                                                                                                                       133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 10:32:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HPVzGcSErbHD0nziEPuhRvKtSAgYoDQOWY/BF1k03S2hyaGIKqd7PMQKD96Gv0LNSLbAU8uSrhgrIdX8HI67G/EC+KRmZW2C/iWKfBKol9KUukfwoHo7OJY4CZ8BFwJTWMIWo0Aj3Ek6EK9sT9KdbaipZ2P33QzuOTLtkenYem+W2WB8XsXks/klI5K5IqC5gt+yN+9GCn+KoLeIOCvvx+/
   EPrXXkiP4YhQQ9tRIb5JPbefgnbJYvz3MSTdZ8y8+9ZGW39Kh6ZLo7nMID0ESE0fZ9jNvhxuA/SRUaw5MUAlyiNkzKR9YXgYbQ5/gBxf+7AyO+aggbWs/zRIEr7UWiQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-10-32-38-GMT.mhtml

   Hash (SHA256)
   17bf920acd6483c41e88029f1921fa86725f8831e019f63e115f6bf6221a3fc1

   Signature (PKCS#1v1.5)
BpjxKdG7x9rNYz98M2jUSllIVljNllYIyEG6uvbyyfo92jTlhRKXzars+RqU7Lq4xZZl2AGcm/8t3w3cDdzbNNRN2L65m9VxlmL1crFOPpAcHmBvWsONNKA0OG1b0ypDvPG05frd394m5eTVmKnsXC47zNlHX75UjMOivsgJ869R4+Pu3M9anqCXDNX2EyPcy5iFhefmToESPTWwJDBrJzl/
KV2l06XJuM+XFEYLVfUqKud/jDIHGPC5yO9BN1HXQFrWfBwVp0WLfMtv4V6fYsXqh7uxEPNeU4TI+SKnOZaPucKni7Qr1OInH94xkskuX/wzVQQVl+uZTjafPn9maA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 29 of
                                                                                                                     133


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Flower Print Funky Wall Art Checkered Decor in Danish Pastel Tones Room Decor Bedroom Decor for Teens : Handmade Products

   URL
   https://www.amazon.com/dp/B0C8H4VGL7

   Collection Date
   Wed, 16 Aug 2023 06:08:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OKeY8bi8DzcACFI5YAp0ioD8shERK2ZwR7sEQ0X+tNiFhNz+y8kkdDOomtjindsyNk2HDzcv169mOuLbBTYOcvRWcVzXuP6NMadHVc8fVkAsZNuAi6z8VAu/XWuBgThIgM0d36+yvq8HdS4r6nv4VKleTCRgkYtth9JokzpqoEqSheGkBYrmLTlCFzFbgeg+jjKIUCUU8jy7a6i8N
   +0qIXQernOAjdbsrYuSrxlNqfVwB97W2yHPPf5nAa3/7WVtfRIKRNZJ+tDfHFOYFttAYrRGaGkqUIkFh8yj+l8lkb9mxXX7RA1+RU/O+d8pOokoQGvmlA17oh6fjZLIpYTWjA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C8H4VGL7]]_Wed,-16-Aug-2023-06-08-57-GMT.mhtml

   Hash (SHA256)
   0c50e9468b7ebfd287ba44c9f4d42ddc635b2d8f49448fd0750f608cf5713527

   Signature (PKCS#1v1.5)
dCE3fa9kFC1J0Nm4v5cDNmUHriNS1jpRYPeaBw+YQWqUYe73eP89CbGfTZR3Z37W1OJQfTe+7VwN96PqLj4L9X1hb1kKDVOiCgKRMBoKBA9f1f1L8B5J9uE/9hAsXadcQFp7AEJi50WqTD
+K9lUp46t9fiQxMUcNMOPS8i9Bpn4+cMwIa9NZyx6wagUrY8mGvM8ZUVmshAltnBw1bY3ogBGVXAY/nDvKrifuhDqNuTOK6TzCmP2CO/j1pBvyhoX/lcB3He067HfZGrg1nS+XHrMqCdHZEHxxLwF6akZJi9OeGywHFZz9CFF66gzQ5eyPJiH/eut0yWuIBWqpts4QKg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 30 of
                                                                                                                       133


                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 06:10:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oDQhO/Ddpda+WBheYkaLgB+OGZvHh7qp5f1zvE7BuwAa54CCQ9wHfGc83zFDC3/njmKquOoLZUs7hcRZ31kCna9v7MhBDlE2pICyBiZWtw8t5kPRdZylngL6k6F0GRZppAEdjwQvSO9jPtKNnmgXLdHwgZ/Kk0Uycn0yDn/
   Yo6iB1KQ7nKo64kGx53O0HLqEkh8BfCKJGrZfFsPr3XRSOtUqH8U48+/kmfTo2HPZV5FtxeJmd8FqC+nVf6jgP3f+le1Zkpw2YQbTopazNBCfjQRUl/QtpVzXcYG0PFc3jYXTL7u4fQH3lJXjfvredigpZPel3H4cX4T/40xuYf462g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-06-10-31-GMT.mhtml

   Hash (SHA256)
   c256d36c5ab4a21ac61a1b2ca0b31c73063f3944438873858908a26916aacd3e

   Signature (PKCS#1v1.5)
COauohAk5DAmAD94dQvaczHNhEzxCFNtQeHoRXYUY/hPl67ekge3dSLiFlfpaxxRMzpJ626vM7xfBAHCG1wIj0TM0d9aYxIN3CRNyrUcNs9LiTGENwlqFJfDY+vhqhszw1If7ATLXnCrq7eqPlIDqhoiI47pjjzmkvlJ0gPLMiES89vUB8Yc5h
+sSmKI4WHiKgOerYCH7byDlpYpyNd0VjpZ9DrsAnNxUFTlWDaRckuFrlMHVapUUUhEOHR+qAeN6v964PU8EzSMmBOI7kJioI0kRQfI4dp60OxEtTBWsjtNm/FOmze4Qv2NOhi+axX+U5fr2XTaWMC7D8v4Eps/8w==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 31 of
                                                                                                                     133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   10x Premium Metal Lacquered Smiley Face Round Disc Beads Jewellery Making Rave | eBay

   URL
   https://www.ebay.com/itm/194885426947

   Collection Date
   Tue, 08 Aug 2023 10:20:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VmorSgBE613H6+lnihJcemr/8p0LwmBGnuFRCCyAj8ZzsM1XxYv3jVMisYSBQT1ppTgnSKHCZtBnnVEP3eiwSRNwWJyYelVq0o9u7A6AcpMBCKwF3neaRZL/lZs9E/w6Neb4y+tiY7QLoi7+JoeE3rxCc1LjVgyxWVuoCogPyzLZuaMRd81YoO+VrjV+BQt2oOUDBvxf9f8/
   hgTNpU6JuzZz6WU5X2nRnTXUIcBUI2OzXUeGGI1l6JUj51+lIOV1TI1IwrdL7Veea+jw7Ql8klhxe2M4i7YFEWcRrl4RCBVPZe2GYs0F8RlPmMUPOeqoj5sRcwwvv1J8BmxlHrCDFA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]194885426947]]_Tue,-08-Aug-2023-10-20-04-GMT.mhtml

   Hash (SHA256)
   9f9f2512aacf957f77615352f5548f445488396c3913bca30afbfa6796ec1234

   Signature (PKCS#1v1.5)
TE46sDNNWftA4SY297XjFksl1Q9cTo4jjCBtSX9DqDznJhmkTxb6PomJoSfgz3Pk4qTHY+Q5oRrnL4wNwnl5NdsqjcKmViVWiHdKW/KRcge7Nc2hKnyiDDlCbObAse0cSvKsw5CmLiDPjDCgPnqTqznq6U/
cY7+F7SwxGRPVBxoD6WFzsfmyRsFwvAHwiTQJjD0SV9V5CiOKpHbpopU2Kz17phmP3oOpPLzGJnKo77BqQMYrJh91xA4iW7+YOUZ4p3xhad2RSsw/8hWlD6SUe8+FnGHMoiRSHBK0QVKqmLcs73gI8C7QwEU2j7VfvFHDWVdoEfOF9ACWMAgOkSetdA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 32 of
                                                                                                                       133


                                                                                                                                                                                                      Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 10:22:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ENUDcYuPVVUDet/8Ef/avGMaP7X3DKPpx9hZuQfqj80+wuKLGtvHnAzYQOLRwLlwcMC9TtD8YvK5u7010v1pqkTjsQ1yGZq2OheTndOemumEU/KFSnCGNLhLxkIQispWrJrFYDxLNygJ8bkCGT8Qhi7NKrZ3FpY0HLFo6ormh/UwPSHU7YSux22MOJ8yKsI/
   ondhoFJYbIjadzbnW6CxlM3hKANHHiv0YceHWyrlJyqt6O53rioWeE8m6gQYCYXSW8zGdjT6RY14EEnzRzYuXkCc0vR3k7ntD50/3XiO+VMr9BuTJquXrMfI6QnTXLs4m7NIdVHkUzed453PHP36QQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-10-22-55-GMT.mhtml

   Hash (SHA256)
   509726183ac2f9cb03c5b568a9790b97fe38bd7b561edd47c688e66477f19512

   Signature (PKCS#1v1.5)
jJgSJ7uMm/iVg/ZwYJSNC/dmQmpym+I2gVMYRL8ZATAxbyIjs7sAlRS8lJiGRk9JYPBN9SFJinO0dm1y2YLePPLzj8Z51XNie9SHLhZiu4bVgsJ06XTi8VQogeR2jeLdidS4B0W4fmcdvkm1tQldnA6PN/qwcVRGrSFhpklGkYkmkkp6QXUnY1D9OmNlod/
NLSbHvPTvx1obY6y2bwN5pXfdu7bmr6hZpe/LzCyQpcWqBxBNC/Z7JUgtncaNLVFBfAv0nPbNz8k05qvgnhSJRtHf0JvdsqtKxekJ5pKbFfHNqYXyLpYiYaKxVEoa2sBpPVSZbNUkuWUMbOFR6nKEgw==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 33 of
                                                                                                                     133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   3PCS Beaded Phone Charm Strap, Smiley Face Evil Eye Bead Handmade Phone Chain Cell Phone Lanyard Wrist Strap Cute Anti-Lost Phone String Bracelet Keychain Decoration Y2K Aesthetic Accessory | Wish

   URL
   https://www.wish.com/c/6463556c356042ea0e206dc6

   Collection Date
   Sat, 12 Aug 2023 11:30:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   m5RnhCMcl/aipOesNzPGW5is9A8LFNEepK7Wf2YLlk6TnRtX8ug1+MFmg2dnuY73UScL41DLfpN5eORZaV7MSlbgTDrHkPSim1fdDw9zp0zSHHNVtKwojHCh+7Iz4BlTDMfCkuQtsj3cLqXxuSif+mgbQ6ApvNDfdYhEERxJfKGeBio/Pg
   +8ScPIvF5nFD6G0XlLsquFKbHewG6BIbb0EgA3PGBnR0WMaaXL/2QqKNCH/PDQ1jx+tWkj8HlMD3qtPau7SUp5Hozl3oZCSDPWAebHpw17pHPUklDJWgPJPUpwg12f3XAFceKsAnlydmLCor/jyqBjOaO51jYopIAa1Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]6463556c356042ea0e206dc6]]_Sat,-12-Aug-2023-11-30-13-GMT.mhtml

   Hash (SHA256)
   cf0c3d967ccb58afbd800cab6984b74b796d21b03f5bcc57e60ff0b0fb6fc6c8

   Signature (PKCS#1v1.5)
tc7DvxHOiAlfnE4cS2FVEgPnzVV4Fdr5gDxynTzna1b2u19ghdLScZ5BxglVj0DsYqZdGDYZ9Q9Bm6QdtAPQOGALi2vL/6r/ZDJE9cg+9WBqMdnSHsRu+ItXVqBnGqBYXcrCvZO8HvZrgySjZCH5/wMzE5Ttf3XKVnCCV2BpvukXzFEqeyjDmR85YW4TfgerwMNnhe
+7fXHnTHLtw8G4UWXqOX/7X7UtVBXuCpTlZ/eEHFS0J/5oqiKPGf8snRlnA7O6RDf44hF0UwTq2b5UcEUhLUHPe43CxN6ABJkvLmThFNjAHuVKVBU71eiYO9d1XmzPQ3/kVc1HBppshQaORQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 34 of
                                                                                                                       133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Sat, 12 Aug 2023 11:30:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   G3VgSzeKnDAPqcoF3k91ChDSP0m2tnp8eJq1P4d//8ImvoZ3wnzU50KvXdmwQqXY/6KBndkZxeH/8guETgE6f+z5NzT+9NQtHqiVZDwyzXqFcxdm21zaVa+G1dWyA
   +vJCtd6rNVDFWgGvz9kWgBOpZW6OayQu8y7k1mRikCwEVf4M49xcPsu/3N9TzmkGb9nFk9X5atfUBy6os88ZaxuwTy1fbVW+MPc36gbh7y+eF34Y+u6i4HiZYN+Gxt8OBgxE1olCLcsSoSAtfOHNGQdkj6v8GwszY0veEK+VcbyT/gd0IBV/SXC+XvIzose1UJKPtv58IuLtwsYs27Uqmpn8w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Sat,-12-Aug-2023-11-30-47-GMT.mhtml

   Hash (SHA256)
   ad6df2367e083cb675b22419fd78cf316fc64f94b849ea9790223ffb67c6fd72

   Signature (PKCS#1v1.5)
EPe3b60AvX24Sk8F+AA46+n+OBoOJhwoj6T+nwfTHMEtwjee+LGPZdiFK94x3p4yUehKgrFX4Lwq4HYsXsD6fZGI+0p84WVjBD6seqi6IsV2+FaJE0wiXWwSz/Vhaw2Ivl9v9x66IWHcQIGr1q+6o4Xs5MFuJ42ea41b+AAuQQcQ6fWtpvXxN0gkl8n+QEdnbXo8/
Hxp3ogrGXgiTra0XWl51TAonh5qNaegCIF5W2XOfd0rdSWo23cBh1i4JtLgN7UBDIwR7OtWXfJEtlPtJGZLO9VAiUUv8/nZG9oPWy7ZBLmQMcSx90+lq7GcbvqsxTH/K7FJICjlACc8aaqvjg==
                                                                                    Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 35 of
                                                                                                                         133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Stud Earrings Charming Rose Gold Silver (925) Smiley Face - Perfect Accessory | eBay

   URL
   https://www.ebay.com/itm/404343316629

   Collection Date
   Mon, 28 Aug 2023 09:07:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Jyzjh97d1Lp8uiEK0B3z5ijYAutUgZN/x1EQbCwfwlJ+X/09VnqqUbNRGHMQeudOMzKdS10JIvWOZPxcPuC+L+OU4EcHk91/IVwRaLEsEtEoxio9MDj6EMoHSFXJxKbTq+UtRbUqL+KBl/QwIexsPurwyQJg/zjQHeaIjI0bfMo=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]404343316629]]_Mon,-28-Aug-2023-09-07-20-GMT.pdf

   Hash (SHA256)
   58be04b5fdd7987c62174f048304edb0d7b39ea19738c61e87487e967fdb6df5

   Signature (PKCS#1v1.5)
ATh1d5cwBLxvqu43FqdF9vi1wtuuDwuaEwTc2Rwcsk7fwd3riieznAuNIhaDqfQt/y++9dIKa/idabt17qmBJ+9IFWQzbti7bQjm+WYhHZKMdEZ0a6hFEPCrJ6+l8fHPMp0OB9U/qmYh96le7G4vWvXGeO1vcvnkD4CWMg+WfTM=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 36 of
                                                                                                                       133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 20:21:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MNBMnOBJmuKxvaLB8LlvVvSRP1zByw39J0ITFFGuxwoJQRNot4aIkA0N8wAfzClkCWsvcEKt2f/GAhx4H7uW5Qykc3447mzhJzJ9M01EhB5yQnDB2euWmCH1SblawHBSrRJcAgD66qEU3i2i1onezOICmpv/xxsT+fx9AoYN/m7zTwqlpSaFDpjjzoxhdalzyxsRsyZAsy6yxtC68z/
   BOZcYOE3ieYNOI0ZVUi82UeOway0wzEGeaNUFpyUHqKbXZW4g+OOXNnEdl7M2w8VngQ4HymPPjMD6Jq6vnh9be67IIh+BhV441yO4YMP49Jv2O2IN2u1Nh+yR4eI5G4VBkQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-20-21-18-GMT.mhtml

   Hash (SHA256)
   b946cc5efe59eb0c293effba62309248c79ac894db6b9ca7c0aee8060ca335ff

   Signature (PKCS#1v1.5)
f2r03N7iT+aazERgPeqTuC1GBfgejN4eGxbvpFX7I7BFzmcfBnVllNPuKQPkM8xHei/emk+vv/HLKVr5MGiuQjVtWvg3Vb1nRDHz/0vWpQC2js
+axSO4jw2LVwQQUcWFL1Zp5xtBel8IwBMvtVhuzwvYbZukQz9bxNadkn9Gw67xSIYv8RR42oCDRnZ8viUgLaK70sIo5B0GCgGfaYDF6BuqY6ARdkn6u0qUqV7a8766haa+IE0h6BeTVYp3+TFFKU7jG5jejuoJ3lCg3cUFSXFvU4egNlMe/jI23Ot2MusEaNfGwaUdXb0Ib0V/
f5tjypgOd7gTdXl16webumwdtg==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 37 of
                                                                                                                     133


                                                                                                                                                                                                Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: SUNNYGO Happy Go Lucky Chain Necklace for Woman Girls Smiley Face Yin Yang Colorful Pearl Beads Charm Choker Necklace (Style A): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09CYKPHVF

   Collection Date
   Tue, 08 Aug 2023 05:27:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X5VTcmwuCmovqNf25Ey9ImsRmVBwYlAdL8YfeRsqQGeWsGFFo3J2VcsEZq+qA+tZqF0zHJJUWGkmV7BWL4UJA1f3lQ7pkSIgoWSr8w3ck7WfEBH+tn3qpdr2AGLkAgCNufAz7wSDRuA03D3bRJx3sowsNF6baKTV7aHTonSOE/v/6gMCCq1GECdpsX0Gmamj1xQmr0Bv/LF9+ij+/
   RLD77wzQBEMGvb31SXMJKIprZoLITjPngyP3A+un3oxuly5OniFxD4CI7Q+Kfoy0QWcDPdOdehn0D/SJzhqPuBvJ82/PK+ropy45K3Efw2WeOCSJ8NrrjNvwRISky4uHsntXA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09CYKPHVF]]_Tue,-08-Aug-2023-05-27-11-GMT.mhtml

   Hash (SHA256)
   69043c1516b651fd5b206caece55493d29f90f608ca002b6b51e8d4160cfdeb6

   Signature (PKCS#1v1.5)
G4Rm8xaOCGVzRFCGOgAWmG76xoAk7sIbMQ9Gcp3OS06hMHuboAyEkPxrqTHeSFKbXZm2zxE4IpPUjmoSKcnCytkrW5aEdI0u9oFN6XHNgIzxq9vbCMMgCOmEXIUdC4oOyVxr4T4qk/ad5EhYBzUm9KnoG03HGvPBy3mCkdSCXVhmIxnSos/
c4rzycmuj7bc5W7Ww4tje01xNFbtwPaJPl98SD5CjihVGNd/RXOKlAHLxGF6TuiYyO66w6vFDzCzZaHzGggmFv3fvlpi+0pJtwVM4TM/4aVJq8zICyJ8qHKjsYmq6apEvkJFBCJ14IzT7CH6CuVSQ7UOalTTrInfNAw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 38 of
                                                                                                                       133


                                                                                                                                                                                              Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 05:39:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   yDHIZFQMyA0XQwyfUFM+OBT+3fgROowGXQGAlq6JNgyA9K+dD7zYVq2li6nJfu0JIx8Ho6w1Hxf1YrXkWn22q+viB8QGDTlTARTjCkXNGjgTUQiwyeB/0ukb1LHyUjthvwyMkMTwh3cdo0BZVUG+5u2sadXXOSg8klQM5kwb5xc5LP5pY4x
   +Cbcq4mjjvoEcyfCuJ2lZJK8BdeJAi/1pZ1q5topnt8fvseIBo/TAYTqkJA98ln2GMtCEK+gA1kWfguRVr5eBYS6GuySJUmY296H6/lb481HUe7Cx9hMsCP3FQo7b5lUlk4f6YtkBm4TlCotG8qIuoyegBTkl2hhSNw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-05-39-04-GMT.mhtml

   Hash (SHA256)
   d5122f807c8599fe07a15893eb5194504f5703f4725e8d671236554ff817205a

   Signature (PKCS#1v1.5)
f+M2jK5T9zl8NxnESywnnSDXSMf6Xpm83npRfsckiL+bQS856ILnxkYPXHhyX+M//+SZq9sjLKXhAn+4q3AVRYQ/k2qd0Lgn4hpHiZ4SBq7dfcX5SdDFZfXADfVd5R+wevyIjd3NRjrZKdY4F4wkD
+hzYXf0Y9VXq5h18mKShPnVgnRKOQVWn2xSbcHnhxDQm7YkCS4KcWqAsqhTiE8wAjXDQ5JXeH0T94EZXpQrWW7ar6qIkMmldaIa/AMCE8LmVZmOCPIb4d2LlSNdDj2zr2yM4rN2NW7JBSSNw4B0z0N8LWdxhrGsYVODSLc/KbJAR+OxKacJHJibsdn/MK7F3w==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 39 of
                                                                                                                       133


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 03:06:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   wgS/i65GGaV3D8EGYYhM/yf+T3WV/p27DGQiPFKOXrn8TcTHHJRtm2V2b4mgvnkL95j2BC/H1Xxvtpn/SxUWn715cHItW0CfrSum7qCytEVcA6txR68bn7kdEpqhaRYV7PIaKP350Z9XkWbOkUewbCdayc+9aacZ+e9yJobvoqgJRpTSuriVmIWIyU0nljJxxKIFkzpCbJF74XbX/u
   +nNoV2Wr3uVhQ86/iN8BSIoCUtq7be7NIi0/TiC1+v5unA5RJqZ0s1jvMq+vKUcTxYROH6hSmB4CmktuJXu1gZK0GP9GV4qOBtwNAocqgg8JainG6R+17fyfwbQT+0Nsfv6w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-03-06-21-GMT.mhtml

   Hash (SHA256)
   424621acdc5a0600114211aba207ccd48b06a236f14d638c928c62c096fb64df

   Signature (PKCS#1v1.5)
wcnQREdxJv70ZnMr6txramldaQ4W+gquDkO/MJHmxKy/cHh3V5wGY/sQDUDobcTn+uUjkWB0Kd4uI4k1ChdYdmzeoZM508cR+xh4OoQN5Fbd7FU3ZWID7UtUXl4ufmiIdO02YJRAND+zfI5756wr3ktTW/qrqLByKJKNGpYOQsj3lLqUw7JHg6+tJcxPJ48Piwbzd1qWH+VnxMH4y+
+IvcBetxgg8lpfudPVDBfXbb2pCsBij7ovwfj8FFNZ1nElKenyZ/kTzfwQn5R+hWNXYsUTkaBMaeMuvj5C7JnQz5l1rXQrkxIbA35MOU6xibA0Y8XSM0ujqltfZNFmfg54+w==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 40 of
                                                                                                                      133


                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | HooNiu Smiley Face Slippers for Women, Smiley Slippers Retro Preppy Slippers Soft Plush Happy Face Slippers for Women Comy Warm Non-Slip Fuzzy Fluffy Slippers | Shoes

   URL
   https://www.amazon.com/dp/B0BNN4B153

   Collection Date
   Tue, 08 Aug 2023 09:30:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aCNtX7JU2I1rzB4UB+pS4VPcRcZKeEjbdJ5OslTDbd8xaTXFYgHvA2v4Oeupb5IAedWgtFr8MDknvjDh++K8LJj4Uz+zYpc1tqHWrVQnOcXmikJngs/vVdhO8S2HKrtyUqFo08e0Rs/w7TMrxgGmLCaRZAEhkxUTS50BUiXghoqEyOfafXqUWuI/
   CURtgEzjhkOq6V1hNjBNjs0PoSnP5Zw7QgM30U4nwp/iVzn4sgRdj1/KrV6qCXshLQm7yaqH6/GdrGT6N70VQTYXhOzBUv5MIPh5jj4Xd3YOKFln2PwINqCIQQN+nrPXJcY2qjwMDYTPEK+npD87+JQR9ik2YA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BNN4B153]]_Tue,-08-Aug-2023-09-30-26-GMT.mhtml

   Hash (SHA256)
   1c4fccf7f51119980e8774dd9f8e6ac9398c5ad880108a0f177090b5a4c296b5

   Signature (PKCS#1v1.5)
BbPB1bcwoCNzA+qq9XkpjcifhtHMZkqht6MjdPWoB8oBduryXhQDP7xmJUDrcfOuNMdldaKa13aIYyN3yTxQJSh2k164I6i89YD0yg0KkU/oUhkXgnKyXcwazgSIWXeJ0Yt1jgSiIjLWmbKgsOvuUBLM3oFWfnlVN67m/HMutscZadf3T45IsmmhvCSmRs11E4GP
+ixQ9Dybp0o7+j4ZET9C3FLRZ6pkSs0+0ljNu4991C5xOqmXMTTyHsUrFmykrXo25aNLmHnYblTDw8wjS+xsCGAO8kTamTIPlF8NjzPpW3XafpChl6zuBeG9W3NFCpLA+0BELsckE7FgAgrIjA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 41 of
                                                                                                                     133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   New Smiley Face Korean Style Autumn and Winter Men's and Women's Couple Cotton Slippers Home Indoor Cute Platform Cartoon Non-Slip Slippers | Wish

   URL
   https://www.wish.com/c/6425438f6ac0381d53dd2b43

   Collection Date
   Sat, 12 Aug 2023 06:24:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qZWX2WIveVBaH9ekRJ7XJCU+k0DOxg0REXy2+uQTDgyB7SzHgh9xxqyhm4CVM7wTB04U6vxVR0f5Y7LYflgYTMN62fZda+m1dCXg2Yi1DU7mkE1yuWifXA1rvW4cfyfJVhov2o0KpjcE63h7NLAiOUhPFTS4tJc1hRfjtkT9smJACRkaOAwtTkgJgGZ
   +P3DcVRQX7cRtMQGCD8D4e7GsIvDeBMn09fVTJFjif9H0bEYjsqDty+vDHJHXGOiQ8xUrMPtzgYOy11Gwk/hlwkyYl8LBggl2bYXl/wdU3KujIlhNT1QTASsgOJbrFFK7Fx6zF5+vieMv6ORpmZt8zxTy1A==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]6425438f6ac0381d53dd2b43]]_Sat,-12-Aug-2023-06-24-31-GMT.mhtml

   Hash (SHA256)
   e6dafdde72dc37983dae59a33a9391edbf1ac61344687dc206b89100e47d2bd4

   Signature (PKCS#1v1.5)
mEII7QsH/024PdouJV5jwRNYtkZf4HLbOcyx38AOWF92U62VWy9YWgE9ia60luP6iFivf282Vg+l/oWlvJ71wFQAj8dRXXZe0XbggW883kHHcbuieUGM9oldJd1W2EpfbKd+9DiNiTDPoqTFWteuh/M5NpUSJZWkl70dvhhm39lQ1LbXvuKiAB3VBUww5W1Rf/9XGLw
+Y9oUk2Q6CspQFNYsLeNZKQ4Y6insuDQhwRocI2XyNoM2ZcVb4RNLQPOUkGBxipNpjU9KDiPRhADT3/yXh8Qv7oN2yNiXbE+3NCHSzK8ykW1Wp1TSuV9sH55KXUYVXWOHjfYal/1lAZ4JVA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 42 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Sat, 12 Aug 2023 06:25:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4955:4700:5986:86e7:734b:2fc3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e8rA16Q/yO7jDg75aMq0v/j5BlnE7XFFGAwJ6wih2BZDXq74hqahgbDnvPSPGemprx2WbaL2x4zq/Px2nPWrtleNF/bLpjHkrKs69mNdBKUu8kA5+GuxT4Fasxn8v+2pAnEeEEE1N06Ymvhybd+bZX1W9YHPAkZXFVjjoE3WMhimxUOx0NToZT7A5agkSI
   +Nv0JQRAqqXKxNJIrJ8xyPFmIn/3cwGCTLQj+Nbt/SwjviFDReDuI/6NL9QmC2g+pkk9mjT0fCjvFLIR9ABpYE1bIFdFfN24dN1hQ3JF+Ah6XYFmUb+aEvzivThE/tDBeguiPg8nApSveMWdGjS9bQag==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Sat,-12-Aug-2023-06-25-02-GMT.mhtml

   Hash (SHA256)
   975ef642483c0d2ea5a543344b9c04c20c9c1fa69d4046030ab50ae4770bb7e8

   Signature (PKCS#1v1.5)
m4ELVp7bcJQLczA61DbbwauccY9tShMTglU0+jk0g/275Aj12GW1GDEMFVwDHgaNyl8o6Pd+pu5lMQMIqgoPEJ2vJdZPgvVO0r+DEWv9602hiGVHlRw/lrZL/veRtLyPn6dmh7BkzFgrM6H1wuRAt2ceXXo+bL8Cc6oKUwI6sIPstvdZ+LeBz9TW6+EqBvLcfuUR8f6Ubs6BWIl8ZHgh6uCXu/
LPov6+I5QqjjzLHu1FGC0HFZ53soBXtnHwjuAH3YdKlYWxDuFxoJkA+O8ExCSx1qjiCg/asSGCSw/okQiWwZg2rxXyV8HtF7k6RH1hLbl9LtziIKXE3hOnVNXAGA==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 43 of
                                                                                                                        133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Elite Pink Smiley Golf Scorecard Holder Gift or Society Prize Scoremaster 5060558705548 | eBay

   URL
   https://www.ebay.com/itm/233199909149

   Collection Date
   Tue, 08 Aug 2023 04:45:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QoYuTkbsi6NZ1+3q76zG41i0g+im0kQpqqjzA/zpODhDRNpzC2zq94vMvinhCPT7PBNIckTAJ6Ihr/A2lD/MDIv8IPHJosKT80HAdnTj3RBa179b3M7naZe/
   bd2O1JoJ0661YqSyW3aSyZQXddoaM6p2ydcZLsvDmQF8mPQfgWiC6YYXorbvzmsJoL38ODuJtdR1ta4YYfRyEFLigBAKh3Z02tgfFVwKMDsjwAQXnvuqnapbO+p3Gf51WTPr2OS3/isCVR4fpJUa9L2Qh49SEQeo7PMFBVQ46Nb1utD/
   DE52LAVkYCATbh2dumwN5ueryng7PHixXLs8XpV1iUIlKA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]233199909149]]_Tue,-08-Aug-2023-04-45-20-GMT.mhtml

   Hash (SHA256)
   5a09e8cfa7a6cc0bba0bf1f57757688f0b4323b5320c39b0828528f950adf088

   Signature (PKCS#1v1.5)
QBZg4F8tJpeHzhd2BygRWNDO/xZt342UFqk9Z3h1UhgNrd7BCbjbp6KYC3jqOjR1w9LoMFU0pDzv6sbsanCPEuS4W787Xl/
yQphyVLWfL8bwIfbAQ0gHb9TMo4soqtdnH238Z00mkxgdf3m3bquuSEYnt0fqvFXIuEkmJWCpYhxJ5FNzwmHSrD9zfEebpkC0cH3BZD3rVSGRFNnXXA8ah20P7uBiuI3r/ERkdJVSylJiXqAL4h/mr0GVLrgH8oYz8/KCbgpdhs2XgbRnE/hxHRO6v1ugi0+jWxTK39qS2wJBniGdf20Hf/36eSp/+5m/
azr3XVhZUUgypWpTP678Gg==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 44 of
                                                                                                                       133


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 04:46:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h1DypjJofqZ0gn1uCEoAYuxMvHoIMniOCHyq2OHWdskj+PerBoFjzHXBubo0KwaytdrIh8fDjxju1ttgqOWpyqG6qM7Cf8w1DXTPwh7YWjeW0M+KrU7XMQj2eu12cJ4zi1ty3TdYmipShKAF7nr84m67R1ZOL6m0EXH2Dw8IjYGn5A7GipeDKlvSmAdNQNOoYEuyvFUj2qNBo2YB+5rh
   +LdCfWT1HQ9w8PZH3jJhKbutE8RHo3RtI8ubDFbBQGb1b6mMk7uEaQR3fB8WgHvTbXoSERvwDJxhOSKXnNsLzHok9e7TgdBMqYQX8Vz91N+T1mjg5Z1IoN6MqJo7rXdbUg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-04-46-12-GMT.mhtml

   Hash (SHA256)
   2d85e7e31ff60e55e202612c6cb761e75ff6af5eaab58499c8a409d237b165f5

   Signature (PKCS#1v1.5)
jBJB0VcD6Q8yO1iAZHz0g+Vds5U0cT/UHJ8G4ZIDsVNTB3TqKjaR9SmIx6OTTokqpQurK/
QLO6qcOPAYfqJI9eayqexe3yRDtOeztEs4k3owLSj30OMmYktEcBRMhjM8K7q5pNDEENXxEZWlqUS6EPPaCKiLGlzsyo7K0wez3uYq3sVVwg3yeiwYsqBxFGXKpjbwYJCti5BlSNu36skooRK994lzxSNSVJSJEIUAgVWTNjRPyr6ik9yKiBdF7YoMwzyIlqEGTSEBItLUDylHbJbmXQSDx8pOg7LDNi
qA3c0Le4nWsx4KdXb0BQDOZdtpNpNQoE3xHHESiU8YuCbTYA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 45 of
                                                                                                                      133


                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Classic Yellow Smiley Face Necklace Be Happy Emoticon Retro Pop Art Pendant in Bronze or Silver with Link Chain Included

   URL
   https://www.amazon.com/dp/B07G6ZXF1Q

   Collection Date
   Sun, 27 Aug 2023 19:49:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rbPsWHwbC1TTEis74M3y39lORX1cvYPK159lRnf8ntPGlocHF30pm4fSgTaR1U2KatLIRkonlpoevGJa
   +H4Z0SwqKe6HrCJVW5W6cOQ6dMl8In1MNiBMb3+SdO8gQ5ZtXGIBTiMgr7SFYiq2qdkW46u9XFzTtYfSSfPIN4AtyHMT6eqwgs6bnXm3qgXFUHGcwCFjVAVYjD1Xa6MnzxvgyLOWSFeHF1bQOYl2AyzzEhGsljDgRLLDifLd23ZoIGXPzMsze5yiu56ySquhXOUOx3+5JDSg7sb29J1458gRw4
   J8LNOSFFiC3bJwS02MzU+z2xZ5GNKDVzaBgbQTFaAieg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B07G6ZXF1Q]]_Sun,-27-Aug-2023-19-49-30-GMT.mhtml

   Hash (SHA256)
   ae6760df5ee99d26c608038bcf071c6770917c35ac94f0625795d93b51d9775c

   Signature (PKCS#1v1.5)
XpOVLQEVjaIvrgd0u/sg8sxNB52VbYRCaNeriGQXgQBqzGpWd0CBGb1hzeuGvJdl16nci/P/
GqLcGUSWtf6tyE0sntYbKS7y13fLcKDiumsGPM4rNbUszf8hUfpNs8RG9zLtUKWNsrLFPu52aEtDsOi6I4CPlKz59ZP53FmDE2k7wyqtu7Rt6M0p6WlbYLeljuSHRITQiSYhxTAVDdp9wgu1rLH1P4HfEuj6OBBsnWANBwCM034nit/
Re9JRx6Y8dclJAlVc7upCruF2rAX45w7BBt2pfy46SFhz2i5t15YRwofavrFGC1J028bj7P5jIXjnYhDmIF10mV1EiHpbkQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 46 of
                                                                                                                       133


                                                                                                                                                                                                          Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 27 Aug 2023 19:50:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.224

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fVz11xCoTJ6IHF1dweqWfdv6iqEC9YSMW0Uq90oHNq9Ugp7800CLw+ddhYLswu5s8Oya2k35fiIYo9WuQG5pvtbLI9vpdRvBtfiw6uXiFeXe9s935IL/fyb/WYjZr1MyUnKfwMsHSo21lMr1dU3aGlcAToYsaiLRyuLkWjk3dKoF3JLjg745qXIrK/OxkK5yJOC/
   uMIXcB1ihvJ5gD3kIUokm4KwTII7AI08BQz2kb6h3T+/B2JrDj7xvf6aK5dKrZrKks11WZUcDTiY90pZqFZoo68SxXErf7Bn+cgvSKDSOnTfHS2vOOmIEGGFnXP9eh7bKD3Z+mBkqmqlH+/ZUA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-27-Aug-2023-19-50-57-GMT.mhtml

   Hash (SHA256)
   3520aa6ed1d8544c2e43722985a31c7a741e70051614e9963a57150faf70a921

   Signature (PKCS#1v1.5)
OQ86YX55v5zFG3WBz3j/8SiDvbJu0v6s4EspFxtDXA2CfE0YDLmTNaWumsA3xmHJqC8y+QRAUyqchFuKpQub6AVsgudei49AGOE5+VcVhpjsANtDztxWKxHeiRY9iilzix3hmEB9tZvrWaUBr5BnuEWlSIWf4ZOjNLoArdtZEs5zQhVv+gjg3BSG47dcHmBO1U0yyDhNM6ka2Rof/GnR1WLN2//
vZquX0onIUPGD4qXJ5FBri3s2iODU5uY1A8GDCiiMOuY9Rieoz6FOFDKETZXjk/zloo+q026QYrPT75V4PinGs4cShTgODeZeIZ3AeEiVUNgckGvBSF/qcCLGZQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 47 of
                                                                                                                       133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Classic Smiley Face Pinback Buttons - 2.25 Inch Round - 5 Pack 7445024754783 | eBay

   URL
   https://www.ebay.com/itm/394829125306

   Collection Date
   Mon, 28 Aug 2023 05:40:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IQXgiF0Gh9Jkmh0SZlpraX+5wR4RKdN9AMDHImzEjosq/hPb0JWt+TUbuIfr6JSegtZDIM0rmB5lvlEA6hrnznEQqpEeV6vy14p09ueOvXv8Ufss6d9NEwm9HADTBrgtAUo5JHlePLQuiB55AWn23uipreAHxDTdm/1OJFzdutc=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]394829125306]]_Mon,-28-Aug-2023-05-40-54-GMT.pdf

   Hash (SHA256)
   c7bf30aa138238ff257cd36a1fa200f36f83c23c043f11cc4dc3c9788e2d47cb

   Signature (PKCS#1v1.5)
h9GcPenH99r+UqIFuZQ6EmSDa3KJ5fuaibnHFC6VuJ8r4/LbXzdd3DNhEriejhxF2f+vngn3w45jfpI3H+V7prkTNjzPalX2fyKDB4pyeW1sccL+QLERIMHiHMO3F1OrIiKtcBDALGGPRLNuudIBIM6OFnn3q2WNqGxP4Da0p44=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 48 of
                                                                                                                       133


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 07:52:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   G8hfOWnmXwkKlj03JL4NPWLjR6IeSTkoCgKDAAUFkTWAXP/blikaIrTsVGi+y6ufYXT9oMR/Mt1fzD4ORt7BYjIYO28ARk74zha7rtrLhrOKM3IV+jEzVqJOqOtyi15U4zKo5/vgb7Zyc5occJBrvkR/
   GTQFi4dwyhRv3lAUEuQw1OfiUgN6WIGOWGFwFSyHDG204Yj1mVsB3+1WTor5SRTs9FDSBwiZdKMCycAKnSPuICtWLKzi8SzuVynZrJ33D08v1WgfhPfLbKHe5G3VETlSmHuA1MPdNrsaWhKlvAaVWKSYtjE5S1QpYg2isjL+QwDC7EvfedivuRZeEsz9fA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-07-52-07-GMT.mhtml

   Hash (SHA256)
   cda3ffc6961430bd80b51a4a56172d3b380bf19c011096778bbae15be9731a1a

   Signature (PKCS#1v1.5)
UASP2tbffa3a7n7hKLNhYyD+Ym4NHhXNCFL3AWn7aTZvj7QkuNgZaxCtcWZJYaCG3F9fmkWOO2mTaj9+HBXXlHu639W47ZMOSiQtXoWNG9AE7x3FUy+QsQaN/rYhlOHPcd4fqj6ftvsObdIHAWY4YnI65rNJhtBzVcbHZRn1UebcJK9WxIqLbODqE0Be0Su6/hv3L/
AW1MoEjy4u8eStCMFk24YuDSHSLX8trWeBiA5pmxFgIJJgyK0YFjHeXZZvuG2gi2aOVny/jDos4gjdsBR8lRq8d9aQC2FiOjAwYUXjPn8OQ/PafT3JIFxCYUiXplfVdPmr4X4tT0qp+TpEMA==
                                                                                      Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 49 of
                                                                                                                           133


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                                  Evidence Collection Report
   Page Title
   Amazon.com: You Are Bible Verse Shirt, Retro Smiley Face Shirt, Christian Sublimation Shirt, Inspirational Shirt, Religious Shirt, Gift For Her : Handmade Products

   URL
   https://www.amazon.com/dp/B0CCNXKD92

   Collection Date
   Tue, 15 Aug 2023 12:36:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   MIRj/GZ5ShK6e1odGtFZxRDnSiHnE4u8mPWEgsS0fT5mtshl9Lk3UxOdcE1MwSHW52xyi2Lusr3a3YBKwOr3WcIjcMsJb2Ew0eTIbgQZCVoa4OwXV+RT+/scLGsveYDZ6z++/un3cI8xjzusvzFZfD3APNvYa1Siw95bsgTdIHPCSF14GseS/gIpeF7cq2mmN4y+IBPjjrIiNEZrAJKFmAPbH4FG/s
   +fT+eTSwuwdW9M/o0yrQJHP5GJFcH7ZXju//SQDvjP9GsoVMRcj/pJ7ogdHBCA60K0lJ83xBx1ir0EGl/fJ96X8aoS2gS1tdTTdm2lg9W8fT/RqWm3egW1OQ==




                                                                                                             File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CCNXKD92]]_Tue,-15-Aug-2023-12-36-40-GMT.mhtml

   Hash (SHA256)
   507327c6399508fd4e87dd841f7d93ce78a4abfec246db0f30228728bcf74667

   Signature (PKCS#1v1.5)
SCBamBlF13oDWto/F3u9KoNhqhXkXqRKatOyGCxMw+zbE84/iTmKF9/G4IKW556DN1r9ORBZ7JeJMNt8K9d903VWf3cSR3wH1gtOHGVT8aBq0GM9QRxyrzLx2ljOl9p8khSeIsF6L8MgvAdtg8tDFOF70Afvwn2PAIrUh41dUPnrmhUEcaAu/
hcS7L4VniM7t5WwAuVf1MJrSqXm7Q9xtt0ivdGuCfB/JBcrYg/kFPv1S9e7pbQ5vGRemHJsoC29A85nwg7UTYfGxMLK+MO5SY7rl0CCYkWXY4n/zAbWvAp3ePWugX02mhg25dqoZOZNMafDRfH9TTTud/izDGqIbA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 50 of
                                                                                                                       133


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 12:38:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   jTzz3aQp8Tee8MzvVsr6wrvI7h0j7lAJy8RVrrY97COakIc6M4b2bB7I4/sSXh0M1xctstxt9bXCH9qFdNueWMKQMHoMnRuFbnMvXR3iMqoSg7EfrpGChAcRuPmT/Z2EiFIChgpi4qT4caNsr+fPESwH+g707HQBuu77+cj8+NEDeunWplwYQSLImYP48PpIjhqJRKeJjDl+fmrOHVkc/
   RlyUv2ZDYl9trStq9lnWvqryHf3c5ZZXMh8ta9/JgAlY1WvvAP+mfdwh4cOpd5fxV6wH3qeZIg6mMiHkvwOdCMB5T/tRd/uBdGPQp9VUSm4uFIhzcOGgzxC1r3nTDXDBA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-12-38-28-GMT.mhtml

   Hash (SHA256)
   0592c820100a5490ab7f5199546e3cba9dd6e75dc17d4b388f71d40376b48a3b

   Signature (PKCS#1v1.5)
TyUGUv0iSgp6/5dm6dERN1FQwROdTal3qQzphbYlK0goZ369+Lwk4EjwquWZN4qQci6WYyAz/blrupTXnYRlg+1aAbzPw3PH1S5nvZSkf4v4RLUM41LAArBTiYXyEorXLZMT4sqa21+53B/x5hga3eKjfCPFhYTqSrNspT9LRZyhc9CuxqWNa1/1ODfmcSPUNwx/XhV0B/
IcJe8RZNkqJEZNaKDmbuImMD96jt6iofP4f65D3dApfSfZrN25YCV49mPfsQ7alvgCksFW1xzb1gQfeSA6FekEyV69i/qkKqIvwtKRCeOR8o32GsEL4+qjcPdXUHpbWb5kVGlld4ii+Q==
                                                                                     Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 51 of
                                                                                                                          133


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Leopard Print Smiley T-Shirt | Leopard Print | Smiley | Vintage | Sublimation | Retro | Happy Shirt| Retro Leopard Shirt, Unisex Hoodie, Sweatshirt, Tank Top.a53 : Handmade Products

   URL
   https://www.amazon.com/dp/B0CDGX9RVK

   Collection Date
   Tue, 15 Aug 2023 15:35:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   w4hO4hP5rFI3KhUw8bfmIVAPkHJD/boZHylZf2kuCRF4kSPVXH0ldiOp+5ykvLwqksLOMxBDaNjPw4vYktwpXJjHUv8d0baq/F4NWMYhqDK0vJlCWmpSaTMgjVXhtHMxz8pTLkYAVwgtr5bG+Efbg5cVPpk9M0i4dRTvy/9EsFndDXtP0LI3fJF6/2ycb8xfdySXCb0pjzS/kSr/
   negEnpS8tn/98zD07jxvUme7BrSxdqP+jLFqYwlDv8u5uLvoBWDV/+UKoDdKA6wkfnmdHeukqXGe8r+8HaZJjGDVwMSnMpD3vl6IksYo0HFxoCvu5axh5oSLhtB37BggWELo7A==




                                                                                                           File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0CDGX9RVK]]_Tue,-15-Aug-2023-15-35-48-GMT.mhtml

   Hash (SHA256)
   d7dcbf04c13111b118c112cb818dbec810d98b0099138fdb3846138f0bc7013d

   Signature (PKCS#1v1.5)
QAdzNvjrFTWvjcg3xgi75SGQb04nhSW7sXIEyCbAghHbCEnBJLrkWVY/Nq1kn/KrDD/H2gG+eHmb1ABOhAXKldlMH2G7kBZeqcL1JxDgUfDpDmot6xCj6norBXC8Z7ILikVLnxY1FUdyI5T8FQp46/JpZON2JUyBqM4mBC/7YUMlCO1MsMFOB/JE2alT19Ek7e0vHxh/ydw43FB/
fpxcYI7SCeqVcWNG7UMeiRL2rVdG3FF4aYYEjZSwchwRMbrNmu7U2K31rNbBssHNF223soWTON5xkzO5R+efYd2OFKDnRlUSyVFKHjNGg9XhZehHhiW9xEUL/sY11hqWZv+t9g==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 52 of
                                                                                                                       133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 15:39:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   wQoLV3vD1zSAervx9gSPWt5ks9z3TPES0gb0IUtJgtvgVExpw+4KIxmnv0EpaxZU+4IeiXfc4+F8cr/lG56ruDuH8D2T2ibMEG/NbYPhdgP873e6CQBCECXRNf1vPi87YUyLy1AbtbzBCkndpA8KTkbz843Boia+8hteHYYrQYPgGVocwBUKafq+NsGjNWbruJ/EyoIy0gIOkH6zu0hL9H
   +8VxhwPwff0U1Q/IFi07BF8bFBhgzyHXwXfZ7KPrEpwaF4fEfXnqPQIm0fF6gvjZru9nrt8GOKrcnCZJF2/AJmsbywCFwHUtTgoDUtEp6Q72LM8NMcGXr94lH8gRP0ag==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-15-39-03-GMT.mhtml

   Hash (SHA256)
   2b31e5c9183c5b800ce151df4c2b31935e5f811eb16fe2953561587600f71acd

   Signature (PKCS#1v1.5)
xnoDsPPDDqyGtX94NpfCQPC64HD2xtXQFXsnAI1W7N0Z/k4AtxClPF0cPsS+UnqtAtTD7Gu/d/ieG5vAj5+CoV20RYwQ0oNrNKCCmttu65pgYYm/oiWVEHZSmilflpLtNlOWpLiVPivwBU3voT8wNNwys6Xarcz+AD7zylsg/IFmCmeU0ik7OskN2HlTi+n
+JN2OigMNBra1vSDGYSFaPf9DWvrrFD8eZBMXIeqU7tASxn/pOqzniQF+TPFuiyrYZ2LISorV58xHXNTkk4EDzwR7vB/E+6YJEEvUhJlyLLRG/5dHS0JJf9X07bAW324Xfw5NXw0PFXSDFhD5yeS85g==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 53 of
                                                                                                                      133


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: TAOFANKA Yellow Smiley Tire Valve Stem Cap Cover for Car Truck Motorcycle Bike Black Universal hex Design with Rubber Ring, Run-Flat tire Valve Cap 10pcs(Hexagon Black) : Automotive

   URL
   https://www.amazon.com/dp/B0BYYTMY17

   Collection Date
   Fri, 11 Aug 2023 06:02:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kZ4tMVdGXhMD7JR5kd5sc3S1qfrSDLlVfl2NxJjz1Vz+IN6YoxT/4WKtLfAU1+O37YpBlfjmyiZvT4kmXPOdQBRL+iqGYYX6aCu6xKgEXXI/JzSWpYq+kUseLVCbBQPM9eSrxoLpjyr1RCSen3MJmHAiMbWNpcvEAMfyD/AO99yHAuqebzC1rjmRFV4hE7a1U0MQYt/
   fW2avITvUJIHPUCVogjX3eKYCsUCRWDk8nyc6+P2xmS+BAPSB4zMelfDkM1IwfHXxwD4NwP0PazvPZ9wJdtSENvjrpZY7f/Tps0FRZk9iV9uZWS3RmZ7krZ9jyOIQ/goWWyp/7DqK+l0o2w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BYYTMY17]]_Fri,-11-Aug-2023-06-02-39-GMT.mhtml

   Hash (SHA256)
   a830b92b19dd808d18dbb6dd20c0bec86ee2b4762fd714773dab49b20fcd0720

   Signature (PKCS#1v1.5)
e999T5MSpwzZzGuXW0yH7VDjFCp6AGQuXz7JbK8tK9pom1laOvSvqh7UJfM2jbc00OPiHTEaikZIwjl+qtWIaPuyUUBHk3qC5+ghDdyYXKGPSOnF0i5+R7kKCgRYbr1dZdTHJaaKJbLhFB2BNiTamoJdHk8Ac+GymXubbmKGrDQl1Q3FGiSAWv8zNFVs/pPDOCDOhGjFLWKsLZKgpwz
+iEU8vg632WpbVtJkYcolBPP+NydqgQrrLR+Fjsv+lC4qwSWeegIDSfHCGBI1vN0cOTIo+lUbQsDkgzfbiDly/xk6mzi/WVW3P1OSpscnCutxMpPbBT5FmeENvg7F7HoeKw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 54 of
                                                                                                                        133


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 06:04:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rGZqX9tyDWJ53nhP8JcXT8O5C4Kme0D/0HtO1aSYK/DGQEamhwlxZJJ6dZf7CLi2S4bQknUXGW58IpCGi8D/Ogg+u2OCfgb+lAcsiyvSi3rGdC4Lpc3Do55mqhw9x6BFRZem0WE5VpqjRssiKLxLskyVlzJHhd35ZiS/D4XnrWYxy2UUoSjFlZ/hqDnefrKP/DcBjsQT5Y8qXrUzboXxJi8urBom
   +s3vgAZOEeLoWOqXXDskijkU1MBxRco+qJgLSRfinWDItVaXqcFfErFUUEc/IxGqtGX2yp3q2t00FktX44dqjtGKFVr93x3hN/unwl84ZFlnKrCYqqysksTrgA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-06-04-40-GMT.mhtml

   Hash (SHA256)
   363e466437dca8f8498c56aba5bc5dc2c644e4d4da7c74dd40ec53ed048e0fd8

   Signature (PKCS#1v1.5)
sTu5+1mJjj2OfPezQik5gCGH8adtM9pNoLWhVVA0uRXYWtIy2pJq/GJ2nk9oDEoeMu+bC9URvBN1D9DKg3mDUCsRwCA4ksHldWF/nQkJaRaEsH18CoGrfgd6fX/O4iPryBq7F6eoOPjm4ocEh04dRMVEtRC0Q+XKWTedr9+B45/LmQhBIVUBCYTZyjdqLuS1eFjLGO0WXEEzb/vE4jUZto0yHI2Vu
+SqB30fDHdRnNNhKhc0a2OdCtTM6zk+Drub/lT1D8VUEm0bO87fc8Kn4LmrtTTXhrHReu9FwB2+fptewlGapBiGiYlhc/yQdwox0Nt7GBJL/yseseO96LTmvQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 55 of
                                                                                                                       133


                                                                                                                                                                                                       Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 12:44:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Lg5Qx4hMr7os07FPisrcW19i6idcl40uHtyj2ASLctjlUVv8j0AN9Vk+5jubUIzeSsi6gaz9yvqmOLAg+7z3PblpORR1d4jZxMcMHq77k278XK8euoFDJzKh1xM8I6TNUIcEGXziVuEWO6iWlNcmou8S4xfxwZq7mrRLgqr5lSarjh0sRfrEDt/
   +ua23NcthNhy26PdIiTPc0xevxi97ilJQjNC0iV12sT8ikkrNDSGsI1I0Frt+eOzi0HLvCmEKKphGoVUE46D1XGgt9VG79Yj45qdc4qRBZjbPEsUDLPr3GyweCxZiWvSX5VVs9sTgivQPCyumEZheCyYVmyTiUQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-12-44-17-GMT.mhtml

   Hash (SHA256)
   7a9495eda1b8eb770bc69cdde138a30632a1081a729d4a9625218de867813d00

   Signature (PKCS#1v1.5)
WExwmW6rlfe/Ivm0FASryBO+jHa2Yagj5GqQW9VvQFwOPnw2ux9uE6Wv/8nDGV9JwLEsynkAYE4djW02c7lk92atpDVUT1B51bocNPUCzZGmttk3X47x8zwOBwqcDcGsXfHipbM+TvdiTbhGuHWgZqBzIe2C20+Tq5kSoVJdX7gk2wz68PZu3gVomrFwDJaT13g4osedYMhZBuWsG5L/
WXyK/6qdOMe8OdhWl7yb610j5+4sMOKBr52u4/OwK2OMjy4BnuoFjmRlAcuIA0T4ifslzM6Jh02pTxOxddrIgDDE5GqWB2nttExlobaqfQkeKHKFmhlE4oXrGoynNLdx+w==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 56 of
                                                                                                                      133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smiley Face Waterproof Premium Nude Beige Cream Girl Car Seat Cover Protector | eBay

   URL
   https://www.ebay.com/itm/204335103600

   Collection Date
   Wed, 02 Aug 2023 06:43:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   N7kiPRMsqe/AWpD1sn/EhnukxflDGHvm3L5d+GMIS5iIrp7FmebTfIAo+w61/3gfrivMVLDBba858jRGatu8KTGqmAvYeA13y04l21AtQNLntPIS5GMemku8xWuTOs5+myIREQdmjgbwzZZJATS1X7XuZSgMrUENUmdBhXaTQBc=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]204335103600]]_Wed,-02-Aug-2023-06-43-31-GMT.pdf

   Hash (SHA256)
   4303049b1a69c701b9508103592d6446b3cc16e876d7b3a1ab1a14e04e479e84

   Signature (PKCS#1v1.5)
jBsNMcwNrDjlYJAr0hQAHhZEuh9d7lKk1lQoRxKXCcMtqebq4hh0x6U94WOHPFYF3Pp0TU+0PNdqA/EKtMdNXd8IojDeQaDprnSwjuTncbccovhDrUT9N5mKaxe4OWHBYr1uZYEypyRkYNL7/8IECBdm/T9B9v29K7AQss1mqJ0=
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 57 of
                                                                                                                     133


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Pink Smiley Face Motif | eBay

   URL
   https://www.ebay.com/itm/371455210157

   Collection Date
   Wed, 09 Aug 2023 16:23:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KwTnuXgLfLgLQ/duU0alb1EqPzFq1jMkKVaSXjJ3CXPS9UzAA6J9M/8VTLFWPVGo/+c66TNA2PMaC7I+RRjCl2XyKJaItENzfeqpvWkGnLRRDhukoGYFckGJQ3MPEnZcp6xPI6AzckhlqRW5IK4AekspZAUbGljWmBcSiIOZiPxll/rBiKcHnAVwaNJh2NyigU4ixwvGGyIr5H2gZ9Br/
   oal62vROMn9m2BddfNSjbTuUSRTgtpTr9OKyd1eNI16fMYD91ys8Kd2JYAz/T32jGyrLmmEVAePZyK7SQJvrrQoxpEz2j/HkGJrEFC1IrYSa9lHxVdbJwQTBHE2bqkDZw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]371455210157]]_Wed,-09-Aug-2023-16-23-43-GMT.mhtml

   Hash (SHA256)
   45866cc0612389abad7399e134acc876e5d443b42ab92bbbe152fb879fdf872c

   Signature (PKCS#1v1.5)
JdRCQBuu83F72bbLGtP8w0yVcPib80OONoXzXgJ1QzlEF+/GlmcTOPkZLwcnc2WLSobcY3s/02LQAnyjd1SGNcPl4Maa8pIyc6KopS93RMC5zjD01ph7G2mgzZop9/eq2dCrQXkUt2Sm0TXA2tKzDGxavNZHIMOM2jIs+95WnwGAJTEdtYvSCLv7++CL+ZS
+8V5VPWetx8sKVShDBlVYR2cXp3bgfMifAKFSAV+b0Jns3nLlVLSQm+RTkfRriOu/8d6d2c/TXPJlPKwLczifwknbedoYmDU1lcSJcdhDBfURKi6aqvDDl8gKG7JrYwB14CmDrKWLGuP/bWMEQG/yMQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 58 of
                                                                                                                       133


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 16:25:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KASW+U4WRkvnRLM7Q37gNP6zwXqWJBVmvS5/DdAAvV2gcTJe71RvNE/QSA4a76J/7eLkLsLd/df6E1whNYv9a2G24R7Lw3SXI5it1vmaJV1lW91p0JQ7Snxcsx0AZ2doyLhBuhok+x/IsyYAIRe9g5nrEkvWrKVOFOB6YpLcoA9zV/6qX0cC2mqH51ARefe/
   oF9QobedFb6L2wlKISDMSDzHjaFGaLU8Y/ISd0axAAPoYtoLbZRnK7KoOu7OWRc0TTWuxE9W/4kO0cJL1FaUI2YpO0fG6sSB1r5IdBnpStilz6fIc8WVENc0oiSLHtCm8xDWk/ksxgVh6Jc66fstDw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-16-25-26-GMT.mhtml

   Hash (SHA256)
   c69372aafe38890a983fc7ee22672bf16348d9e8c7d2aa42a991e7d9f3bf80f5

   Signature (PKCS#1v1.5)
eRibcWY+kNNdwGiiIb8cr7T6sip+HV4iuyZV+DIEe+/ZScR8dhcE4AfyJExZG5D3UnazKYhrLeh4bkRYNJ7pGCbK6vq+H9M7se9h/N02NlCV8KzWQAyldu1JrRPQDVPsulvg7d4hxfKbiyb8eyeCbZTiAO3+52VYEZqJ5PzYu9O16f3JgBWUg8Cz8lrqYe9xON4xR5TnjAfVX0DcHdYjHw9Y2uHUXVX/
Wml6MwhX3QGJy0NgoL7DyCNlH15P7PgnQ7/63KO02Y0Jt/Xn384zdBYtxB8SYlhBH4ou/NSsv6C/HmhraDiGrKqNPTtvVX5pzZJIra0XeW2mYSsv77ZVvw==
                                                                                    Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 59 of
                                                                                                                         133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Widek Smiley Face Fluorescent chrome steel bell Fun Kids Adult bicycle handlebar | eBay

   URL
   https://www.ebay.com/itm/164926614224

   Collection Date
   Mon, 28 Aug 2023 05:33:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QdJedsklJ9spKMqWuHwPzpzG/hnI54j1vM7GPMyBgxpopFOYenulm4qvucxb9BHP1UpopVsuc2eRcNNba+5FdsTpQLROkYU7R+kQ113eDLHbne9LSLMUVadI7s6umuXdYonhE8iF9iEx5BiKVrpO1lwOXQAZt+pb/4hv14j6qXQ=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]164926614224]]_Mon,-28-Aug-2023-05-33-08-GMT.pdf

   Hash (SHA256)
   925326a171520770ddb2cce8242f378e313a06e5bac83bb2e2ab11efd7a8e753

   Signature (PKCS#1v1.5)
fl7tCXPeQMjkfV+EYYYYlf/MARpnzuAKeSd7paX/l9xFVlT3HuQFFlD34/51cXRr6UYonPUi2R9E3sr3NbFGlQUQrB07hDDpms5RYXCa5H/0/J9uncl6BSBBcZmyF7U4NagiddrVLDgppdbOvijQy1sAA8JZS2ZZ6wW1mLIGe/k=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 60 of
                                                                                                                       133


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 07:47:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UEK3Rle3qT1W2DuUWFzce8pz2HDPWwrJoSKCY1rR32xP4Z6HPynY9y8QIWEAANQUDsLdatzb+A2DFvt018+rDG8muwsgSEoSPMy6H6S9TXnoYHJA8IZz9W/OSwDQDK6F5IdH521/o2g+pvufHt3lgwWp6d9d0owG+0URbzmR2KrKJgsbt9iSkOejc+eqsPdhJ+GrgPWnB8X3QTiOUOB
   +QzRcUBwm2jmCYnVHKJASDBqEzWDNRALA22r5ST3CGlkOAwNSY0fVRuTLW1AGzXfI3MImHEAlvnD5inKElnrGujUlirwfiIvxEOT3T4Vb8Jcq4oJ+50VrFaADkSbxPIIwSw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-07-47-38-GMT.mhtml

   Hash (SHA256)
   f1ffee6ae0fe0d407978076bfc1662fe48dc70823e8724490b7a317efc5d30f2

   Signature (PKCS#1v1.5)
EuCMyHTM9A2brAksnVDCgA+Elt9KAOqBtVyjnX6Y3oIGkfyPEP8E4jgZoXUVekI0f38VZ0hxe6Jy5BWr8FOw0DAAAvsFXAs956/sLck7wXcMooQ8j+dGDua/svC/G1Fie6BxZq7TkE7jbJciuwNMaUSl0z/UvaOgwPYIIGYa9J57uXgDHiLmNrPcYgRxAh4dm0/IgNAVoIUovhRbfuk/
O9uRLlIEZYvUloF1k0zO983l8NhKKhyu4a5HMzNNnUuNWi3YmA59SFHys3SukVYzA9hab3hC2h+KJc/n/SzBPaBr1FrYyiNC1aL/JhWhLOEdJFi/LrKyNGRi89cWf6VS3Q==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 61 of
                                                                                                                        133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Happy Easter shirt, Easter Bunny, Groovy Easter, Cute Easter, Smiley Face Tshirt, Tank Top, V-Neck, Long Sleeve, Sweatshirt, Hoodie : Handmade Products

   URL
   https://www.amazon.com/dp/B0BWXRHB1B

   Collection Date
   Wed, 16 Aug 2023 11:51:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   n3UsMvnUF/tUiZsc6zVKkYSE/O8GO+p5zNWRo97qkkEfFwO0qVAK7KZ23rg+0ZvnV0GkHg/dHNb1u4mOb7ZddK2CT0Rh1g/GdyEpCDZTKppophzRZrPRUQoNHZ5T6Xz8O8YFiQjukeyuffl486X4+nFvW7fas4TfTDH+xt6GMa25ge1VOG4qY/
   UKykb6d6yQvefO7W1M10LNDYF0AY3C3unOLbxUHIbAQ/lq+GpVxhm1dT+25yWa/ITfbfhYyvDVp9ZWWWgJiylhQqonW56JFPr7oJcDYuwa7n9FSZPjG6ai7KS8kroWLWGhrZF5qy9WP/Os0zxnzyBtcyoO8M7QxQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BWXRHB1B]]_Wed,-16-Aug-2023-11-51-06-GMT.mhtml

   Hash (SHA256)
   d9f3f0ba147feffe0dd3297d478a02f2f0a80b157fa55ffee2d0b144dc1fd448

   Signature (PKCS#1v1.5)
U9GfEy0a9lHR4kVBfSxPO1upt7Fr37cWmcAiFxN1SA+fO+QT0aO8Amkb1Iw2E/GV4j8c4sAJDC4asECA2ngZNIc5mHM37AFts8aA2JnTq0ZjRFH25A5Uh4d3pvrhFUyeQ5rtODaTiAMwwEyWftNt+zmtHPG3pyAMYRHRfearHErUnqsEz615tZq8VJfxxYSjpwjEHaCpvUsASNy
+BmeeDJmohLHZTfJMcMZZzjO/31TCr9YBc+C1RC9KMdvb2mQcDMQKKtUzRY+LMzH/douQugr01q/ggnLvMROLXNQ2TwKeJ0fd7+B7jeJl1KL0SqHHrPWjQ5uBoLk/oBVcPC5u9w==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 62 of
                                                                                                                       133


                                                                                                                                                                                               Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 11:52:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pLPe6ox6OnoskLNrPbvtDI8Iy4ajABcGZCnHhvvOSzsm45pidlZ6mxwuWWrYSFPZy5c1hBYFHODoYiLql23gpLGa8VM+zvMAYLFkIr2imsRFrUgXQpZLNo+VBNCqS2efqL1e+bFpGrwCPynFQeV2cc6SiNIjUg/
   Ic0zastw57UAROgvyBNZ2E4N59uUmQlYy7QD8aNCyulDp6xu5IURdqTa3MMUITBpAIGVHSf1cLggrgGFc94w9CgDx9GSebpTSviNWgbJULOOSsEG7vG+Zn47dI+Yu9lAi0M1YT/yX35vYOcQjmIWxJNNmy2xZPVQMLrpcBMtg0RvslL0GjCuB6Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-11-52-43-GMT.mhtml

   Hash (SHA256)
   c3f8aa0c06bffd7fc578a1c42cd6190e22a559ab4c8c1da9bf511983f021ef46

   Signature (PKCS#1v1.5)
d0p67voGqlPDl8QOK5zjeB8XLiw2pIg9EH8rzBRudSzkPlh44oShLnJub082/9F+K1SlnpFghAFuJ9LxBJ5BgJbn92914O0Uv4g8q/m2QVJ8EYQhweV4TSMgS9Qv9puN3XcCpbowKz3h0Qo/HpQEJCP9OOcsQPenc/x5GAJwY0N1/
OSQcjeURs88kiePcpW7aioNA1XpECjgrY9nvLrw2ey1kkPjxtLuyYQlSV0hwOHhfsfwDldBrSkJ/+uGyeCMkXJRSFrvqXpkDYuZ3dk3SOWdKb8p7ZTUb7Gr79KvJKIseZ6sqUZ0pcthPuB19exI4sfoOXJ/hJgKzgMB9SgY+Q==
                                                                                    Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 63 of
                                                                                                                         133


                                                                                                                                                                                                Investigator Name: Remmel Jae Inabangan




                                                                                Evidence Collection Report
   Page Title
   50pcs Different Cool Smiley Face Sticker Pack Waterproof Graffiti Phone Decal | eBay

   URL
   https://www.ebay.com/itm/385762577141

   Collection Date
   Wed, 30 Aug 2023 06:35:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sucVjIagacWE4ohAVGn0Il11Dw2LdX8ULi7GVwswOP0LChHqIxFfsfDujrx9L3a97jgQP0fBSXZxhbB1Ja/6Yi+xmQ7mChfmOZBmLspWuH7suEh59e1923/V1riGZYgNMTio//l7hAIICPYc9BZTwmCtu7KtMFcWiie62wdtCQYiP+B28rGZDRErzl
   +mC7REPIbkwS2YKOI7Lo4LBf6N20WEYrgFLMEoMMsZyceKQUlUJMdXdn73nFv1af5VfM3orx+7/koQPDmCFIddoPb9GQUWLcnZ6RRrG4YewEWHyPGVHhrOrUyN9ty0a0wmh3Z7em1BRkHdaN+YGGgahAR3iQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]385762577141]]_Wed,-30-Aug-2023-06-35-37-GMT.mhtml

   Hash (SHA256)
   1385a9043c8f55681c377de9b2861ee066d681615f28cb4837e5381482b94f09

   Signature (PKCS#1v1.5)
jmVJ1sAuVIjmakS3LwEuN9zES5UjRcpK8EhOoTzWBtDaZpDozDz7RlLD07SBSoQb7zYHmGpXlzA6kvx/r0O9FivPjjouzYcjpWC96GYvtIMNdcJdpVqMxipPGFsGi97UySp6jcLDZrcGCW6WXkslVPb54NEzXTiCBpjTM
+VbppruYyyG5Uc6xyc2LVNlYJPrRLS1rleXhQUJy5k7KvMSZnGtHhBydYxuH3ZO9AnXKILEWD3uu4YN7r5dFEjKqcarzf7IgXURKB4uX4djHDlceB4WpD4uV/qFi3KpF5T9kB+OShlg1hCGxqgG7FEzyojfj8FPRp1pg4P1iXcbGiIXjQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 64 of
                                                                                                                       133


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 06:36:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cbDiqYf8qqslwzq8MRMkAR3p4RGxI7+HYT28i8pdbdSIwJltUjuqVjkEqg9D0aPkzIV/wcTSqmLbw//h68gBT1EswHvluWLdpImvb3ub+8b2D7MLWRJXO3E3FKKxjMUSYi/QxW2iYvXOX9ASJUbUwog2dlIdfIC73oAey7JNYJFb0JGxpmt8H5yhFVj5P0gTSaBRz
   +nW7+umL4PPNe5if7SsLfPTK9wuWF1yerbghdomGHLMYiLexVH83BViPPcfDJX0Ek326Ec6fp/QdbONw16iRXjWJjx/7sFu3yXuOPx6DJ8OosL1LKJa9nD8fiHq5r6cGWCaIYlMzJN01RU1nA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-06-36-37-GMT.mhtml

   Hash (SHA256)
   075eb93d6f169219bae8d23d20f03a12593e6dbe3bd26c385a04a2e20cec0f6a

   Signature (PKCS#1v1.5)
ovWmuDzpNpaXRpB7fq7orRSFyTzOw2It63OZx3YaM2SfbMr6MxPG5uTx6sVOVCvvQjCxuSU2ocxcbeIogsSFaoAMocxOkFKiMTM0tqriFwnwd+5IMuJ1wtmIy29Kg2KWhqbSjA1YdCL+n4DriZXMsFbgWFoxhW+EzBcDBzYKrlfFo6wQ54O45wo4S6/
JPAYIvYzW8UAhXaCFPHwKaPISmaM7PICTaWu3oX/uT5QbwYTGg/AGwCEXt8zY/PmXnQ+T3i7dQNXiP4Tnc7XM7454UHI7+mtQAQ/asfBoykOZOKMoZzCkSG4HpvaNW/fAdYo8Gidz97u53SlHKQl0rar5lQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 65 of
                                                                                                                     133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Gold Plated Smiley Face Dangle Earrings | eBay

   URL
   https://www.ebay.com/itm/225153191548

   Collection Date
   Mon, 28 Aug 2023 07:24:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   j+ydDISqeTF7SAuTiFqDDgDpVsK4zpQw1qZuDWXX1EAU1Olwu67tWMoJcVIBJFVuabs6Lv/kUZo/AxEUcYjRye/6xjIzKvpdUFlSt7o/axvxPnU/e3F5MvzPEJiwNEQCFdmSTiIkXEVTbT2oJGsVteEd1npE14rDmxnVFiMTvtI=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]225153191548]]_Mon,-28-Aug-2023-07-24-40-GMT.pdf

   Hash (SHA256)
   ad67d69ae27d5e41d3c71d8a2406c9067eabfeb75ce3ab51f7f4a42cee58c06b

   Signature (PKCS#1v1.5)
oGnunQACLxfDeF3VvGpuNt40nzEU+s57Dn7/vlEZC4Xktl+vxhQVbl4pIN3a/vcwaTfHKZnzLiE7g6cieY7RKf6I6b4fotZAkchkMYSdCwCdrqP3NCRd5aHl1bePZtPOuXG1pfVbY0IVlNgEqh3IT4/Cpxu4lvfOVSA50FInQvs=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 66 of
                                                                                                                       133


                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 05:45:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JT9mF4V2F+yb57tnAS2JzrLdWqOVSbC7c7ibeCOHjFeA9X/NN5In/vE/bdo3TOGqHdC0hiv4ifNKiHpNcIOLIV80BbNWydwNikdmVRHGAYQYewEyA/TXLSqhmnM2JDTtmsF4WodlPZSMrrthCkyeGLMFXnbRwMHakFkls
   +TyQpZdUwS5aQmfBDchdcpmC5rlkvfdimWCz9xPdw0wiGUjh66dxEMCB0WuAQUR0nDGS/86pfSULFda6dSSdjnBrXO8SSRD01v9r9oCaqihm+pieszutCT+VXzqz48sVux28csWuyNebgbAW5xJAkBTIbXSB0lfMdBuoxlr7LhpgmzESg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-05-45-19-GMT.mhtml

   Hash (SHA256)
   cdfd27ec9d869e4270d790dcd0c729a078143c65259e20e027469b519bd65ee9

   Signature (PKCS#1v1.5)
XaVshC4/3OUsMRhgT0l/qnSFpzpFBWq+VtD5JN2aWpl/ZBB/Tj6zSP0nySsNLXUGNa/HZ6oN2xNWDQyFRNNBCWfQzLJN7rMkuKc53N0+rGA4FmB/QxIqKkUcw6uex6nHgPJHUVLL7bSDDAO174Jwtf/Vh2WZgzGbX/agvjDRAF5cnKzUYSKm4sqwTWj/
D91YPafm6McT4SPNWZfYLplXewyOcTJN8qCmSg2DKHIp1XkOnD0lWZJH370/w9Sby1HMQUuPBJsMii7FUZcjyDcWA8VqYBQpL5NlxgLwOROdDTzF68Ji2VFLWoqF9lCIuMy/EEXXymk4CU/g+ye60r11sA==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 67 of
                                                                                                                        133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Lot of 6 pcs New Smiley face ( Size Approx : 3 inch or 7.6 cm ) Retro Hippie Fun Smile Sew Iron on Patch DIY Applique Embroidery

   URL
   https://www.amazon.com/dp/B078QYR3RF

   Collection Date
   Tue, 15 Aug 2023 07:01:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   QTeIR4/eqJGo6acAGQcoZDNzYWukKHy9Ap5vwSPBzYoQQ7/8W62Rdfa78qKIPRfNm867yMHIMxR1fq8J3kzIvVIE97wPr/aJo6NNnZudwcVK955T/wc+MxpFxXrGETx4h0uMuz8RUnStOtuH8YvMay5hcBGyBtv9+nqgyJ8TYYi3dLu84SbJ0xTphHbcnNWz6ND31+3G32yz/
   dUzVibBqrw40zeqrcvhVm2kmfPkEHv0jPeDjk5h+sNPmdsSDhPtKiw9DCf1qGM8seXpE7OcnPbI4w9/ou6vmRu9Avry0co6sXjoPnXQYkf5OmUSc360+jR3mhooUwUSLCz36EU6Fw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B078QYR3RF]]_Tue,-15-Aug-2023-07-01-39-GMT.mhtml

   Hash (SHA256)
   719f0f0f7c33d73f04c603d57d4a0e0d73287368daab36487eb42e61266b1f6d

   Signature (PKCS#1v1.5)
Qrs8K1hvUgNvJ1CbEYTN3cjY39jg+gNEFiW6ZmdhVeqa/adjveTVhLiNaECITO8Tu3cvpP5fk/fjWhpuAZlmMY+yLtDAJp0xbYw3KUrMFbvXMTxOjfjCeCyshE2+vxWfBBWa/0A1TneNf9zOhf2COuuLWVyDfPILbWpHsHl6OIIZXT3YY1IGfp9SsIjL9nZrXjHZdGM3y27O2T/
oSQWJ6TIx6V8iy8ps1nvoS7maVIkkIDe+hX+ZmzCEwInvecoc16Sx7QWx9WJjdfwpEpstsg5C4GsCOrQHLebRrF+OTTebsJGZfi2nLUSevvFArqq4+yeAQsFEFFjaMgkAxlFC/g==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 68 of
                                                                                                                       133


                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 07:05:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   pfmrOVrMgd7WV9LP9+VnPQ7kVdlS8aEBtnKiuhRyQn4cN5k4LqJ/Dy32SGipvqNcG0fyIUYaFYeDqrm5OgjGhVscjCINdW0mWRimI7awyet0mVrLMzuK2Rw2JDx5IdCOvsxMAo1adgEjSWJ/Jj7K3Ao7//
   pTI0OYnXVtYxyVRLNM3zhGqRNNZH8vtEcyGtzfc0AU74TBUxdsGvqZ6rwVV5A78MHBriN7fGaMU8vYIyZYjfM0MAnUfRsFTtdz7IZx6GXmiNqVCjMpB/x5rFD8t5rx6/eqY0NJMJ61pDdfoFKXW4GIwExQqSWtkt5JXfpmwEtt/dtdeFh2eTIUL5VT5Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-07-05-16-GMT.mhtml

   Hash (SHA256)
   f5fa907d2f375e18374ce628ed2e895ec49a282434708138af4709d3dce78938

   Signature (PKCS#1v1.5)
LqqqoCWgX7IgGS4F1HilNW0p6oANwbS9uyH/ge/x8pUyeg+cM4km9BmTjOHB00OTPhY1vvowWLRNlwT9d/LZ8bBFAhTYPo4/n5QNaKKAopgQupPwFGjYnyt8HiDQj1vIOXmXSTOVQSsu3l9CISZNVbj1W/44F3r8XgpqmSQ/neENA078OAx8jiqUOd/hx0rJa3epFqzQBK2Uzyyk3imzrN
+BAx7yErxjU7hCFxTnjp8POpwmL03qpxGev8y9+oB1FL+Op95EGvIsy0Ui1H9TLqIbIcQvBqqCWooh//KPZjnqghZHk7ltnXS3rjWlZdbYGnhkb9vKNpdVErRyDW4WhQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 69 of
                                                                                                                     133


                                                                                                                                                                                                                  Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   10 x Smiley Happy Face Baby Buttons Sewing Knits 15mm 5/8" Choice Of 15 Colours | eBay

   URL
   https://www.ebay.com/itm/314229705685

   Collection Date
   Mon, 07 Aug 2023 04:36:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BKMPkv4Izp/OHsGft57zZ5d28/RxD+fWQ7lL/64FqM7rjnFj00/OO4gIoSB3IaMeoTELY8/69wMhw0WarxCM3ujxjSMUZM+ppFWUZVe3tpPHS+ikWx0dIMLOcjs+CeMzCI4KzzHfQaEkP4WvAKywS80jCiAaGf278+OsR0FMVJ4Bw/CKyhZWCT/3NCVwFViHsjh29k9YNISj0/hVQEYQnRIXsJBA/
   JyuRl/At1/DcgMm/9DyYIMU/QmFSpNH6ixwmS3s8HhRnxikOfmUZywt9KLcSb3IaJ2HLzXatQlv7uC9nteLkDiA/tyt8li+X+BK/qT5FxRimTknXbvf4C1Hhg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314229705685]]_Mon,-07-Aug-2023-04-36-25-GMT.mhtml

   Hash (SHA256)
   265f784a9973b87886ed55e66ab9f4625e0d8d019a36b5ec7491cf9fd8558300

   Signature (PKCS#1v1.5)
ipQqvIaz2+IGpXpcKuGlc0F7oYd2zsyqfzvSQfHzW4O5S3okusSh+EcA/obbsuiTa1gLs7olQ49k1HJoYDjAOooVrHS0YO1MGfbCrnquyQKoFOzgdrnDKzRJVBUq329YGvzOTf4F2WYy1p8hK4FVr9YXp8+Dh7GT4HzxtvS/o/orD7i70lsQkD1BM/fkN3JjYLt10DOTVPmviV/
bMS09dWu06vpwmvBFZr6U2CHbktIVdOu5Lq1Hp0Ar6Ve6EWy4jf8Vj3jKM71na3No4yMhUMXOrNzsMRmcajDAlksWb8UHa41HNc384+dq1WU7Ygcq56KDvV/dW4Hjn8ogDa8NqA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 70 of
                                                                                                                       133


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 04:40:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KIATu6SV33Fm9CsMsGbLWOQKyqtKY495OfZLz9i0zJ1PCSWEGeQQU9l5O6YGIfmbwWeQVjVPzSkOOp0M1m6bqcCmlOwpAcokoJ1UvMBxfwGIzZ1tODcr8Uc5ziP9UgzayIXcmwXnsRfrvh5jsJ1c7Tljl/Oq0HapwVL13ywxWKctA7dE4ZfjUT+rgyP0ThwC5/
   tcwzH3tISRut5JykuhIFNbaCMdGp1uPwwBMWYsZzY0sU/LGIvk6c+3dBleAlnSFUE04Rdl7m0XK7kmJo5mwgYvWy1YBXElFbJg/QAeGCGSK6mPcL2PGhq89gX7f3N1FlPcwn0WZmGt7TXg2ZQRXw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-04-40-31-GMT.mhtml

   Hash (SHA256)
   869448d8cd14f9a533e856660ebfbbadbf1c71dc760275ae7df421695bf54af0

   Signature (PKCS#1v1.5)
XYyCziMoYpgmEhL6/PreV5ekpYcZxpY+JRm2KsQcOyldwwB3lWSl79EkEdLuOE0mYtjcVQmeNOZLd+Cp5Tf/TwUz+4ys3syl6eX+/
B3sAg6KXZJWHwtCTdSwVONnbXP5MgWWgqQBS9murEBSImLuFmkbAW4sCNoVlXpxeiUECwGJkv153ssiXAA7vowfOA5PVZhvshAHaovgsLZ4EcleZMs58DDMHLTEVs4sBdHOX+gnJTM5a6O83aqgPG5y9GijVjadcffFNbftq4yWhkl30KtTEORnR+4w4skgfqIfuBpFzYRlKu
+jaFEyoOGpezksGgGkzGkyQOsesIzVCp9eXA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 71 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 14:19:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PTGnsII1OsG3roIrrlEOAyVKB6yF+9W6hoFPPWTfKnHQhHj9xBs/kna/9cgMTEHC6n6Q61eFGRH79K7oIjdkismFBNYqSQyJ+sEJ6x+xOQ4/edvz2cfIa1PoESvS4HPptqD91nte1C8VssaX1ETof8YBS7umEaQuzonsRNgQWgxOf+JS8OCJTh0ik
   +y2xUVcCDq76sat28hZY1D9mLblEWZkB13sqNZl2fkpxdXGuwTQ8CRb7AbBmDKLnk1a42g4JMuzYpPk/d6SrEtIKeIwnZpQYO8VBii3nhzRybXzI6EErj8EpTHG8guzdJ+asZDXOp4sDVSMQwLPmuwVh6bzyA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-14-19-48-GMT.mhtml

   Hash (SHA256)
   39911b461d476b0c685b0a5a73d86e4edfb7e0ae333651b0ba3181ca8ab34f73

   Signature (PKCS#1v1.5)
EwmAxjO/VMEWMu0jJOQp9ubYIHbS/6zi0k8bnZyqXArdHFy/nmbHyJU1wrFohcbvd72yX7yukiBFEtnqAFjUlzqGTLEuu+uveeFzzkSJpxV/M4eSQ++QF8x9LTkqqEmK0QuPJzc3lCq6oR1gpbNXsxPPlZJKchtDyvKM53/cxaLLce45ieyHG6KsqBHjqb+173WLn9SPHy+FJo3QOnGCpNgGGOdP
+uGMhR9bS1+EGc9+DQ4zD8Y7dy4+yPOpveVXLLZVJnJoc7CVGN0ih3A+G/0EBG6oH/pUZa79AbSjSvdmE/YlCEhGY43USzisIRrfLYKk2nzx5h5QvbznPiq1Iw==
                                                                                     Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 72 of
                                                                                                                          133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Festival Flag Pole kit with Smiley Flag, 5m or 6m Pole, Ground Stake and Bungees | eBay

   URL
   https://www.ebay.com/itm/234762590007

   Collection Date
   Wed, 02 Aug 2023 06:52:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dyjFZI6Wr6gOFjV7Xx6QiEXsXwyPyjGUKPAMst63CuqA3iDSPecIMFtaI9z7C+u/D4ALzSt4XK1M3ozkOIVMOkYk3aCnsLAAPDg2R/JULDbWwsZvjnfoZchHL1n/RAZe5k3bvehBS0NwyroiRXFhKk5a4B5D935lSVmNcSaj6rk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]234762590007]]_Wed,-02-Aug-2023-06-52-59-GMT.pdf

   Hash (SHA256)
   a6badcc7bc533adf7ed8c067f28debbec7ff952d83ef65fdedac397b7cad0486

   Signature (PKCS#1v1.5)
o1BCrRiYpSt1W1rkuqT3ddOlZ3BgB2Gh+RahwgjkiYJtFBO+1RtEnyN/b111elRDy0w4iT+h2lG7wiUrAt8fBz+jX8cPKywqmZAVs15puJIoTaKtfe2OaiIMo0w02u7Nbii1snRYMUrmwN5rx5CwjlgsqVNNYu8RRaKA+LcIykA=
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 73 of
                                                                                                                      133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   20x Smiley Face 2cm Wood Craft Embelishments Laser Cut Shape MDF | eBay

   URL
   https://www.ebay.com/itm/252091380772

   Collection Date
   Tue, 29 Aug 2023 06:10:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   obEbB09aKKCsdaRDX/d+DkFOSFbn/Tdf4SCPcSQ/z1gkN/ZbAjmECyJBArEa0iLu9FmDqFJjlDV5GD4P5Ut5w0J39MFspLdjRYgXfliya08WJb7RJNSsfvH8pt4OMbbP6R9nua6kxwCoN+uXz79UJ7nzA/VF22OrduHziDDArBE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]252091380772]]_Tue,-29-Aug-2023-06-10-45-GMT.pdf

   Hash (SHA256)
   0c19c5c73dffae37f889aa645a64abd9156185b3b1a11ca7a734831bc4080a34

   Signature (PKCS#1v1.5)
Vzvr1IGi47p/ovlQm7XBXZjUJq0wjonMt4ekk3fkqWmd8kEaL+3lah1wEt9FX/nzbFYXIqyta3n0jwA0Kfd5jcrWrZaV/9mR0xMZnZI/qdQJzzXzlxJjZP+cbnHs0n5O2S4aKMCOVhd77VQvDm5Hz2PVMdkUBTCukKC7QVdNghg=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 74 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:01:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BOVLK1vn5+XDuHq0fkuEZykwspLufEcboGUWM32zCR1faiqT8isXL6jKgtTeafJenY6Wl9OSMIuaKoKikS+bxw7mbD/+7c8kIATtkEs1zdhw/7/SxMIGKX6SorN558jrKZ1NNXwg8tLxW7Bo9kn3c8hm1zz6LDX2Oou35mKUJo3S6vqdEhVGU5PCy3M8c6TL+pVJjYyNBooHHFI0daEc/
   Y1kcOkhZTsoeXjkDkKTdZmxZlp+3QYBs5jT1IBe1QLxeHyEowj8nHYjoh15DWkf5R+BoowIvB5cjZxrT2UimNuPnRKHd1Q/wKmRSuQx8IydTMaePyXWBaeNT8AVbS27mg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-01-25-GMT.mhtml

   Hash (SHA256)
   4558c49ba2a8d1b9169287abad496c651f198d6f0c5c3a7a845b6ae3c353df31

   Signature (PKCS#1v1.5)
XWZOGvCwM/kjYh2z8Jz9VNuAWVQuyra2yiD5LyWGgEZ6ZcGd0e6HMGpRIGgiAcAiKPkorPo7fq9yx4fGzD55SFd4mAPBISSosi+fq4H8cShSrp9kZ18RnrsVl2RABUsiTm5ixizMi2wxbwMEnaydQxe5173jZI3lwpzdEiS975VVwnZZH6lcsxe/
NL16e0mjBcaIn92KozcepMExJuUxiQJVCsFDYtmg0FhCloNaag30hrzjQpcR+cYEuwQE1A0Rjokvyz6paeeXJBDnfdmsnDpKTYDtUiHh3TeYHbetCe4LUDkZ9wTkKs2BUI5BoqzeQNG4P4dA96/bDght/9JDQQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 75 of
                                                                                                                       133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   10PCS Kids Toothbrush Timer ~ 3 Minute Smiley Sand Timer for Brushing Children''s Teeth (Random Color) | Wish

   URL
   https://www.wish.com/c/5ab85129639a7a20bf1e963c

   Collection Date
   Thu, 10 Aug 2023 07:47:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FqGEn4g2lImQp3z13ggpmfiSvyUPur2RpfXEshf0JoQfMUPq3Ytb/qw4WVnfTS5L0gs46d+IHrgv6TYotOJMB3z+pPmARpC9QGslEfSmWwRJIO1syHBPVmaQtUi7tFGJ9C4zj/FMtS38/d5UYmYNBtbg1EpQEzCBdbVdHPg7laEXRsa2nRcngfQlOnTY3PhB2GZPZNXZK8AbAISLYBX1t9J/
   V7A8venZKXzM0Vp6AKmoDu39nKND0W10lPbjCBuMCyaEByCpvKfDXqUnj23n1chB79O1douwzqpM7I2MRh7o/Mk2GZ+z1fdg8OoSadKZQbiAxktvUW+WT/NP0Ck9og==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]5ab85129639a7a20bf1e963c]]_Thu,-10-Aug-2023-07-47-58-GMT.mhtml

   Hash (SHA256)
   7ce3f17bd8d9fb6cf16b5bc1e2f1717d972fa9b1b59927f22adb442aa7fac2ef

   Signature (PKCS#1v1.5)
Br159xBqklTwaHNkozLjrhC1nLlpEeMS/Dumtzfa5i4avfIBNgmG/USR2ywEXCT2yZ4N7RaVGv3vz7GIe67H
+ZUWzozG6ODW3SvKdvpPk1y2ECIZiiquQJesvSQMSjkirFiwX0OVZsQVDHAxpOKW1CuxkHgVwR6ApI5BoYjJVIwFHypGHwBSFtpgNTL1NGJG0hWzHzoVuqu7z13G3LIuUGUHMga4EB2HT29u4L5nLe5CRd5HntA3g1lPG0nuU0Te6CYy4ok8AJgo1VQ7/crhWFByrjAKFMHlk6QDpEDVnRh
+INBrUpjEOmzgVj2zt2feGw8v46+AJX2NcbKfy3I4mg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 76 of
                                                                                                                      133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Thu, 10 Aug 2023 07:48:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kZ1M70WvCDCvDd0NU4zk6R2glVl5Ub0wYq+eXFom93UVmKvCy+aDgnA4KyUD8IYcAPZqbvEuL3qngHHLuu1k/Ev1SAgy2XOKR+Dz9szPrjWQsoxSl5eVMyWG3X0maN+1+81lsFeoVH98pxhFBel+w3GRPJ7XxWyhYC/CnIZMBt+AWKD7RVU9nZ3Lyt
   +9O7ZMkHrSd/2eLyNCgm1LQBmdpjddb6x6L2vSqT00LH/sqI1WfDYN6fMckIGDfCNDuNwzQkdDdVpRBXl5foIkJxpY1OcG0wmbeBUdWvSzgKKYWM0eLAcuWnhkyn8L/IwWGv3sukSGhrKdrxvUAMj077OOng==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Thu,-10-Aug-2023-07-48-49-GMT.mhtml

   Hash (SHA256)
   f4e1ad0d9b77b253e1c9877588308045cf701542f8577e6e6945a74de801f9eb

   Signature (PKCS#1v1.5)
RNATp8VK/yyhm/XuPtOPDPJrGLFLflSnZMiy3BeMGuK0kK8gknF1jUE+t0Sw42aJM2XEkPchIxru/BcOkHNlY3NWPGEX/88uleZj3J/IoyOTjC9qS2Jg4FrFoiHZAs+gspQzkmw+QmJT56hVdN7OBamQmiIwqSsH5d/D8eLXD0CuCzJJrSEX8XMdzeKh1JYdDnQY48a
+T0FibjwyKhLU3jAJ4J2aIKSlNLQlL5+bFUuF7nm1GnytM+426FTEvcTOMiOFABO2oRC92JaecptTUx23KSZ7EukNC0vgHfs0zs5gxSSFFVPwfi/yKXNb2SVi50nCMSHo9exVtL/WHt1EZQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 77 of
                                                                                                                     133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Rare BAD teardrop smiley Tshirt - L | eBay

   URL
   https://www.ebay.com/itm/266143485345

   Collection Date
   Thu, 03 Aug 2023 05:00:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4992:ac00:b095:adb9:19a9:f7f1

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IgeGp7VR27T9L6G83myZu8BLSKmX3qsE2FYtJNeLaVaaw9qV8M2LtkfcM+zZP3R1GXJt3631dOzNMPcE6XbPg+yqtHypf7wzhg2pFKwa3a42yOJFfc8y1b04fgfv5yh49SrxdT0OLKZ5XHEgUilURnzdqxgIFSsu8IiRVdE9NPOyCsn0FEBs8tg03qBxjTBkqpB6HV1SQ3KQ/RieL+GH
   +a5Z6amxGiNTzY1Zt10uqvPoyTB6exjyyvR4UjObKq2VBlUTZUoDgegzwwoslt8hLiE4sK7QBgxhh6B4ZjOpOm0oAnu8EwRo3BxDXwHapYskPwzc2S2XZxLPh3bugsRB4g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]266143485345]]_Thu,-03-Aug-2023-05-00-45-GMT.mhtml

   Hash (SHA256)
   b214118d8c24d6796a20c4df3284a693df2b3f6bdf6417973a0186f8aa513db8

   Signature (PKCS#1v1.5)
H/wGw0CCboevr/l4lq8SgPAlLq3BKrcs2HgGRe99SBcerp+ttVTYCy0DSlKexnXC0ay2keTAlXkhdXE3oGd3fSmOMMOUsyEsreva2rO5AsMKCa5j8DBRmrKEXO288+52FAOyf0xXdUSmUGX2kTFUpE6hITIbExfJQYT4o/UNakEBCvKlfRnBQT6iilKvwbejWP50iWyEw4zWTN/8FKxVTC1Vx
+jCVvD0n2/VjcdxYe6KHcGhvEMrSFd2JorOQxxOzHZNOJzAEQx5LLJV+fru7GwWz4TZk7+9T3L/4dY0RUDzDhYAwO53Iqui7KrP1p8RhoPRtW84fEpmjwRyMGu/Yw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 78 of
                                                                                                                       133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 03 Aug 2023 05:01:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:4992:ac00:b095:adb9:19a9:f7f1

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RFcI/ERI3mbduntybkEoOSUecs1n36vnQbCZOXJBhnRQzJaCo6CLboX4fWhldZR+QgVBwFc6alK+QD45SAh2aAgvU4TLAwgH2gThCzvRMhOe6tF+hjGYeU/aAnFt94lyRHrchj2icFGTk5MNWzg7OwI2ms0pI/XpfmjUlBBhk8+v3eOon2a1H720SIPQNG9AqVdGUwGovjme8BtaOjet
   +sYBUBq6/3YxGaRR4EPoWrrR8FciI61BZBioqP5Hu901m1ivPbXPyFLqP4B2hWhbMKkOtDiDnCiGhvOPaBhiK/00UBFtzqVuLcYeAuMghQue7jtRYjLmht5wb7+VKTZUdA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-03-Aug-2023-05-01-37-GMT.mhtml

   Hash (SHA256)
   e044961f12e7ef6b371d0bfa0640150934274192050351e62eb21ea22cd80e1c

   Signature (PKCS#1v1.5)
NTBjwJh+6gZfAnH2v5im65xbnJet6NMBaEzH93NmWt8Ns7AO8pfYkml4kbS+zORDRaYWQq3ITHKJYoSUs2KuAhGsK7LLiE2/NZvDeM4IbV/Q4jgAnwGpK3hOL8RILior4PGUZfU5J1G17k7aBvHcalSOUR2THJOphZ794eFkHdA5EUMNc5rfEZGF8CA1FayFf+nDcA9K+FieR/
puw1/7HGO3c2Pxp8BRlXVsAN8kbbZ6sVintfiXV4RXV6hEsjJiTo9wVh9OIPsCa+vcVLH04hHPL62vnghrqr+78rKD5PDGOGBxfYTQvnZKCyZ1NJ7HzLUNEk4xG6jsh4ZMNYXtog==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 79 of
                                                                                                                     133


                                                                                                                                                                                                            Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com - I Hope Something Good Happens to You Today Smiley Decals Fun Car Sticker (18cm, White)

   URL
   https://www.amazon.com/dp/B09P2Z64NW

   Collection Date
   Fri, 11 Aug 2023 07:39:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   tEGAt+8K7QQETAkzAro8DVxyb6pqwdm91QVoLEOoolXYLXpju89qICgt5Fx/WPYDcA5AszjQDxd13oSU9VIqOUJuR0J/qjmqtuwIENwpMosRdQL41JQkdacem9kkT5pOr7EkPy1N5/BCbI+bbsQqx/
   aei6AcnyjPVrIwjtkPk3fDCOWhjgxSAsz0SI1QGyiUWhK8rCBu28b3cNh8hILPZvDjXSD1lY76dGKWn7P911jA/nIPmo0wXj4DDYzwSZQa4bGayiTVpLRQv+/QsdoUfAPd3PM9ETUOipg74eGoMDDAlU4xFrDzNK7NW7fBhhO2n/xm0bpvFXh3hORBRJwu5g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09P2Z64NW]]_Fri,-11-Aug-2023-07-39-17-GMT.mhtml

   Hash (SHA256)
   b3d4e917ed5715698c156e4013baf639a6c505534cbf31dc70015e6d029d2503

   Signature (PKCS#1v1.5)
XAh9/gV3orZu54zA7rMtDKJh/OLwEX0ijLYbzUgelF2HsFtut2QeyrrJ/73mqpz4wZXk6lrrrmmST0sEcVwEmqxTvrMw5uf+Szbwrsl21C0SVf+EouxiEXyYS08Gmb3+dtIAgQ0J73TAwTyChPNj7k8ghq+YQpgnJrijh95Qi6TfXCiUlVlba9jc0Q9kjMe1cHTZrWC55wlNPqidjmZX70uTccNpDB
+b3vQOsJaJUMSg+1FCO4SySjN7Qekp2m1sZ7yd7TLQK2ELb9WeZ8UrAS7b16v5S6qNlsLgr+pLYdqr/vrZ6T9jDFWh0xfQxh+Z/pi//lFJenwDmzrt9+Fnvg==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 80 of
                                                                                                                        133


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 07:41:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DDBZ+r2H7w0SnklO8EudQTNABgGbbr7PFWG/8NTa50gIxajmKF6yr8GjBVRH/qpbsGhycKgMy9Uxxs3abfK1L2iQuCpw1ZylSeHf+Ouohwo8xn20rjsymfPEccV9g6GE85tk7qHKi9ObJ1vJMZCKPRmNY8BHvo5G//IrPt+OxDscRA1VWqCFlbB6bo0tU8qmX+KymAXRmD360FkN/
   zX0y5KVAN6OCsN7y0cUm7HpmBNlxQai/K8efgrtX+S8pK7oYZ+nEcratoA6iS0VrueTTJjTaDa7dXd+CwjpP7CIjg0GuOw56QNouRaMgttJrnmOPgTToxriGhRrVaFzPlMQkg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-07-41-01-GMT.mhtml

   Hash (SHA256)
   307ba376f3eb20728fd663bbeeef7d05b1b11decb30f5ed81c9f09de55e664ab

   Signature (PKCS#1v1.5)
Xfos+3lYPPz0h+YOsftKliB8A0jz2KXpIY4YwdryN50yMBFOUCn9tXt9Nd/TNabv9YmxQclFH1nzvvtCq4moBSnE/Xmn/awcRU9o1bBrdRRj2BnIOB6D9KlscJj/BydIHAho0cgI3tBYtKCxCnFgiUMxoXAuxxKdwAiEM0s5/A/mb3XnOUQ+ovYbBII633R9NV9/w8RuEyZTQocwRep+/
DWpOpmjdt61EEc4C7eW+loSogXcGQbMRZodagdPxHHQrYtu4BEDPrMuEqfkdFO519jcNoTMx+c4KL6e14i3nWzoNZvkbTjPfDscbNc8ahrt53bvPNWbmwT7xEOH3oHAuA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 81 of
                                                                                                                     133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Glitch Smiley Classic Hoodie | Wish

   URL
   https://www.wish.com/c/64ba0d7a2aee5a5fca4a5785

   Collection Date
   Thu, 10 Aug 2023 08:54:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YYKY5mFTmZtsJgsOD209husbEKo9jPk966YyTwFJc4DkPWXCugmg6+vcIhVDQRr6Uf6FRD6434hgDona9ZDFjKzh1beEmE3imCNDSsdcgsOwh8F+EOrIo/Qc4YvdWqEkMU7wAmlypXIGwWB/
   hwtb9izvDE0eUIcFuNmgWlbSoLP0lat9gTuuR9DMUPK0hQrnR6deZhLsUYnaty1smaHoUNAYGAZITpztOpMzM9LbM2BHG2fjhw/O9aJ9GPdGdKm9gcAR3I6kKTi5X9sIYc2898pSjMqleWt6aKAxRXjZerSuvj+aXVlc8K94yXwL91RubMZix2JNl1UbP5MbCn9kTA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]64ba0d7a2aee5a5fca4a5785]]_Thu,-10-Aug-2023-08-54-57-GMT.mhtml

   Hash (SHA256)
   fd686150ae1cc143ca517214b3fa8943e7fa0e64d5e71d08b9e1eb8a9ac9a3f1

   Signature (PKCS#1v1.5)
b47zktFmASK+z5b0r5rFXCEZTWz4oYvAmlzvB7I1aGnaQm4fHvR+u+Wd8f6WYnfl6ZvDsB1m8nphkjL92uHqVEqpeM+D1yaEcUop2PBimiiNCGyUkSHpbRVs2iZzjMVnsKEUzF4JVNO0Di2iv9vHpCTIoIOXnN4RPOdqYwY2CR2E
+s4YlNvXN78MBkc5f3NpibdF5GLdAKYxQa0EFb0OFF6zXbF7261qnNLq8aFtHMeNTUGQQoDAJte851UgMOsgKtc0zLoNOQisvCK0sdi1I8+BnfEQfRQClaCb0VorsyjWFmxT089o2kTZqXzIH3Cxf13nbFY9c5ZlQBFQgaV7Eg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 82 of
                                                                                                                      133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                             Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Thu, 10 Aug 2023 08:55:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49cd:5f00:e581:f668:cc3b:d15f

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JUAyK2Zfnm+x3nirMfW8/B3s0gsOBl4kA8chrJSVFGFdgBdz7eeLdwTK1caETJu//92UODyp8ZvW4u70fzYG4pfCjCGjgtOYv+P/69SrrsoRsZjms8fxcJJ8tVA9N3A6VwJ50VoWu9cNy+mT+XZJ18ZdyNQk/6zVCcrF1LXPt1I6sI1XfWOHPv2v0PRrSU+8U
   +e4Jjq6xh0ZYI9kUqKf3rIafmcYox72DSJqkWYlYZVzUzChnAKn29DcmsexlrpZvX61c05nBBFfucMfMf2oSeYo41amyyNr21pu/NNehOw4+jgCf5eS8wD5f61uXeK2useWKXsh6T2WOPhSdwJBig==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Thu,-10-Aug-2023-08-55-46-GMT.mhtml

   Hash (SHA256)
   3ad1ce31fbeb7f51d5e115f2ae0d354077e0bc3a01d0fb7922d274609e9720c5

   Signature (PKCS#1v1.5)
pgYWn258kQq32/VKMrFmr4X2hlPUHdsr+LzTJ4CkTHLFpxSlRqQyp16GWvc2v647AN7HbrquOAWA5FhmYMjZ2JQ6lIhOEBUdTSnxIuEAvv6+5LaZYvHaHR1q4XcUTxzEeWwKwz/
eYX1hHgToykxJYETqXysjHb0Fhq8AGuNzPT3xOfrfE5AXrkFSFcJvOIXWqnQhZRV8Rg9/9cpqAbAtAMZtBoM1DI4Dn8Msl3R7YyeZmeyc8eEDC5OMEN3vCloLRX7d2lQlEGoFbMVtax580unaTRzkflwOvefN7ozxLWxW6eZz83yA6e0pD6rc1b98FpKXy4orNxLwRB0mtDJa3w==
                                                                                    Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 83 of
                                                                                                                         133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com - I Hope Something Good Happens to You Today Mirror Cling, Mirror Vinyl Decal, Positivity Quote, Mirror Sticker, Inspirational, Smiley Face

   URL
   https://www.amazon.com/dp/B0C4L6RLBP

   Collection Date
   Fri, 11 Aug 2023 12:48:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   xTjHbslnSmi6drP1f9+sRg9ee+WzHBeFneNNW/Klm5hVanFUiIoCLaAzacYiwPncvT/77lC0rNOFNvyzGk7peZKZNeZlVtZ9ackrT+kc649nuw0Gv3KM4pBEn4AAQlyzc6qJYxPrEQi8OKDSVtqe8ATPZ38cirZl2BpCMQokBUcDnknp1/OzkovoM2kWw6mG+a+0DBenbMRohPACBM2/dghcbiXA
   +83G74izTx0KXlCBPanaLZhSntJX8ya+0WhGkACPst3iV/G+k4f51DY26/ua3L5lHm59ySh2z37Zff9m5zFMmpYQdVz78xYkSdg5JrG11TGAobKN1Si6/ijtzA==




                                                                                                           File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C4L6RLBP]]_Fri,-11-Aug-2023-12-48-46-GMT.mhtml

   Hash (SHA256)
   5d9c9fa5433fca04a7380bae4ec4322d16e803965c845aaf7237a99b8c93a395

   Signature (PKCS#1v1.5)
bwrQIj6oVA6m/feMcetIO9vhXZ1oHAvBjwe24bVZTtK2swTpKNzua3TEzEr/hURB5TXOSi4qoOjnr/JdNGrolyflxZsEK1wYDLiduPK2JNUjkri4FlEQJLEo2pUNzjhwzlSlMfleE4t2SWYk+b4C7UqLrYivnzG1G8g5mWCG4Rj5Q13pWmKBWQZw8Kjz0uuyl0Z5acRq43fyLwhffM+ughT07m/MC5HGcu5/
ei5U0osQkOs+RZWt+4nRO/2+sts2pgpbVki7CF0py6y+2G+KD+3lzBe8ZzF7jbkdoCJhRB9AUN2NvcF5SBfMsrHXQrDg8Gj+yTisqvevgcyNOUM1CA==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 84 of
                                                                                                                        133


                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 12:50:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   wVd5YxNULa2vLHNgICHG+dsInurthoixHIwe9euNDBPXx4smR8YmDGR6BN5PAbgyN03dHn5kTVEwGiNcNNKoQIUw9JIl2ZChuXTPND8pvzW12PqJQJc20vLFjtotKUb+uGOGkksMQ3wtu8vkqX/up7343z8ZOKGVrNazJq6pT5lD6IY0f1nOYyFOknJKoWPECSp65DiKY
   +z0IuZE503WHgCeINpAxe0bCwwW6r69vJMxqA0ZGxg1608BHR0W2o+ZfuykPHSryksxmlS3QknJelIKa00E2BijybOcLR6/zF2PgSv4YilpxOWvdkKAwi51QTrK9KFPddpsArBIaLCbsw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-12-50-34-GMT.mhtml

   Hash (SHA256)
   a1242c16b9ed04de0cb9bf5d8b2d5e6fc2f8fb0c7d2caa0eab0d777df3340d4d

   Signature (PKCS#1v1.5)
NxihO44VxqhMsvNWPCczQZV2g6EGIdyqYb+mU4McVpLdWEY5nnQUYOKKqHGy4ZTue7oR+fMQFRnOSCQaBR8N9aHyfkLyLwV74fKYykhKnfu2LXXpQUpoYAj+N5TVxFqTTdGe779cXbAIdkozitkyKTILmdKZfb07BmwhQo7ejO5bXJJmEAzslCiAFC40HRvW+cYfrvz23LDZElddl/
UAM2txV6gGwofLfXWGPgddqueO+UYOwPEP2h4c90rs8wwleKnDn1IwFmyUmjiZRpnP1Wn1SYuO99+ttpHBdys7aB8Og8nDwECwWqWaXyNmNFPwC1t+FHbKRPZ2ckBCKP63DA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 85 of
                                                                                                                      133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   10x Emoji Smiley Face Charms for Bracelet Necklace Pendant Antique Gold F204 | eBay

   URL
   https://www.ebay.com/itm/324639359407

   Collection Date
   Mon, 28 Aug 2023 08:52:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o7DK+vMBZOMGBm+QKAEY8wdnPIv1CGEldcQwQDRwLRp8E+dFLRTl+TS5otSyVKVtFtyysvbHMYB8EJ/C8WDnEBSvuCj0K0f8Ad8yBIloGicuQpu4M4uxMFNiIPcj/Ry5AJImSIvfCHAJnBvKpQ2pLBhoAAnUBOzmng7znI8eQYk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]324639359407]]_Mon,-28-Aug-2023-08-52-22-GMT.pdf

   Hash (SHA256)
   45f8381f5a88eba0f294e6754cfe4140bc3f9b6a9b52b2f4d34f51dd97d08d7f

   Signature (PKCS#1v1.5)
VpCDaVZolgGqGcAjz7O/XIepjhaXyvLkrn3Ht4tSGp5pCFGcAW7AJSln3MdcyUzlSIVlsgTE+hwfoxhG+y1HYwPKagrjzS4cE/4PgN6Tpd72CScb/rwtLxvVxfNOQpH33e6uNiakXvqA2euoT79dybxcGhmad3OLfviGrwnVrjE=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 86 of
                                                                                                                       133


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 11:26:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ld3RkqzdJ+kkkMPfMyrvFQxCDNkE80k/aoQdx+dR2A+C9/bfBRi1t0GrfDOtl7lYEAGr1jQ0EreKyQIQgBizHVj8FyyPXDjY39BReMAL01JRZwCdlPs/
   eA1umzplqbpJKL0ZhqsTMupK9h63QbnuLXadFAcgbD90O4zZdPAa3Hk0Npi2YgFI8TZCyZ80Wdduc8NLeqUEPDHkksjd7NgpkWXbYi9dsEvUE5/BWKRhbOJ1jN2u3l7aU1/DBOmOyT/ljlxc1gRLk8o1Diiq3Ad3eoMVXA4jQmhBdbzYrXqIiqKQTlRlMyZgQ3p
   +xX6ZWtwxM89hJZ4bPmB3MEDxVp6zdA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-11-26-01-GMT.mhtml

   Hash (SHA256)
   fc0c2894be40f9f39f70267ac0dfcc68b4c1bbfebebff9d1a7a9ac9cdcff0fa3

   Signature (PKCS#1v1.5)
HNsnmVgeam9m2ncWv3w4k/GqEcc4iz96ir2osYt7Yh1mwAZ+gT7iRUbXlDyEZLfWkzp8+otVYqScl3Bvn7XwHH7GBltDJFJC78JdCmLwG0SrVJKcXv6fYG8DN18ZIAgnxI6aYAiE1KH189pvl/L1CNuAHHJb2FZ5L/a
+PcQMXlxbb4anDxO8gCk8yjYjFJvRnWqj12JpNMFd3UUP1smPVfQHi3EtLJ9Fb3JVjU+uKo3gLWsUs78/BVaVQJCacL9xO2GeakXeqnFHCdggoMKa/kYEnj4EKzJxX6lK9jTLrGk9gvcTl8OEzVMz0yAG+eOFxVsJqE+RtInOF39iX87kyA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 87 of
                                                                                                                     133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   WOMENS SLIP ON HOUSE INDOOR OUTDOOR FLEECE SMILEY FACE EMOJI SLIPPERS MULES SIZE | eBay

   URL
   https://www.ebay.com/itm/175842102183

   Collection Date
   Thu, 10 Aug 2023 01:12:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JtQtiD6rddyG0IHUQSIS1Rr6ZcTFT20uL9UJIyNyQvQI5DFKQJFpEF80Rhhkfn7pG1wmHORbgVtcG6+GmW+hzLOiIoEenPRn2zV54WvQruuIYytWspqM04AcmBU7CGgNPww7tcp0mjOZZ++Gx7hniKZ1R5IcAgqG3kVVtCcMu
   +02JjzKh2dcAfEYqhr1oihpj5OpXbYIroMn4ydejwug1jzpClKUUEd3VBYUkmJMyt0SXIYIKBFbU6hyOUJJFAOCI4iMY3inLreTrubj9Syf+Zm1/uvi6fHlmS46Eqf51rFcM+lBooKyPzSfPfOnEmaGMYBUmp6NWAfIHuvyr0/7wg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]175842102183]]_Thu,-10-Aug-2023-01-12-01-GMT.mhtml

   Hash (SHA256)
   8d02ca2bff70d268fae810708f3cc9ca9090ad56a47d7c79615b62c162ca4389

   Signature (PKCS#1v1.5)
d030H4PaDuJ6ulCZl0cis0m7dRbm+SiORJsPRCMo8/bPe6Ab93psBBSAFPeX77RpQubOfnQEC+2xnXBZSkiT46/2MSpwjOSpXsnk+tOEj38jgNrY8864cSV8J827MnEvuEjFJFGcpz8xstFpp3mkyr0GfjTGS/UGnuncHlgVgtlrujQK9iWWaxDHVt/hQNnn+v7OKPn9HpGQbHuHqMfgPCKZcsY/
nZZFtsxjkIp3YKpmq3kL+vTa0mGU7uHiozMtl2drJRDxXRD7SS4sJVbi9YUwv68c7kR9suaF49g+Orh1kxzCZknRm1P8aw4eBYjnaWDsfytHZgFipZiXbRN2eQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 88 of
                                                                                                                       133


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 10 Aug 2023 01:13:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NSa+pUSR0Zb5h1F+fyQ7Ofo8zcBSSc1yuCSMDGWUjm0lHZbflf9sl1RB9eZllj5M1RtcK0nCvWWLE+uHq08tPoXf17ggm8TuhOC8W+UxC4A1aRKYurFcOvwo1cuqyVEkJGeMCeRv5yaC4mEtc09EP5uVg5RwltGGVmGaEutMRmAaa4TyEDN5XfOC68rSvXy/qJ1vz9o/
   cQ8fPHxYhyxW6T1Aq4JpBhBcY/0JHn1/97WhujYQ48kMTPetr59d6jHOgilYPo8zD4I4i3T/JnTlZcmvuBEM+TAnoVkNifrtMzFTHJKBReAQKGggGNJ/qz2w0uuaLWKUrgF2b7I54e/GXA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-10-Aug-2023-01-13-27-GMT.mhtml

   Hash (SHA256)
   c75961bf1d483eeb6c6b97335a22b53b86b4a81f406bdd694656debb3cefc004

   Signature (PKCS#1v1.5)
NFMB2fqP1W747/BQ1P02M1vIpGcmrJlQaJs5IhHhDABK7xPvBPgWA560Wa0KYjqSfdneWF59XqtmNtXIxVWgOJc3HJJK+iP3zTk+DmoyZIXBSTEDqb6Vl2Pq8sVmOymYnetOD14K4hpYvPLnK5lFCTzCJE1wirK/
DsqAJkPZ0Aw8VVTIaZg0jKhS7ezFZCt9yg4lUMjhRSH9iqX61kvlXRTX4tXQ0JggG8v0unY4fXTs+GDMHu5Pkae+eAioTQyi7RAh50h3ZuechtcJLQtNntgCAZWyFi/wUFKdVAQMhzRgU9iKs27jjG8mSXi5c/FxdK1HsB4XoYh2hUNQ78YAtQ==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 89 of
                                                                                                                     133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Classic Smiley Face Pinback Buttons - 2.25 Inch Round - 5 Pack | eBay

   URL
   https://www.ebay.com/itm/166206210957

   Collection Date
   Mon, 28 Aug 2023 05:45:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BgiVQLDy5LWWz+7/yER1spVNq47lX4d+0dEimifqlaVRSreh7pAwo+ZdgWNsKDWcrWJ4zsqo7fOcdP3cymj129jJZV6xAPirRAOSbLdJjD/vVwq74mANlChG7Q58Nwwou6aOx2JJZTuTBMCMRcfom4WYYEk68prDj/vQZU7lvdg=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]166206210957]]_Mon,-28-Aug-2023-05-45-46-GMT.pdf

   Hash (SHA256)
   d5288814a1f6baa647189e656274cb2f25dbff44b89ac200670bfee1316bac0a

   Signature (PKCS#1v1.5)
BlzuWatKV2+z9Xl//j2RhKeyZFcFy7512QgwfdFWY/T7Yqqku7xYJY8loE8D8RiJdjzL+RjEFav2f3+P/r+eoRNlk6N5BB29S5ivUIM8ga7zqVh+Jrc9yJ8CDzikZEOyev6Vlqz/adz2fHnf1QWTZS0AMb9HzqxMPls68Kb2L3s=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 90 of
                                                                                                                       133


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 28 Aug 2023 07:55:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49ee:1900:1c80:a1a:adf8:9048

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bUAo4iJaMUDObdehJmDnis3H76XXm+5FEJETlaRygDstZ7EkOIMj/N/SCSnEDBIEockq3eNNf1JWahQmJrcAPuRu9bdKjpPVZHwlFNUxrytEB/kYWPwb8QrQgbN
   +J0dgZpR8htIHWOz7B9qq7bQ2bHatxEBWDvQVtqSZbWxCrpCFpWT3l3qkjRvkazzuaPKFJfr7NuZAcmrvMEvCNhiGPEEZn7VMt0lBXPVzE60m9IKv1ZLyT1KU/KFH8m5leVopI/au2ABx3/1FA/cSak9GxUJiFmqzhKoTpj6UyIt3WEYRckgYkDtdoI5Sjzcftc4zZfx5iX+qHXGdz1NnX+GBUg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-28-Aug-2023-07-55-11-GMT.mhtml

   Hash (SHA256)
   e3e80e16df3b5ba53401a80f13811f3e5dbef84c6954788160cd331089cc2ce4

   Signature (PKCS#1v1.5)
UAaDeKRnQgNqlNl6KbALmh6LOTWah3STkJ5FaFzLRCev1QP8PFnGoBrJOb+ObV+scVhSixYPWrjflE/ilEDJ7GPd8IiiknK9jxrxPJ5WqyITMEkv0XEGNHB5nUm4cxv0+PdK5EC93++a7tsbEoMK0RtrUW53v1jkqQpN+HC5D+B060uFe1FQvDmJhSs2W51kv8LOW6/
aiRFHIXfqDKWdR5PCPJ6yqywQBl7sZu0CckA9wCo/SvDyFMy3bkgtRKbhQXo0ONQvAB031UWnK72G8yP97CaXBNXllPGSRL7jPl49RKCS1Q72v/4tOaNCyhy7zv9c1E5QbpzKUFMCTcSiZw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 91 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 13:16:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:491d:2d00:69bf:7906:a752:afb0

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Qd8dvgEzAORbsOEHtUudXJIeIAeiHFv5Ch/k6BrJv9vGOynj6/WllHg1VHYUBzkXkMhn6MSc//nzPteTeraYQkCjH7WbDwav9Uw62w82NvSbzi8UENMCc061vZn1y0KCCLnQJNBY/6Ckt
   +Repz2txqmTVceMdpsXNI9J3Fw5EJ8ZFFmnKWp3XeP7X0c4lyyWjVqEgE0WfJoW/36K6oFfDz1A1njfjXrLcG3kNzHF59AfpJcyfNK6hQ39pm8XmGZcefO2e9ZeSgrMTqsepLI7oQOkUB+4WF1I9T4MMZMsVSkMa2BnZ7Uohd9iafDW4hUd2jNdxxLpR31DwwQDN4wsbw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-13-16-20-GMT.mhtml

   Hash (SHA256)
   1a09b1098354c4a01f585640d08899c7d8f648f0cac31047dd1fde466500a9ce

   Signature (PKCS#1v1.5)
QjlWywvjVUdvDS40bQP4I4mIO16em9U16UWQCPLLBqTrzgdpArlFnFr1aZ8ZZJDlY1boxZCvKjo39PSoob8r2ZxoQ1sSSvOCLdiZBYPReP3m8Aw0BNqOGllzMZ0Eo3wF+tvL6vDS4whxDVQY1I1tTSZDR0cX/aZVnweOUR95YZVh20w76f/ddCwCmmWNbA7upFol3fu/
Ks8LW3lRFRAppaNl9dSoCqnlqspIUimhZ5TPV2twhQ+sHlPAb/ymAQM3Jg6QgbITF9FLibI2NAYyajBnIKiBzSkDsmG2eqfmdU31lsq+RcG0g5oUmoCcawwTmauDLJ7s3MxIDmdDj9+D5w==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 92 of
                                                                                                                       133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                  Evidence Collection Report
   Page Title
   Rainbow Pride smiley hearts temporary Tattoo boys girls 1 sheet TY275 | eBay

   URL
   https://www.ebay.com/itm/192587588143

   Collection Date
   Wed, 02 Aug 2023 06:52:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZFAlRExw76O6eaNGSh5a9aqGpzaBUA1iBt0T/tG0TFMiyDOrSXHIXTuYE09dEtk3js2VUMvZ5F4fw06T+/5yohUeNYH8XpXfqvIr36SpEhNPauhyowAqyFXyFDY9iv+ND4VOwPQPyOtbwTRT6g60LVWBcz+yulTLuozAe15c8Q8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]192587588143]]_Wed,-02-Aug-2023-06-52-20-GMT.pdf

   Hash (SHA256)
   659d59ff069e7bf221a9f841d0667713a4e0d75a0ee69fe08babdddaa68bc96f

   Signature (PKCS#1v1.5)
q3cDBVWNCTFh2YyjJc6IntCi4INPl7+P/lZBuRhpkAmj5UHdnXkF2WoBvr6uSxGr/JpMgdfmk4aJSxBSfTxhRMXeq86JfNihkrVUtNgOYw6CS6PqhvAoulm79F2C8Z2yarUK41uwcbF9GU9RkL4NZgos/gsFPfuuyJlgoJ+cs30=
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 93 of
                                                                                                                      133


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Tourna Fun Smiley Face Tennis Racquet / Racket Stencil 78914107511 | eBay

   URL
   https://www.ebay.com/itm/222131616905

   Collection Date
   Tue, 29 Aug 2023 06:14:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.112.42

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iXvuIzPP837tsspY4klyuKhVkG75hm0T89mW+SGwxtfyqTlOo2DJD66jNd4/xyNE78zW2E98gVsvAJ2PMhcvACa2longSWaQYCoS6XCTc0VAjFQCjLSfabnjYJW97+NlmInAjTWZCaPWa5kbFoYq6FYj/qge3s8/Ddv8nhvkBwE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]222131616905]]_Tue,-29-Aug-2023-06-14-02-GMT.pdf

   Hash (SHA256)
   e05e78f267696145c67d427b04091b133ffd197ef376efdf2b47feb3fe5226b9

   Signature (PKCS#1v1.5)
Gqt40W117u1VWafI47JoIdXnxQnrd1zUJnzBc8PkGn0KrGcn1u5aDF0dFXbD0c1KXJ7tl8Qm3yzip4fWDnKvkgAc+84FsZWp+K8/2DwFHcc0txZzbKH18twsAiY8gXTtWnh1MEuvdERjeS4YhBODJf1v8HNrm5UQCbeThD9h5XU=
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 94 of
                                                                                                                       133


                                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 29 Aug 2023 09:17:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   112.206.74.192

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZufaI3IURUJoMr+5jqP3I1ggU05pL0M5L9MDgoUAUlmzRukqk5xjVtFOmiTjz13+f0NaXAY/1mS3Nlp5lcQxOKYv2qpOQehu35+uaa3Qgq2ezl9m+IQ1B6aZH7od7tUE4cHA4K3HDygLd9HCtkSZvuLe51tuXLr26lCF1x4Mack4bpevlYH7Uk3iVGU3Mawrpb/
   N1d8oMipgdBWa970+ei8739TJzGXW7Kkz/sxxXYeIosFjU0Mg9kGdW0/jlsnSvlDn1PUY2UFliCVor/+YmTFWD7qwkfWICmTE9C4T/6xoRH9PEdepTKIkbbWSNAo3G4EsyslzreuhzcxoTt18VQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-29-Aug-2023-09-17-40-GMT.mhtml

   Hash (SHA256)
   535f29e93d886e3c55a8c992bf935de92310fecad7f9209c9991567b115dfd3f

   Signature (PKCS#1v1.5)
TUYu+0NyQolmEXvJ23yDf4WGctvJgyloLDVpEgUiLlZvdVYKPaUdYmgOK6sQUfQthvnRcKa4MKW70kMxGouLbDTREJL4rqYKB
+BWGT7N9VdjoqOXSFzWhkT53B8BQr6LuPssWUxFeRHcal5YyhgTeZUPL6nOBNv10KUkW0qyDRZoiYmBJuYQMjg0HCbjWawwVDSbej0YFkh6YvkDQsovZ9FPOsuKBD8C75URSRJHoXvQOwZ/md3P0paELNP+25VqMu4sDLw+BreILbmMjNiQQyxwGCUbBgFlFk5xAsW4VfImWe
+3Or6RlyrKDCvlKUQp4+mkKa6ixcp+RErhCgCY5Q==
                                                                                     Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 95 of
                                                                                                                          133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                                 Evidence Collection Report
   Page Title
   Fairy Dust Bottles With Smiley Face. 5cm In Length. Various Colours. Set Of 10. | eBay

   URL
   https://www.ebay.com/itm/295807635079

   Collection Date
   Wed, 30 Aug 2023 06:13:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   meTon5FVcbU2RGZYOLO6DVlLc8KzIlGpSQ8/ChEeYOiqf5B7NqG0AAJXvN3iOqjGk+R6/6uwqJ2iYfXYcMhKsgToSpLNfYUytvkJTcQ9y3Xz6iizStyWa+tifCThAAmhX5aNP6rVO61Zpe4hBgK9N8OQQ53lfyG/x4vuFkqy0/VepvQ0/qxfy9hy3hhafkNzuqS48VThH4J4nf8QgRR23+n6L/
   qMzLVxD9Hu1o9WpA+WRRTVKJf0m+GC1u1/e9HRZuLFt1UVGpfppCaRO4CDKjeUJ78YiW/sc3vBIVF09pOO04ZWGHm/0brceNpOqfVtzX5sGxQVtCoGKYROj//zvg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]295807635079]]_Wed,-30-Aug-2023-06-13-47-GMT.mhtml

   Hash (SHA256)
   90b68711824cf3538ae479ee368114f25933b354378602ae8bf5e32391e8c3d2

   Signature (PKCS#1v1.5)
HLFDjnLKuJfIzyAN3fwRp/OraT9RCptYVEUimURyYErZiGpd6RFtxQsfUK/pVCurjJRepTnHchEdtKa76aFyuHw8TXE7i3Jh75tep3LMbnSRCHGrwuwFf3nB4DrfHriUuZEFkoCghSDXM4U/xriQtNcuWwZtWGEKpZshwBbVz6ZHDBIFfQMDNcLm+G2+6bErtuk4cHCNSJgnq/
QxegYCKXyGYxeXYBNwzHQ6au0z4ncojtn6Quk2CVkb0O7okInKEYSen5MZYOZaULEASB/SRZiRZ+Fn/sP1muV0KlHOxhLVnaOPfNV+cXS5Z+WT+nTVKqJXAtjEealOOgpGcHx7WA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 96 of
                                                                                                                       133


                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 30 Aug 2023 06:15:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EEicOa4g1k3OOG/Of1cRW0YSqrfzuJLgR26NSvht9i9MOy/0e105r31Eyt+80RrWsWH3lLiYlImIKkBBROvq8bdhfEeGDjNJgTKAYyLmcWrlHKPpaBLWi2ci0vJa4Dp2BLhjI3uKc1qLe7LSCiBus4pIXUT3DgRt4UDH6zwEvyWV7qsn/cqXh0SJsG04/m8g
   +LMDNzHOh4BunYT1v5a2z4b323q5fqKebsHlkFNA5hPQDCoVMDnQ0cU6bf31vPf+v6vXUn5pdD39KJGcHjMe6B1UGmz8lHLI6hYb+4sOw4CFf5CNWf48MUaIwGLJ6O41qoKS3fC+B83YBvrDZgrlJA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-30-Aug-2023-06-15-01-GMT.mhtml

   Hash (SHA256)
   e0611356aa4d31fbf720aec39c39bbe8fe9883a400db2d6134e35290a5955205

   Signature (PKCS#1v1.5)
iwyaV8+5XTLloG4/2dFbQOAjbROi0rcC9Dq3KBoBhcoqW6D4spLkFL8H0jUCQcQNkJ8h+EOGgg4MAAz2tjnjix1fmhD602bj5Lm8iot3GinCINzPqhdX7cnAifss+I0i/
EIEfW5Z4g13ckafEONQ37IkEywGvoQsLUsbpgxgsGsfj3ouGX5ZcQ78ZiCFy8VdscFSpI8Wn5NNArqXih4oYuqBxZZ77jZMUAPuVwFqQlJQK+cr6b8cvQRxohbiu6SQ6UO+/nm5YjOPXlaOjapQz0zQkpMJNSQdNNs7gx4Xz5uSl92Iwt4CN80RdhBjnm25uFrnItANqGAYOKViszl3+g==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 97 of
                                                                                                                     133


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Crochet Cute Smiley Face Keychain Pink Women Car Key Chain Kawaii Handbag Ring Accessories Handmade Backpack Decorations at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/dp/B0B1J7MVHY

   Collection Date
   Fri, 25 Aug 2023 09:57:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DA4z8cZ12GyR2eWmeGPxpxGJktU7BGWv10JKpocX7yIZxXV88g+r719kk6vouEpJ5nLIk0K4K4E18zdKSlzzmCVwmrfh8LDLa10B9ferK1kqOc4O/PAEPVqh9ue8mBib5GnIOHkbJsf+xmLs9WqgIKanJnf5fWjG6oEjK1YvrBLC9C60p7dORqNamhyWDKlVjltsRq9XW//YUBbJ3T6Dkv1H/
   npWaYNbR8eI5Aen+sp2n5XVPXFsy71zbhZSTns6WJI1+b1Vs73pbbuUSnIE/hDuYR8eg7aaBfry5dLhwh1EgW5ZVRmUH13eqJwQsmQ/UIJfulQsn3HSZH7njhjO/g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B1J7MVHY]]_Fri,-25-Aug-2023-09-57-32-GMT.mhtml

   Hash (SHA256)
   c4586b7f7cdb55241dbb80de252b9f44b75e339081047d276bec94ec7edc2ea0

   Signature (PKCS#1v1.5)
Ipclee60lG9BRC6LZz0+Xo/qzxCQYaopl5z5KXfNdyZQIQchytoFdk9PLF2VsCzMvgpT69/qJahSHlvX2dyzLmowKSbmj7faDKP0eX23aCVHETwY/9W7GKuTbWfLxuVzfT1AUhgkl5HC4dJAn+zOq5yZRB4iBaI1wgOBIN8lT9rWSXmY7RNJW62+ZBOIsnLdA0SODG
+WcGeO2LHKxixveLzFks2Yc1Bq7lQVL8Lg099cwBFPX68CDVfeuzhbw/srfbfymCK6yN/Kfl5RbVKn8TpcaCtTm0URci7k4W2NUe2FxNdqUXRqG0sUizOxX1xn0620JuqMvFLgrkdQSL6ulw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 98 of
                                                                                                                        133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 25 Aug 2023 09:59:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CoNZVVbizxjoQBR9/7T+a5Be85LZNIpy9BAzcerNYokubczD9cX5DFXaFmC+ftS2Wn1ier3HM5CQ48plq5EGgAsFmauqJ52T5cQGGdAW2BQHAhpSxax7j3o3Ml2N2xGCunUPYfYLYVEv9PztHgoV8HLOKrStn1s4wbsnpCtNRbkiRLWET2v+hFBq7ELShp4/
   rIYjZ0MuSrFQB3MnpgwAeCPTq9OLO3+4g64Hqkx37j+tiLBRcrquZWuEXcDiWl1otWo5ewGaAL5DzOhIrr7eiyOlNdOVlecSDAVLy4U0ftes7yNVxkXnV7PqozJQKOpryf0Sh81T3j4WBUnOTyHuFQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-25-Aug-2023-09-59-24-GMT.mhtml

   Hash (SHA256)
   5cc5bd355e33eeadfc8c1cb8ee9a9a32bc21a4bebb7d7e59729d3441743f1398

   Signature (PKCS#1v1.5)
vMncsdedjK2xqzTxkkStPRJRowPKPZr/Nsfl07vu3XGgBqqvcPFEaJLz+zEG8JGdO99VwXFyOffLXl5GOkTfHw6j4Dp0g3qZmv/fiEI4H8rv9nrWdUhP/42gokhxHHxzdGjUZwjDFJrqjDJbPKx5WSzFlf8iQNFSIycs0aNs+3VdoQdX05G7Y67nH/wc59cuvJwV/lID37ZHChBJPDQ1o+
+xfd7SBkMEnIahCBozstIPfIeInQrW6yjzjvb9xCLaaff4mBabc/IYm//jPu1pYdZJaVOQE8gA8r8PB9x1gzTWGmYzkP2tO3s1oFX5WnluvCQTWzSA2HPt6gsu0zF52w==
                                                                                    Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 99 of
                                                                                                                         133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                                Evidence Collection Report
   Page Title
   Smiley Men's Novelty Cycling Jersey Tops Short Sleeve Bike Cycle Shirt S-5XL | eBay

   URL
   https://www.ebay.com/itm/184026669437

   Collection Date
   Tue, 08 Aug 2023 17:43:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PkW6SCV9tZaaOWVM4NqlYXgwec5n1UNcLTdqLqDk3yUUDcR59Rv/xfoGDTpv4BtD+ur9sliKNPUXg9UNKgxdU5UZuUuUTTYUJymNMSbtEyqIS3fzAVG8YGKz3F9CuW3Jv3TLRAhpDF17geoYPEtk5gztncL3CEZnXSDI/
   m2aL0QSyeppLnJ7smHCrtnYi5WNh18waZ8b3Q3WOuw/2eAgFoeofqfYXn+KjqPzfxEphRXWuwAGuWOz1dUkGKymsr0XNJUdBVWjnlsM24uXbuXHt99Iq/xSsGf1EzfYgWbQ09J5a0mrzTmXjBTGeSfXpFWvZw24hoKuI/YokHh0dr505g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]184026669437]]_Tue,-08-Aug-2023-17-43-46-GMT.mhtml

   Hash (SHA256)
   0b57524dde27e1404a102334724780760b899f2aca836fea254cbb0ffd6cca48

   Signature (PKCS#1v1.5)
aNZvPlJAvHZCQwmWKVdbR5l77jcxfWj4jYegjfZbSv23uGL5zGn8BxMQiQdurX/2lGM1EGGE9i7H17Rc3GEsvlcD4Q7KsP9Bo1N7uXCOAFJfqiQt2e4vdOPNyBkrY56NunTagTAGP8ujFenFN0UZ1m6SX1JNp7LvCw7DoIoHEwwj1Jsotc4g0PCupiGOyhEBJRAc2fFEDtmq1QBkUeZitC+cjCuB
+Q2HNNGnqsAeZhUNGK15puVnbgtAqjRNVANr/OmI8JQKhMSYwMKWGOeI8s3i+l44l7dypQiTl5bs+c987cfX5c8BQgRXa2QYmItbomHmdTn3t3zlgrYQjbMcnw==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 100 of
                                                                                                                        133


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 17:45:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D4XuBcPi6enB2dT+wt+nwK2e7AHwu5xRXjwlieHKM81kGMDNN/OvSUjGRJ61gncMnGFsqm0BxJyNMeZ8XpFssxhrk+rwiM/Ksk0cF7Yqr+RDtFg6UDM4f9quTWuPaREMOz7Q9c9s6VYDOksXr9eSL5WN3wT+qIo7rc3FPphIXAc6V5RKVyf1RwwlfuWfxhjLczCZtoTy7XHQiOAf4sT2/
   laeN1Ant24144uVYTuD1dKBQrWgDowAtr9qeV3498slaya+qSyNyxC/2TFAGxN7cnO3Gc2HUIY3+1ivSvywn6z/EIFRuqXFWNgSoOkioUfjrVICiQlslalWFAkMzOBFFQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-17-45-59-GMT.mhtml

   Hash (SHA256)
   516f007ddb04d0d94b6e3eaabe4493fcef2f54513a3d76361fee80122d17ca96

   Signature (PKCS#1v1.5)
hoQ0f7EHV/hfdJTEJRoWyiG80KRtru157Fh5EZqSu7HyIx9YXgV5gxfXHda93LC5T4L9DdXsRSOGBNtCDD14q15XLl16lmy803T8g/Z1AWiqU7CmM23PIqUI7kCmU7ZfSTsVg0Nvx7lT0KaXaK6ki6sj7d2g3eafLxUoJ9avphqrt0pHMFweS7N5M
+kv6kkW485SraehOT9lGfH9YENc7JWZILXFM3PWjypo7woMMFLdKpseTEJ4i/z+DBLyXxCDE9HmvhMx+SXVoP2LYWp+LjV0zsSyPQ56hHCz/uwQAdCSzo8AGKIyPnjk1scX20CMmQsWyRoAGShAoGx1oWNC+Q==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 101 of
                                                                                                                       133


                                                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 70Pcs One Happy Dude Birthday Party Decorations Smiley Face Party Supplies 1st Birthday Backdrop for Baby Girls and Boys Birthday Decorations for First Birthday Decorations Photo Props Supplies : Toys & Games

   URL
   https://www.amazon.com/dp/B0C9TNN1HJ

   Collection Date
   Tue, 15 Aug 2023 09:12:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   sWU+M33J7cGWcGiRbBSdRspkjEh8XNmx1LMVKCJfJLcXe/txcnnnHFa+yK/t0c6wf43mTIL0mWyycErMawD9rZMkHZXXDzVVYt+zVm+8bSJn5STutR2UsQm34ZlOuwioviSvb/LQNlBcSvnvmcaY+pwUfxNoAQdZ1ozI3sBBNOyzlSwRclaqY1YixoxYRp3qsuOJZxd5nhy9F/bn/
   lbAUeLu4DPFFsV+lJZg552P0JR9sleWAKcXzhFZLfTC9N1F+gTyleQOpDeI3KuvgJegXnDYt7izxnzhlfBbS2i+G37mOqWeufqy9ET3xlP6AB0ACckS+ghOqJ2S7c6m1VGUaQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C9TNN1HJ]]_Tue,-15-Aug-2023-09-12-48-GMT.mhtml

   Hash (SHA256)
   44959eeaeeb8128abc5290d7efea4e3094d9a506a4c719ee72d88f4c7c8d2101

   Signature (PKCS#1v1.5)
Jn6t7Y87QylAFRsgR1YxEUuQdcmBKZ0nhCGohWEo/3u37sjvygDBNncq82yhSdSt2eVnVEi+TPZn3JzIka/Q1gkQ+iO/QphqfmeaYZ/Bzv4z4LrwGQXNlirA4t5AQekNqNmEznPEoVEG7agRi6HFq0gg78oww
+DLrGnVzOxSB6A4NcCPKCdJTdScznzgzYIHkasgg3nZtLjdqAebEAosKUV7h9D6TH5OAdFmp9tlxwuPItDxkDiuBf1wzFepU8N9sE6EVcsN5+9H4vtMk61nTr6Ulx2q/1Pf5EGUNTXvW4WY4A8SfAlfclKs+EA9UCQHEWeDy9fkgsNypLCvj6d8WA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 102 of
                                                                                                                       133


                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 15 Aug 2023 09:16:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   r4Z8phftLT3m9r2vZrxwvg4bKdxIdNNzgYhJXNEzCtgekJBXjqPp5QnEt+ppl+iYqFYAX6VSL9W2/OOVNhqo3aGGp7e7QPrMJkymfhT89+bSj8D3WcHJ3WtZRE+C3U9dWAHFB3czx1ZkVfdQ9+HbmPQY3D2cRSXD0hrd7NzamF8e7DhYlsMIYEi1zqrst3R4nnmm+TkWoXa6/
   OkvktXjHiAuhdSWLcoisNRw3vxoS6itgdsBmeQoduCljkq8IBjx0QPsXSbdEaiTwubBiZZwnsW7TGDgQTFd3G54oQxYSWzVqkT1PwjX9B794CBVTThhI4kWv7I1qNTWGRFV+a3fwQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-15-Aug-2023-09-16-08-GMT.mhtml

   Hash (SHA256)
   1fd177bc6eb5aad58d7ce35f33d2562a38424f8d2b018c6871fb151004e78e61

   Signature (PKCS#1v1.5)
D48wQ+tOkI5PbfEwBDYfE6clR6Vh5bEwhkQnvmuKIw5P8RIsrCiPkxh4kWmmJAjoesfrFIkYc/ZdzjznYKVJ/FyAyh0MIz0u9+bXqqx87LiP+4GUrDOiMSSEa7VFXcTRpWwrA5G8X1XaEpzB6JzIg1A5dvta8dgYlk0rPqoLP96yOlvC3TykvgN9ngaFzUbS+
+NOpPuWkfHreEafdPHDSclAotn6upyicdB98iQBpC0NZwCTXOwePMGWyASuSiFXwy+tgYRqRX9Q38UJnUznRdG/Ua6W9QrQviCf/Eihtr5xxQ/xT3CORzogK4keXS8eo59KduKM/MlLtr0/EnwIPQ==
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 103 of
                                                                                                                     133


                                                                                                                                                                                                                 Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   N6 Vintage Black Velvet Layered Choker Necklace with Black Smiley Pendant Women | eBay

   URL
   https://www.ebay.com/itm/134674461275

   Collection Date
   Wed, 09 Aug 2023 20:50:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Jf1jwfBAOhNylKCiFidGJXuGOT7vK0NNOz9XOImZZK79/AZDor2fyFG6gzxGGNVmDrJExzJJudmEabjfrncKO6rrdxo+mUyOpv5imjkTuAtonlKPSyLYd4r3MrlJXdOCfjQviIgM/yYiyKY0dFs/qdQ/Hcio8hgwAJd/LdRct0y3vyL2du9ZwOnFXP5HyGi40iH1AoSxIa9PLoKapK/
   C3f1DzMDLbIUxccBJMEiBMmAVggy3ixTFbqwO0YEIMjl3snGY1GAagvLoCPKm+w+W1BA62HI0+iVxY6bkXExq2X5BNbtV7kh5yWyCDFOVphU6H+JQuG/ZdLYz/XRWkA27QQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]134674461275]]_Wed,-09-Aug-2023-20-50-02-GMT.mhtml

   Hash (SHA256)
   9062a6b396bb5a2897b123a7af4bd59f5832557891fa70f1d3f51da87ac813e3

   Signature (PKCS#1v1.5)
IExqrXLZdbsfUz5QspGBGd6h3vdleHNKAbWa3rl1o59mwr04sxIxqgptzu/Fpka03WoPv4h2vocItXYpMZ2U0+xUal9AF+gyVh1txT96Kg1LJJVK1V4PiKhTrvRcYMP1zlYJ+nrqmPcp76QuykMeUEjlA158PDWwzKATdoVfrPzuTL3xPM0CeMzuh5+deLOYEJzirEdnaNMRGjAw9sF2ltbFF0mff1/
l1t2Xfz68+YnQmPejwBCho25+iQ/yzRmwpK46zf3qE285in7+MvFMOtF15JXcO6CVN1fdSg1w4MAdBrELQoUYSTHqgpqkASYLP+Q5SYUjYbZw74mZ0e3ydg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 104 of
                                                                                                                       133


                                                                                                                                                                                                     Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 20:50:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CNpj5hZwTtZZoORuoO/8LiBWPkMqg5Yavjj1RJIj0j87q4kzd/2ABqpGX1/dJwUmeWJnyhB+C6K2BnFQIhQqYeOo+SJQs1uGQLF/NGYqcr3PXsjjSlBoLIYwglpu3vhKQjYSS6g2UoUrWZulAm5yxld8jiNHWOWuVclnTwcCy82oK1irrpgFVcpj7t
   +EOCKHfBjxYCW2a5DOcIuMJcEdaxJlVymx3P8lJH7qdC8qE7yAHhsqO1qnJADOvaIjnC+tvMEVLypNTBmGsUvP3gJzbDzRtuXQd3IThu8NCSSLLLpfiAm4MVdpeS5n7CayGmZhubWxp1p2b9zHKI01jS9v/A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-20-50-53-GMT.mhtml

   Hash (SHA256)
   66b66ae7532989a36ab229ad7ad8368f87c4882d23115562ed290cd3d8bd3aa9

   Signature (PKCS#1v1.5)
aljllDkD28QVPoTxRxhAiAgk5oNQpAcWJOJjzmHauPMdVH80h6VV7S3SKYvd6bCJPktr0VRpo3irXxbMeJ4fBTewQcWRW94Ttz64154CXujpLQE/gPKhejL5DePARce6s9SDCIb+M+ZkWYNbBjgOGEu8/ZobmO4ELU8ywkPlFM9Umi+WBHHWKDgfTRljPL+sgl
+d49l66Q3fT6dCXFBsL9+QS4ILX5IePH52dbjWDtQH0Ow2Ovr4jkLAg2Jrb/tzATsncrTARjwn5mCY/R4/WQQ8pKwJEeIQS38oGXeNRApt0DcC0zFsmsxJSZ/+9hNBqwk2z8b/OIy9P85pSGRmoA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 105 of
                                                                                                                        133


                                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 24 Pcs Short Press on Nails Almond Fake Nails with Smiley Flower Design Glossy Glue on Nails Full Cover False Nails Short Acrylic Nails Stick on Nails for Women DIY Manicure : Beauty & Personal Care

   URL
   https://www.amazon.com/dp/B0C6Y13WDC

   Collection Date
   Wed, 09 Aug 2023 06:14:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ErKqnn/gzMcdEWEilp8e983VlJOBp2adzMyxpp3l4m7NuLJRG3E1YNDm4DbgNzJ4UXq5n0gJCYMki0ps7D6PCAAKYj2t9KSadlRCoqWnA0clkz17tD1Yyi1CvBJyF0cAcWdiPPOPxu4foKvkaXty3QZmNYGwrEQy/QWWSR/
   jZL2LM426RaAH8pr3ax41Wv3CZGgGxSt37XnPzabpJNURuD6OMwwNOTGgg5El+Hr+/8aU80p6OWUPO0GQo50XtQbqSZPa+1p2P4tMY1DBXsV+orgdL4nmXBoyoiQTLxjj86G1Hw4r1B2bOKSnqjiM51nQ6cCkxHsMwjbeQSSbAfcOTA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C6Y13WDC]]_Wed,-09-Aug-2023-06-14-50-GMT.mhtml

   Hash (SHA256)
   2dcbca8d12ae27e88bef008a465389965e79e7fd3516bcc8fe4b291e81ca2fa5

   Signature (PKCS#1v1.5)
z6+//96mtXSnA9QGXjcJOeFMUemUvYqHoez+DWDLQrJW+TpGJ8yhusWKi78M4wQDHuRWWXsgpehS2HbK5EOXbbFmJL3WSG6QQKCdkAA3XSJ/U8GtFBKVnJOz5pZO+hw8wnzWxlEqDk+UYUyHTfmD+6hJdg3UOvMyu7zktrdfv381AYywY9q/
Mmr0YqJUsABSRLV3OiqXobkJH7gDcd5m5BCsQyhC7hNydycyhYoqvvmOS3KWy4iqKmbGofVzlOSYMMyYHmOo9kMgGXXy2yfwLmWHcm6YybruaXeUjGi6wSzXXmmc3jS4IPyV+H4v3hJ9cEWod7MkbVBhYMElF4icMw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 106 of
                                                                                                                       133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 09 Aug 2023 06:16:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   v+eG+AXCUwvEUfvk6Pgy6MvS/F05XlNFxMY7pBGVwMY14ylBZxw+KgLraGbXGyv8P7WCJ4NlRYFCsBV+e8afTrrdkT8KjR6Pan2I1fwrupee/CkqFDozw3hGudlte0vjfhylMYa0dL8Ec4Ehp7DcKai8Q4VgiZunV7lZSavrnulLA2XA7hlqq3eLklZTdaWCWhVs3f1LQn+27HsxHDg/
   v9HdHSCZZF0C9eiojXwlzkAg+kciN5MJxb6nceGOQNIAfj8cgji01faXyC+0Mcy/9t1UfSU8+c4s4YtNQ4iG9Lp9ELt5ls0byZTrY2JucPETRR54PpTGVZZIMOpgneOL/g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-09-Aug-2023-06-16-39-GMT.mhtml

   Hash (SHA256)
   f54611600aa15fbd3fbc833d776d9c15927f8bc8176a2f7ea8f780f44c1a8828

   Signature (PKCS#1v1.5)
flyjLGZ9+VwpvWhm27dxqdr56EKBPgjaLVguBuWsRD+9zZ22GINmXyKdA6Nci4BgVz8Y3PFwKqXKX5Ae0ubeFmVnYG2qoOs+TRKK5Gb46Mk2/FuRIriLE8TO9PcBOqZ/
fUSUxHCUjgDQ22RaU2V12SufKO2CriRS2pQJi3UxAtc8rl1iUhtDEkmrZwufBmDdge6RzGSrmOLsux6IP0xIoRQ0saCGhLPoIgFs7RUoV6sBqiW9/MKAsbq6iNrxm+jfqdChkhppgAfPXydootcG/7tfpJAV94j8s+2GX6dUSkMVBraKhFMX4lOb2oirBnzu2ijzEgINRnXQBimX+wTnWg==
                                                                                     Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 107 of
                                                                                                                           133


                                                                                                                                                                                                              Investigator Name: Michaela Borja




                                                                                     Evidence Collection Report
   Page Title
   Smiley bullet- Screenprint vinyl window sticker- New Old Stock from '92. | eBay

   URL
   https://www.ebay.com/itm/304834060927

   Collection Date
   Mon, 07 Aug 2023 11:17:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AZcukndBQ4U+3pFqNpw/XG4IFUP+8Iy7a+3ROtmlqsxVFL4E6uxrLPlGKdY9hJvhg+WhHwxhvBWA1M5KZ0bE3dyLdSLSkP+2YTPVnngB/ESMZjTIrhmr6ZEPqm6s3L3RyhiifAedJtEtxTBJCgZ49WAtAWKfsJkKyZKYilhcWuGqYpC/8JdjXFk3ATvaFznNK8kwLMBKmH
   +1S2hdntQvDrTcQz7cZ9yyZKJrR3N1LXYtkj+5wCqE35fRIZMI5HWkIvNeq3htzVeS/UJC9a2lz7zQuD1Y6TpPHQ7AI68Yk1T4WWGUsyNBEV10VdUrKGkvyW8o3V+8XbbEVcLc6YCCHg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]304834060927]]_Mon,-07-Aug-2023-11-17-30-GMT.mhtml

   Hash (SHA256)
   c19fda0a77ec6bdd0468a7b1584f5e273e823deb1afee703e98b4c35a1524498

   Signature (PKCS#1v1.5)
MATyCYGGhHeaOwYhWc5+3km2e9BGHPGfMaxi6fz389pb9qSr7r8uJPRbtMZvZ6Sgtre96LStKcweV/YJCGrML4K69dcGY7tciNQkPSgTC/1G/V4jUwUkiEjUYoTPrqrLxIBdgyYkBnJlDy/8KDMCIy02wKPbf861rL3uDJdjguwiGlwGzM0kkFFKw2P/fmmhPnXG9lcBP5UEa2x2kjzFnieejhU
+b0OSCsRWyPXDwJD2fxEXWYvdHViUD/79y5Hts0XiMGJlyUXZXwz9ESb/5LVWIdjwGSWawiNyNGN3Ayykl0/5Cr+QKEBGAAVbFFCNN+Kg5BT4I1Jna2QCi1oeRA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 108 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 11:20:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   haPEPO36Ujx9OXyz5EcOCJ8RNvZeybUuVqRcn+NP2MErQzbTdfgEzgfiwxeTCpUV4c/pENUlZg4PjZEJX5PmvopXE6vtgbEHcmru5aX8CQrxkjnYiI752nXtcRxkuA5JJkzyRfO9xFBpELsZGtaRS/2+2NNI8beImj6vXRT+KgmFeSIBECpjNiPlaZ6eEzwbky0vA
   +bnX9XCcAqy6nU76UrOq8/7kn7CFZkzOHOTY3TcxxZmdJPwKjvRF21o42NrwVFGw647jgupIdLD8vmiPMYOSHp78mSyb7UH26t2iEXJ8HJEA/uyrSnrxbiootZ3/MojdmXSJ3hO1WkXqejAQA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-11-20-24-GMT.mhtml

   Hash (SHA256)
   09d26b268e5efec8485a1d9a9fefa5b597484eed3fbbb0dba0ace9ecbaabc675

   Signature (PKCS#1v1.5)
NkZ7A//aA8RWNpj6HoBra77XR6MvOntFpwc0uUJwC71oDh5gTY0cgfAr/DDsqlKfOJG9J+hUx3A3zYK4ogYNCEnTjWAhle38biFA/lkY9rPaCxfcdaWpDo/3W8fiB2oaGwyZETqHITU2X/fJKKkyLPvqXjbmpEK1SdloZceBIeRPafX8b/FcSVBMCWEP0Tm32eTDpHyWvvmZRMIt0nETKtwG/
Ee0JtG0h7aqLXhl0TpYwr9S+d4OJewJhzn+9txvIpe6WGUhzf0OfEUWIWv22yJ1Z80UHPga6TfAfTCCTfI+Z79VscBoo0fy3glnn+kEm8jRoV0BpF6QZKx0u/eICw==
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 109 of
                                                                                                                     133


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Solid 925 Sterling Silver Smiley Face Stud Earrings Gift Boxed | eBay

   URL
   https://www.ebay.com/itm/325593929290

   Collection Date
   Sun, 06 Aug 2023 19:21:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:493a:a500:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   elqjIaNeDxfzAS9ErEQb/cL9og1QbUh+YMdoJD46BB1sf+Jck3yaeDnDGdSIOG/VaM9Vj2B5i8fXfnfoDds4D5JAQfII2+IEREAnsNHYM+OqEMyD6karUGRO4EH9UmxO8IuXxtVg5fYmJfzFrJlB1RDXMlWFrXnV+GdeSlOFrPKoyzcow4HQRvY1g+G/
   zsXFqxHoqKjiRbqiIetXG4KOZmQxZYI9LjegtyMeoxQySIN8OvesP4SqxVWj1cjaG48NGAl3uuBtMAKgnL8vI6QayznHz+Lith9VGRP0KHoOfq02Q9OBnzGAaQ4Y6UbLcEOc4Bo7YzaWJbwevULQ0dyaOQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]325593929290]]_Sun,-06-Aug-2023-19-21-14-GMT.mhtml

   Hash (SHA256)
   d4a38712dbe08c3fa55f770b97db621ebe5a750ab925d2d76570507b2fc663d2

   Signature (PKCS#1v1.5)
hFWOwltezxOQUSYvdYSVLtEyusfTh4xjZl01O0KHPLW96eUYktlDfVIiU7axfZeZ2s05CPDc+DcutE7IS8LjXjbYyQPFQnS/XGSF1e0oQomLVns/Ra+sfx60d8kwLHPIYbnBFeJiFf2oFI92qsw/BLNP6lQqdWV9NuMhJj2/IOCOQXny8qXOOyL9I4ESVh/JfT8wkQWQ4pzex7jEvFueRS3bu0zkbkf34S/
o8dC+OuE4kxdFADyU49AbO3veNxZNk65FpLLkjHCCcVEZ7eF7qwFaLptL5yWHq0jFUWXkBe9WY2nnmIMrOxgK/WXhb7mBApU84RzsN0MkKUmnbOwAtg==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 110 of
                                                                                                                       133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Sun, 06 Aug 2023 19:22:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:493a:a500:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cCMasA0Pn0WHqADcO36y/dUK9XfPJL8FXSmCiB+6YSJLpflnAj4CwjSJGEWynOns0MdsLWCUd8lqkqjBTfnQ4O8yGQDQDistP0XnuijY5YWl46KL3xWI2X9OLITbHjzgpzV+z+ftLH3T43SITPjSJ23N4DpSwO/
   hz30vdmq1culDwuckXmZ9PsRHWsZmU9WdLLeh4+1SceJ3qJEVAJr2xYsQnGwtW1wJ8n5BHNqGccoHJm8xAlitUAg4uWOyQTu5vFuRq7MNpEkHPUFA3dAEbpk/q/Azmv0DrsATyFgrZ15XVV4xJTAoMkMNMGb0exisQR3aXdoGXolGjOzBy0kQ0g==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Sun,-06-Aug-2023-19-22-18-GMT.mhtml

   Hash (SHA256)
   9f93f737f0087361dfb98049d6fe014738dffff7901f8fd0144c8164f96653aa

   Signature (PKCS#1v1.5)
gOxgfyojBKEoKG6ERDEQv66kyUrrAp2hbIG9Swx0Yx8xlCMivW0BNsXeKNb37B0F/VGww3uQkSqEURdfySF2SsgdtKkQqyxZ7cy3dO2WNUO0SMFdB6ur9sU2p0BRmzU3dKbx24l78nvAkPXsjhh/DLh4e1LbH+qc+nVpRO0YP2etEVhDQvfpCAzgoZXxljc+H5qQ5Cy9qzduRJf6abnxmPcbYpZq/
WHS0cknWQ3/KtvubMChKGTNme7XFhOEHeSZU3Rabksb1QIO1OlSGLytGgjMBYy0Os091SwyI1+JEXTOcQ0TcUZN7dwQc/49NP1eiUYzJF0jQtlMAV4pLn4ixQ==
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 111 of
                                                                                                                     133


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   925 Silver Adjustable Smiley Happy Face Ring | eBay

   URL
   https://www.ebay.com/itm/295446238311

   Collection Date
   Wed, 09 Aug 2023 19:56:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XEgVWlVansX7y7b5D+6kmQr0xJoTVG+uTeJ34JLjErSAVmRRMihuHqHCXdLl1yDL/CT5i8qKCTBqxt9iZAEWhTCyOjfssDhb4k/6SuoGK3JFXAtPiOYaizWJlh2FlznowVtpUQ1SnM0S/LL9c3vT+d9vRcGGx13dSxoihKkhVxu
   +3dChQmcNWLQKQoUOMER16aHiY2gf6M06bNYZgW9qppHwuUfYCfBv9EjtZ4C6KWAs8Pr3w5P4p7zbVtIRrCBqiwX12N9jgvMaNiUsUims8RnnvO9BiRU6hnihI+zoGJCBbGbwTT1aqfSVbgbU9SBo3rUD5ffWgBNp8T7iYKLFkA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]295446238311]]_Wed,-09-Aug-2023-19-56-41-GMT.mhtml

   Hash (SHA256)
   e7737d52d1823a990163306dc71a59de15abecafb55ebed98da385e089ac2fd8

   Signature (PKCS#1v1.5)
a1AvhlBNQFAvdqrSJyqfOOrOgkDME5Zd7+7RRNz7JSALWTtPIqkXSIwvhg+uqzU4sQv9od5r25EWtutbDKv3NPpYvNh8wtvVv8angKsW9+Ewhx4ngu0sWvg8nCjHOcKbKmzpOPTSs3bZcRkWDL0sef7AbgbI1apJH93w3M2XHrBa4/JC0FC4q6XR4UG1lbmt2Zo6YGPVu
+beSc5a5drMSAQgU8nvBFBZEhnTBWSXs+dCHbE1ez3bZ+MvJzXi4oxFGA04z5DsAt7OhyOOC/o8lr6L+6pm69BUU8zg1FzE2yuJ/KkjxcSec40HGZdKJH/kMKcSpq2qtHZpkyDP0izdKw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 112 of
                                                                                                                       133


                                                                                                                                                                                                               Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 09 Aug 2023 19:57:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   193.27.12.196

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XdHhST48WgVckgdKUS5C38ns4mDDWmvBIoqzdqsBa4DqDAHOKYFKvcTvMNACkYZmuCgJJ+d0yPM7wVewji9cLkiAYXgdcpFTfCkEAH0KkoRxvsqZShm96KcdYYaHeYicTMb5ysSiskuOZvF29KTP0CC2dGThO1LHMrwRF22EwJSI1tv/B+/
   l3oDEwEXSxKrK1FwoQGoDdqTvljlWEuF6UOcNngZJnRmNJQ3QvEDr6eWCaMQW3QBf0ZQrC877Uc2zI77TE2IVXJT7z27JrwcFQEOaGxrxOhe6/zbabiQGc99FEEthlccXW0OC7eorT1mbojQ8B0L0hxj252FxXIfx3w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-09-Aug-2023-19-57-38-GMT.mhtml

   Hash (SHA256)
   9054423d324a8cd477ca124a43933df70d4dad7f5b4158c7297941afaefdd672

   Signature (PKCS#1v1.5)
WlAivO2x/uSWBCrF+SoaOLKOiZloM6rzHwXrKL41ifP04xKhUeh6sctv1/qANojGdnGsIZ/FpKYBwVWnuHYtuGyuaUEfCv7n4KQgR6ghDItF8MM4Hs+G4iFYN8q7yG//cXnrZmqJLEoN/Fq99zDobbB2t4crNYJjzGsKRSWAkLqnUSofEptug+MFqTKarifUI6JlsFHM9tootY8Xw/d6/
pLuQLc3MO1SHmFeN5Xt3uaEhg1Vvm9icMvTjhuwjk+gM6jJ/gXqlfTasj1MHtr3bjfGwVngwlIv+5iNkc6MP7tqA+r2mhgGirwEFbLP+hwXqvm9UiVUHUuo80raXu3TtQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 113 of
                                                                                                                        133


                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Vintashion 18k gold plated womens beaded chain natural sea shell square smiley face stainless steel pendant necklace : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0C19D8XSV

   Collection Date
   Wed, 09 Aug 2023 09:06:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   wWOYsQWk21dAQmWaTZahzZ3D9laJSI3TcwOG10JArmkmRLMs3kAgs6AMKgA5dSYzfXax3n7od89QCh769sv3PLdnVedcXokCrJwu6uj9MY67+uS75OzL21O7R1pNlkPsO7Ln2n4WYNFtAZ
   +ZjYnyvViuXXZ6yZWSJWWTVBOwsup57b0jTZpc4ML5219z5vpUpoQ2B5dBZSS6zC8e2Rn0yezWfQieKfZXbWvBePlX6YZa5dH2s+lIYzoBxeb2v8CdJDZOV305/dCBPlcjfDoIZv53tcSqEzBGJc34t9bqdDStaNwXms8bm9kj0qoAoaR1TX6ZyQ8PlhSCD+lb6UHYfg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C19D8XSV]]_Wed,-09-Aug-2023-09-06-11-GMT.mhtml

   Hash (SHA256)
   a5275cec943c208a2c744b1f60a4a913a5ad12dd8a60ea5c989b2c32c2f1fc72

   Signature (PKCS#1v1.5)
RtyR0Do3CmaoKWXhQVE3XC73H2hZcoiOXI2Y2vaBOGqSHYxgZLcJIyyzGiWxhU2x9KzyUsIw3Dv6UHcEMPpcBQFBsNkGcU+zLzzwHT9Csy1CMs0z7cW4kcu70wk6QAtAaR7kK7mlB+tXQ9Aq2DuqxPane32jZc6TQOC5ohEJ1RZwj8ShenfMW3rmWd3Tg
+Dru0IJRf4Y93uK0zMnsM2tI5QLGYYWEbnD8T5V9DaxtRq9MczDzis30yttZxDqB0uUYhj3DImY+e6cCk+kTNpNLO2Ku5aHFoh/RYUkGqTkpi3L7CsxKqvI0nw9lttjiTuLxJ7uT6EScihMvpnKH0KWzQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 114 of
                                                                                                                       133


                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 09 Aug 2023 09:07:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   xVDKKNOoFcYM7hJ7KKrPFn2KtXPl3sUx5sOwWYhVTmV9Kykg7dxC4g/sr+nKP9wR6V/Rd6pPKhLsmnw2iCUOHg3cxADxV39R+vpS789FRRSG+/JXIl/EVteqGdS+WZfyha2ANameLqsHhlf3jzdq+/hDm3aMzb/yCpS29HXWc4jka/JS54ruLgiaSLkkYweMo/bucouM
   +ASPvqefJwl88wdGg0rlR8/kCJI39BkIptSFn9yLqN3anbvlRjRN61/cnyvFQRWbwzsXoXZsbC74szSEb70dlTB/lrcKvZV8Zxv6FMEiu+i+px1Gw5Unoa4b2JRVeao3GP6lgeNw4n5AeA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-09-Aug-2023-09-07-46-GMT.mhtml

   Hash (SHA256)
   a2184f87aad5822584a1061dc0d7f5e964294de7b121d58538d8099739bbe75f

   Signature (PKCS#1v1.5)
veTXEcOpKJhWhAC8bXRwuAsbrSNPbUGVWSrXjdxGRha5NhfK5x/5ZW+EnkSaOMTQf1bQDtvh4qCXRRKJ3POPUUpoVWuIB1QAE6jtua3lZVWDM2C6Cgpa0K4znK2/ZaYFD1LZZD5rn0yqASM8iRngzkg2mP7ujX7zEemdUkhWYO0t289otfoWvMI
+23jknVkzsuLYoZt0GAlumyJDfwqvukHGo2x7VpVnuPjPWz/Dwn7WG74S2dUGO3CKcartYwRD7X5Svyxz49DNb8Gi8MZJNHShcNiGglhtuqfZyi7owvu6axsJWM1KE2AXpltrNTH/a908kq2t2v2B0iHmZu75nw==
                                                                                   Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 115 of
                                                                                                                         133


                                                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Visgo Preppy Room Decor Smiley Face Mirror - 11.8 Inches Aesthetic Wall-Mounted Mirror for Teen Girls Bedroom, Wall Decor, and Dressing Table | Easy to Install Peel and Stick Wall Tile (Yellow) : Home & Kitchen

   URL
   https://www.amazon.com/dp/B0BYJXF5CS

   Collection Date
   Fri, 25 Aug 2023 11:55:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VBY+ppnbGrdvr4T40r1xJroPYpY6mpv6VnaIbNm8K/HqN4WEecQQ4LuAgBjhibk9lck1Twiq+nKGSUGC/tuHE5T+2XmOTqJ+paXxQxQGQDUt1WIBSL/FXwnntp9j7FjUYcmdNWJuQl9I9AeHmRw7tJcMut/xR0qtb2rp3OSSiT4tBQ/Ggoo+cKndq6YLUcn1H/5gkyJHiL/
   wBwmxSDaHyKwX44vSEiDlWWS3DMns0BMGiBoG5K9TsQHGhWjEBztzog2I1T1LhDGpre2jVmz3CF75CB3Rgn3bqPOkt1ZO6gyCvelgJRDXhDmq43XVPbKK4yAVMAGG4Ls5ZKalgPpjWw==




                                                                                                          File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BYJXF5CS]]_Fri,-25-Aug-2023-11-55-11-GMT.mhtml

   Hash (SHA256)
   d5252436171dfa44d415b034e7cffffa265227744023feab7317e5c5a3ee1c4d

   Signature (PKCS#1v1.5)
tsduRroMcbQ77aVhp3dEPU2bTfiMrcN43m/udb8fSscVfvlNBQldavshRnKPWfsOQkvbEDvcB6DVM7uy1rQwHTsfpYxoKN3yocAlfAihXtgTxKd9f5AfyunCONNOlfHS2J+WA9EZXLQ8ggzCMgA+Sq9ZdBsaYaHSZCNlxlqsHYsMuuUO8B8qHgPTAMmV6cbnlagGgsxYYPNvl1s
+QjduxNLuppCyAirqrhNUvkDExJIszW6PXi/6GLZGyrJbJghlJkCbGEdgYwNpLpUoE0PYNoTDBAoE1dAG6lc5ZzjsKQUunYGsXR8AQZQR3c6+kEPwTo5o7UZewm4mpJ7k9p1vhA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 116 of
                                                                                                                        133


                                                                                                                                                                                                           Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 25 Aug 2023 11:57:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iOmhN98HZ1SMnZyHAr1MGecF3PrlHZ1vMWDLYwtdSczCaK0Lt0Q1SQ75wTin9ppUslXC+rEPtG2sh5rqAdfsBPnoMh7jhuInu5NHiCHIVUCRvXAtv6vE89w2mIDDZrSiHHKq4Ynl7ke+pWkedVaD4Wv9ugWYKcYfJ2hdyOvcCxSNI0CQc7L9+drzgZ2w4OX+UKmT6Tt/hCigqO
   +xpgbtiIkfsi9lW4mB9OO9cYnkdBxy6YOWdde6dRRtkuAeNTJW3T/Gtg3Bu3fKeYgu/NhaETzewrdsWMUMSNpfs4XzB2hBFGVCg7tJKETXSL+IkbjBVl/bwYbq1MPxuFwwDa8inQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-25-Aug-2023-11-57-00-GMT.mhtml

   Hash (SHA256)
   5975e3de33ceb472ffb3f08defc1cf67dc52c5fb7435e2cc29821eb2a43b9b66

   Signature (PKCS#1v1.5)
yLa9e+ioP9fedIgnJLyNwZM6+bEKq8h4ZZkn9YfCn4MicmCjT+S7iGgV5Odv5+z8hl7aqFwhbWZK2DAUCVFup4dbq1JY0+PlfjNdTsIUs4Y/YsNIu5RsfffOhcC3KKs0QyVjyAh3QYfnI+Lt1WnjItJD/bsPeIBuL8P8oogl3UwqwEhdSLWdCZC/kl/HBKkWwrSCBfpRxV15uRgf/
Ft7R5w6SdHEzKK9kMYjeMP6CXWx+9yY6iwFVE3ZYrvUi+qDGFgUylt5t/8xmY9QNyydu/t7vpIpMlPG6Ata2qWfiumzKvgLE/9H6H7joUw2Pd/gFordHtmkF7HPvX1+eYPtZA==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 117 of
                                                                                                                      133


                                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: AMOTON One Happy Dude 1st Birthday Hat - Smiley Face Party Crown for 1st Birthday One Happy Dude Party Decoration,One Smiley Face Birthday Hat For Boys/Girl,Hippie Birthday Decorations : Toys & Games

   URL
   https://www.amazon.com/dp/B0C1TY7Y9T

   Collection Date
   Fri, 11 Aug 2023 14:28:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UmArisq18gs8oMyzoeFix3W6iEFf9FlDgMtjhnCZ8wjwssVehD4rIYC9ASOHUnB99jJo71i9W5/8va/pnCMt3yiIDeuysvY83U6cwxtiiGgXk7k4G5FUJorVPvzqZ/FebuT/PNGuoK9+ipwAiaZ2EkvEm6/PV4mrU43Z1he2hKfUe0cGyuBNtAM3xNmXXb7z
   +R5qxjbMTfif1zEx30lI0NtCO1iIrP6TRKlWKDM67xYNfWfGXxzNFZfokU8DX0xvpyt0qMQsdJC6yl/aXE94xHVki2mK3ahTBBZsbc4GTVNXSCqDmHznnP08pnAoMop54IVm1/B/dI4drEUDpQTv5Q==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C1TY7Y9T]]_Fri,-11-Aug-2023-14-28-51-GMT.mhtml

   Hash (SHA256)
   2a709d6f118d8720041f11ec0e4c5e5dd0a51d64c17461c5af203ef56686c611

   Signature (PKCS#1v1.5)
Y9tKeZJCXevsGKUvGk+XYzy+6VPtSZdLyKcGSEB/9zqfJj1uCAbUMMz79GNn8NQyI0JHIIjzEUn2GhHyY3u3nnv3Wt4+vEuekyOopaZJhlDow7aCJg+EomrS/iKImRCeoA8ZzQAfw8BAdzwWE2LMXCbBj4SKlZ8FfJ7DsrgNVLjI2x+hAr6tq7oZQE1sq8ecLwZKWPkXxv0NMBMn/kdLGrA3gG5EPFZ
+zmoXh0I5R992U19cILAfFOg1kAF5oH0IO9m59ZFX+LvWFZClbTdDbeUgMwIyORhpIwkD8PjeLtZTNpFpZXTnHiTpXAPefaCcsbGhkh6ERP03iQgqON3ggA==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 118 of
                                                                                                                        133


                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 11 Aug 2023 14:33:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.167

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ViHXZrHGyfDf+Dlpv8aNQ4XB7utAeez9x0NRCzgeMDjdVHYyELH74+kuJTCoqYuW0ZFP3N4dzxvVwEdMqGTpa4AqimCkpB2xQZcEOcKOKzpIjpa0bCX3k48GsZwf3WB+vkJ6G9XwtedWDdcIlsINX32qy+iSghSbGS5VEwvvzlhnpAbSw1o5tno5KHUFWus1qyD
   +SzJE4R5MGgjSDo6+snTH3BeVAkvARATTDevaJy/g43PH9FWPXaU6GQ7aeU4OU39IJtC3VkpPp/U7N+I6NfL2Rzg7GdXB8maW2AmlAG8ygDATGml4vUk3akHFKtFLvOzGell1oEgeMo7hXsINag==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-11-Aug-2023-14-33-19-GMT.mhtml

   Hash (SHA256)
   bf0554815f2b759f5df579e626733537ae5849dc93dd35a0c9400e6b9caf7fa4

   Signature (PKCS#1v1.5)
gsEQZSCM6dOWEYQ9mEpy2h2aQGRr/1RmKjX6hyccIXzQ+u0VqT4K0NaYCDgoGIqtCH1FRqxh5J1jldVuVE5YEvhCyZLXqTuY6nZeAsu/ISrrrmjIfdnWh0rI5NZ/HevcjSehZJfbeJVsuNtgpaKsttkzQ0irqybKO6eG+mA6SFdOy0rioW9HGlpFlpWKVLQIi2/mJScK59B6NG8iAb5z05w/UsM/
+HV445WmTZ2JI9QFE2Um8Gg41nC5lmzSNeVVDV4gVulfeNQE45JKx1jYy5RasEocITRNxOY993obfeEIYtXt6rEbqDw6lPKNVadj08EZhKLvK5rPbEK1wtxRug==
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 119 of
                                                                                                                     133


                                                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: WCRAZYE Layered Smiley Face Beaded Necklaces for Women Colorful Beaded Dainty Paperclip Chain Pendant Necklace Cute 14K Gold Luck Smile Choker Happy Preppy Necklace Y2k Jewelry (White): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0BBYSRLP1

   Collection Date
   Tue, 08 Aug 2023 03:25:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rxz3K1o+XXP5Ugy/s1cQc9MzBBzJ9kmfWwP2JX3Rk9X40m9YsAlGdkmCH4chVVcWvWA3zwMmjHwBnn64aEtmA9S9Iq+S6lM4qesXw/
   y3MjRCujmND63dDF51cSK92VxklprjOw5ajlXmZRXmJ3+zr3xSKvGNUSfZRk8fPcVdhlcOg7rBUaCiX8hqO4uk7XX0mRz4jNVeSnaP7MZlZPag1aZdIWcpkOt3shU1VinSxJLuWVT58GutXMTyg/Dlvn9BPblRmkOV/zpypgnld+TERglKSsShvaL1k+wZXtpfR7x9zXP88DugQRpXJV5Gccplw4fd2/
   PCvdcNPlZImayMSg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BBYSRLP1]]_Tue,-08-Aug-2023-03-25-23-GMT.mhtml

   Hash (SHA256)
   baace6f80fc7be65c6900b451257f8d1028995174ff5064525a35d96c29915bf

   Signature (PKCS#1v1.5)
gVqR/2lOIyny/P/NFCYzsoY1WlHKnjP2YTbFYt53HDrHBOTvR+uOsexVzobze82B8OxvRRP7kBf/Z3wAsby6vU5fc7P52sMd98KByLRBWF/9mOXW/XgH6Pc+/l/fMirW/7efx5jQwC9b9nNLecmncmq6bQg
+lRjMvwCgiXrgwPWl7x7LhCMLqH6IQDMPvsmkbltZbmfGbRaEByUnqM4wgQoEXPPQNCC/Gq+sG9/fCDtzQgMECxw84k+gzYTcliCxg6FY4pqwk5M++ZaY2fTQNNsNXDXkNQcV6bKfazsA/6cn8c1qtecZ3o7jZ23+8W8QAErTSxLFtl7hZ+pXSOMMzQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 120 of
                                                                                                                       133


                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 08 Aug 2023 03:27:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ehXTaz348+LvLeZkIj14wNKCDLfDR9/zC/C/sEgrW/KM3eXe9Xey05ZrQdvYz
   +Hf3a4qsNd79q7XpbfWcBkYsVS3KtGAc4zW1RbBhPnvMVHuvohvKRoCyBGWLRmvclAiAJ7JiyPBU5eARkDKj0A8EpTz1LxO6TYgGcLuRqhoxwkjlmLBZVrR5pzcugNtyUdRoVSDQzHH8eVxp5rnq9ax70zz6PqWpiUv/AScAVH749arZyV/gph7gla1ennQJ+B6FBgIGo30iyI7+mXdFMPalr7/
   QWNHMw/eu8yoUDIFWDVFzAowjqM75X7CBd9N8zDvotljL5NdwrbiUyH7Of/igA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-08-Aug-2023-03-27-03-GMT.mhtml

   Hash (SHA256)
   3676e3768267291bb721ae189d84adfa7835ad0689e38fd65024a080d314d794

   Signature (PKCS#1v1.5)
v2B6GYF0b+nDu+Crhba5TfOEgd3NPO62LyDzZxVFn+qtLez7kuB9eZzQH9/703UeUmqi6u6HwDxialK2RhHW4YhqkBbJnTziA2yPy+sKyGdW5rZ9bCmnCVj0MNRm/6NRsdhxLql2fYpPHjeiyD
+6G4rXQO31CFFJvKUlyWDftDrtZvsGvwElqrYQnTP1BLRtJELWO3mJyJNFHOH5DXlJTmT1MnUxJKgRHuh6/oFJ05r3ysxfID6jzG06B8A2nUW+k4PyEKoNTAmTxfM7Cl3fWCVhDvskRCa9+N30zNPqe2QaY3o06MExcLlaEPQOy4DgyAFXzUDCDodWnHtYQk936g==
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 121 of
                                                                                                                     133


                                                                                                                                                                                                          Investigator Name: Michaela Borja




                                                                            Evidence Collection Report
   Page Title
   Fitted Bandana Yellow smiley faces,sun hat head wrap du do rag bandanna smile 5060255302125 | eBay

   URL
   https://www.ebay.com/itm/392091920840

   Collection Date
   Tue, 08 Aug 2023 16:31:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   P0z34NFRZh0zSmMMYZOtA5EJzQnmMUahnNEmPhiIm3cLXPuOR9knQmyPPd5uFMVQT/28VlsPaYyNwt/prUiMd6ye11Ruo/+YadG9eZhLs+sENB5ZpI7PcPm1B
   +H4ZcaCTWUISpWXoNW6s7RlqNcE5O7uWLGNu2bNsHJuWCYaaELJWxksAljKlSZag2wSMLo1N4OGjriHGnLEMmPQTG7R4SY1ZiqHcCHOqueYe6h1mDKzAX/OsaxQctdZT5WFH/qX6IjtQ1fkLxwecFg0tuC6uIFCiAI4/q1t6t2E+HSY17IIgyZ6HPd+QKDbL1flYV+9UFtvCTpqFd8LipGiH/
   AgAQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]392091920840]]_Tue,-08-Aug-2023-16-31-26-GMT.mhtml

   Hash (SHA256)
   413c1f7155599694a6dc1c402464404c7583a94323f229357dee0fad3371566a

   Signature (PKCS#1v1.5)
KYD3mgYt7rdwPqwNcgoMkc6dOrzJONs2DstgrUGT3jvHgf34879hHOQ3faYOT2wJbN6GdvJpxXnbfpc8GeBgSUhtK2InZn/aMxgN2xrDPf4gwo2WzFLVlWMtF7thTTeZ3iZvNPJTcerK4+nuyStEzKMECr0S2esN4YTYdtiG+3vzfYGnVBhOt/9wsUYITy84dZyvRqg
+XiozdtfxWnpkKd6VaxhJ9I7VI9gG/ma8bdQMZJKmFR6Oh2RiEZV7igxzTiR1s9sJFC5ckP7YbmnctuRGLjIfOvBFh7eiIIMA1eZPeF/fPugs6C1aOVk8of/Z9PR4dSONPHMjV5lrE3s1qQ==
                                                                                  Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 122 of
                                                                                                                        133


                                                                                                                                                                                                             Investigator Name: Michaela Borja




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 08 Aug 2023 16:33:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2a0d:5600:6:79::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UhuR+WPmAGLnTdA84AYm4ty6idicZ+6EFQe2DsotLq7+Pnf4T2PeM4GbJ0pGH5zM9WI2NKaLI1aE/qsBFTNT1d0ENCAr5QeV+rqwNnw8EkIvVH3uB77E0S2rxBCJvwcCeuzgiyhcq+L6Run24Ostt5duRRf85AWeM+rNzHwohicxEKarl3yTSy8thmtItb0W+IcU
   +xLR92pFbDmvyyc9J/7Kim44ccJQnWABuw2Lz5R0Rrq3tPl89sQs4VJZPn3jXbtwdt/OAEZROYDxdecBlLVvLGh3AsY3V4T4PV0ZAiWxjalP0hidBV01i5NcLiFOG+ifWxrNRDE5rDKvE9tWOw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-08-Aug-2023-16-33-33-GMT.mhtml

   Hash (SHA256)
   d811d1544419ab8250dc7345f69d0d02798d2c285989c093eaf235531d2b80fb

   Signature (PKCS#1v1.5)
gI79v3bHVyTvuKSVzTncny3xP6Irs0tpFzfnmpJwHqBCTbCAZTad9+BrqIk0++0OfhgO7CAQDykzyn+esfmdjfBsER0RPnLPbfKn/JZXVY4ttv5yfaM/U+HX5nTFcL4qnK40LM6baixnpBvCr/DVPr67kb9F3Ps3wd3EPWr3BmmuWbWFVfh0G8lzvXBplGC1hAqSw9/9hKtd/4xSsRPWsUIoR
+aKD9wfZGXo8M5QdFpbAVGkl4ukKfi3EdITC55OUtExaGylU16mOVoUdq4TpqYRsmHnNqCB1SFqnjizrMOC74M0cJvXvF8gBi9o4vHUu84Ah1jloGd/CN0XoazLJQ==
                                                                                      Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 123 of
                                                                                                                            133


                                                                                                                                                                                         Investigator Name: Michaela Borja




                                                                                   Evidence Collection Report
   Page Title
   12 Styles Aurora Color Nail Sticker Star Rose Love Smiley Star Nail Decal Abstract Slider Nail Gel DIY Nail Art Decoration | Wish

   URL
   https://www.wish.com/c/635b654332b4aa530ddb5d45

   Collection Date
   Fri, 11 Aug 2023 11:31:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49a8:7700:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U1V084yqnV1Rw7WTCxthvyGLrC7reX6tA3mSeWtZkkm1fxXuppxCeegcuGmP1aej3Vb0PTv6hZHXLQYhpxmSb67a+eeFgfEYOll9DZOzKC7Iw5SZvgKAQJ+Y7uWIadSIJZZ3PfWp0q2oI+WmnbK+crKG7hIe1v76ANMeFrfvW+hvA2FNkzE
   +TvhvriFJJFLDOF8U3aTwltBIlPqs3rxrpETXujIQ1uD9jW5vKNceLxEQ4c35zkQGBrX9NkhpZdVgsW8H5r0Yptqm/D/5UvIyfaakvGCs+CFGWFY3nR4mJ3GlmIAVk9C56vO2zfxMukAbZxdwFVxC0+MAKpGbele7rQ==




                                                                                                              File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]635b654332b4aa530ddb5d45]]_Fri,-11-Aug-2023-11-31-32-GMT.mhtml

   Hash (SHA256)
   b487fbc375216741ba0df4928a35b37c05eaa1ad7cbad0fda705e61022dac127

   Signature (PKCS#1v1.5)
NI34wWKtnlAaOYmACaS7i+AyGiUFcohRa0tdnGX5IppxOZROb3lL14Lon5YCVSgTi5FlfH7/JvnqZFNQ/wgM6Inc6Q+kKVgyINID9J8yiC0dAE9bIYauY7xHjy1xyxMXCQ0Wg1ZEv91SjeZ05xyKUa4ZDvyQU/TLxVVOjJgdcMZ
+s7M9028d1VqFjwpxtn6e7TO3Hws13PJvcDy1j28U3K0Yxcxcyb1HrCyW1HUnBGFO5O64NQp24tD3rgr70usgBuJQZpHDKycoY3V/82DTBOCMag2DZsog/vaVis4xouIzytLqlB1rfadyfOH97oRkIJbHUdbj4HrJTFDiPimgBw==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 124 of
                                                                                                                       133


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 11 Aug 2023 11:32:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:49a8:7700:49ed:2e49:843c:fede

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MD73+BHDe4CAqYd3SKQi0NGkC5xhKjxBl/l/sW3Hy1wvEuRhkA8dKAF+8IFBPwV2pvTQOdkpS0JdL4H6GyQqer5HnW4Mhu1v1j+/1UneRwD78RL092F23EVEpNAzrYqH1cz9Q+UO3ejsE8qQ37EDRkdOTjP1a4Vmh/IlWN8GnbY4lHJVsJvlSvmbayzrRmL51IZ51jZtW8MjEmzbxxzoqRym
   +6iOSWLSuLFmjTfMfB2TL9C1vA+NP+fwtVxBFQT08HQhdSu+pLKm4jUElREoNzziDWBzNDmCzAaWfaTjSDwcKW6Enixigfoki+bEVK6dCaIc3T37eZ1Zdyn6bTQPpg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-11-Aug-2023-11-32-38-GMT.mhtml

   Hash (SHA256)
   96794f9d08705e4786f30c190aa1bfac1a0f3a3a68977bc577b2ee6730140661

   Signature (PKCS#1v1.5)
hXXd561DvoRvy3bxl9CSNnKeWCujHkm2Klcj5ekAHsaiGaK9IP4SoHyRXrpDd6SkMw5J5m64k2D79cX4kE9NymLPEp7KydUQZVpLvtR6ZZ8nguV7V217n8n2Z5ld9gPdnXiN+F/QIDkCZQnc6Ols1WSvlO/IwMM1hO/
E8gmG6qBnu5XjbvP1SrSZDGaI00Rykc7VjRFWI58JcToZOkfpEDaLhYeSQqQWmt/KEGIOAyOnNRvJHvnw6yYsB/rOITMSzrWTGPcHW8qdqBuAnJVXPZJzWJvbUWprhHrBb4KEz+Ysn3dFflBXxTYpLXjAbbE79QkEEnMQ9lJoCku+17UFDg==
Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 125 of
                                      133
                                                                               Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 126 of
                                                                                                                     133


                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: JOY UINAN Preppy Room Decor for Teen Girls Dorm Room Bedroom Decor Aesthetic Teen Girl Preppy Wall Decor Aesthetic Smiley Acrylic Mirror : Home & Kitchen

   URL
   https://www.amazon.com/dp/B0BRBHCNDJ

   Collection Date
   Wed, 16 Aug 2023 13:36:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ce5SU8bI/dqv2LSorNSRMPviMD1VEPUejI2qx8ZtvWyyWyxJPm4VcHchdaqTj6JQFJS0GT7m2hoteNBEsMyN9pVft3y4+kK3tcz8YUFejStS3AuCDfVrwZ+2CSxF+pdi7Kc2RauM1UR/V/9QMlxAfE
   +iHNP8CyqIt8DR0rnvGgoCyLQoMcEb9YrhxsJFJAavo6ygqaHGlMEThFoBgKA5CpEta4hVPV1TlegOef9l6DB/WxGA4dMUFuaolVWchhAHMoXOyuMkgwiqYlrZJP8AdRQ6o8M79Pf4Ip0mgs9bkvz4HrhoyweYMQzDrMIkqSNmnM4uy/B1Iu52xv0KteNILw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BRBHCNDJ]]_Wed,-16-Aug-2023-13-36-02-GMT.mhtml

   Hash (SHA256)
   67347ec640f2432ab2dffb4ac80b5f5a77e9450e127673fcf6a3bb56c73809da

   Signature (PKCS#1v1.5)
i1cKtvXRwx1S8/bgWDsCkDQTf8BF/l3McfDXw1kWfiZpKCXwId/K7jzVasBmxgrTgNhxEfpRBPqbfxSeANoNWA+JDeIPGwqfQ0EYJkhEzLZp8pnodSEguBB8FL4QOUFAYmcjWa/U9Odk27m5Js26zcF9I4TkVIWOM+b9rwrlpg4w5WWXCm5FVCcOCfS3/
Cs5gu5nFVOhZdhJXpLH49WUQGJvdDYWcBACC8UWQNqDkdPuxOwBjeKZqisTKm+qDi9AcCckGOPgbhfilzx87EJWLKHKlCL57eQWDmZPazKBwkkzoPPdiHX5HV39NQ8j0PJkdceHsbZxiz+dYCkXVn2YwA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 127 of
                                                                                                                       133


                                                                                                                                                                                                  Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 16 Aug 2023 13:37:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/115.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UcsSRy31jcjkmg9eo320HULXhTBUbARXhiAVmRw8X7ZXNlJ5ZZ0oEJGpBMLV3QoF3b50M0IZMmSvFCy9XrzCPNWKk5WGF4KDyu6qdqKr03o9nVtEqnwf9vXlMKQvO1/9XByJjjtifQkWkHGnBzw232mUBJ95cgGH4NKuC8A7EJRu6GwlxZ7RMwn90c3eHGW7hanQBBycbPjbWOAMM58wJq
   CS/8GnrMMEIotALRjGvRpXagJa52ihaECF4gdBrJL+0l+2Rx9BQAXLgSmuTds5xMOPUF/SoiILK+hWHXNT+QR4v9FDfUJF05vIn1H5vNLi0mgeqWSNNZKA27f1BNR8tQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-16-Aug-2023-13-37-46-GMT.mhtml

   Hash (SHA256)
   56577dce665ae50d94a7bc05a40b904a2cc5353b52ffe44895fd68162f67b523

   Signature (PKCS#1v1.5)
qxpaL4+I5LiN10fvpdyfGzOPBfgi3zNWWQmIFjau194R2/Fll4N/kCfq0vFsA1q/BCufMl/4/12mSt3FCp0E8mpPdKynckQ34Jx6k75YIBo9ogna19nwB07nJJ91GN3admBkPU41BaTW2KMOGW+PeNyCo
+x9CZZixNcDjUzg9m8hg9ErId3Halo44Jq2XFlYtn78puPcjb9nR1qkEuIBL7oP8ii1Mi7hxEdDIh6dL8+YknyREXud1KXw3qsiBWTF6e0L+mG+asDk7j/uCxYOt4wZ+AGJ+SyIzYmlKduV0qoVVuB20IOXj9rLYVOCC5Ce8lFl8ad2VlxRCFWp7r6T0w==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 128 of
                                                                                                                       133


                                                                                                                                                                                                           Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Ladies Womens Smiley Face Slippers Slip On Faux Fleece Lining Sizes S M L | eBay

   URL
   https://www.ebay.com/itm/185973048505

   Collection Date
   Sun, 06 Aug 2023 03:55:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZVdo4AH6UevJjBALDnP+D1EGtJLC3e0jk+IOiKXedeOqh0kLdpQY2840te7cKaNZwXOWH2UmDBci6Kv/X8LKiMYCe6L7wBoFtTbWOnUnwg0bYtfLcUAJGAHjpRU6h1klgRxfyhDhPpnR1X+E5laZvev+x2w6bOcgyV4kC1yyDl9wjZzIETTt/m3lNmL/TYm0F9JGDS/pRzFJStYz/
   c6csu4vtwXVn7Se/jNs9RPKQTh1bwfMhmScVlQOmb217EH4MBrg2u19GcYEGBPOaaanOt6E6gahg59YHSBKWk54AOH4mal9FkzAJTDx1MMh6Pxqw3prMD5VnsSo4YEtNeOrRg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]185973048505]]_Sun,-06-Aug-2023-03-55-10-GMT.mhtml

   Hash (SHA256)
   5db9fb796e1299cb847485363ee544902fa289432bf6d5341d7f4c4a28d06ae5

   Signature (PKCS#1v1.5)
cMwEGmuAbDAlS2SuGrL4PEkUYBcPFrlax21FRiUFlkTAEzqxBqqnl2x9wKcxwzhNxNhOgVU8SACxtbxjGJ1KN/2w3o7XIg7DjbGoVKr+5qqxQ1Tbq6ESwcN9lqALrLcL04Vb76x9KP/IatU3IAY+DjkqgQWbNxsfwS1vvAlUKfpEMGV2N5d3K8ME1MqrOAYHMVes5RRt5Yuu4mavjdOQGnU8ZS/bxWy
+D17gs8yl6p4oif2k2MDadR2YKDhuIpbDh9pnH0Ir8/AEJCb2qZQN07rvzuxnOOSSLojqZ/7/svdf0R38meJSCRuasIKYBPbWiztpl2O8Xfdfg7zp5U14VQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 129 of
                                                                                                                       133


                                                                                                                                                                                                            Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Sun, 06 Aug 2023 03:56:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   XvM8+6uLzzHgZinlR7HcYyFNPFZj9EfJlfPECIGdVWwGU42B427ux22cJ6ETY5PaccQ7d/b3yopQhubPu62mBpFNbPijFmv4U+VCXUvu17lHh8PTAlibDn1gHY8Dlyb56H43Jz/OARClvOFKB/LPlnGvXVoQ4v762MQk2osini2J0vJf10sg90XcbfXrh2S0q4CugEHHGWyDMe2abOOSP4U
   +pd2+wKsPVcZUzTKVaye6g3cZoySrvoUudSab+zHn1hshTYu9iP+Ed5TzxQee/gBc14nZbfJesRteJuHfcsJKqsEg95GkYkMPMVZfIHQ9qjHcbutmCpLZGvXpPbVDeQ==




                                                                                                 File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Sun,-06-Aug-2023-03-56-09-GMT.mhtml

   Hash (SHA256)
   50a0cab647e9e026cc0eafc83013e4fc1b5d959fb29d4dd10cdec8112c491c15

   Signature (PKCS#1v1.5)
X3S/tUPMOKFTIMqEVEmm4VDHS6HoavTHhitdrg1pZj1lUKsSt9VcPlJRVoK4ksggJ5rr7+zcnKIk2ebT83nq18w/Y9qw9bnfKXjhqQAUfbxds8M8+nS6Hoo4BP+ntIjmXxXDw2gzB3lfmu+2Axeg+q+CrLVsP2I6LFNdlQwQYZ20vLECuwah4IDSzAkt68aGTq8DEwaMH
+tIS3EphalslcK0qgtgeAcnAhylONV1WyjIS6k721w9M78nvctQTM4wdRcGwBbeawecmj9xIaKi61QSAdkPQDnytWFaFMcLIid2bed4Lhckqnuf/nyDlYEhB5bRTMRKp1ORQpoyn2kPog==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 130 of
                                                                                                                       133


                                                                                                                                                                                                        Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Smiley Happy Face, Round Magnetic Plastic Shark Tooth Herb Grinder Acid Emoji | eBay

   URL
   https://www.ebay.com/itm/193891110606

   Collection Date
   Mon, 07 Aug 2023 12:03:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KcZs0TmWbZeN83Yid4FfOTsdTDIPIdcO1cQ0YvHOQuQPJ5z91QWaO4Qgyq36WgbxwFZW3Yb170exZmUrLoLO3s8azqsUUzi325z7XX2PDTFbo7wBbBGziYQU5pTjVdWkAknQaJlQXOrSa1LweARBhoDXpH6Xf8ClRrM78wfcNYYxZ1U3BT3nbRiII6E7ALcku/
   qab49N34D61/0wdqKCPuO1sQFVfuOhnA/taeb7MyH5j95tOT/3loRVkqLHLiLGDfpy7qJn7HDfa98dm/lOyX4mfad+oOPJg00IdhDSTEA6GM7JFvSr+ZvVvDSKvu4x7lUJXq+TAMHDFV3hGY7Jow==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]193891110606]]_Mon,-07-Aug-2023-12-03-52-GMT.mhtml

   Hash (SHA256)
   564a36b8d281a2e2b7cce8f3bf100e2e9574a0d9ac4207a6df326f8fd8c2bba0

   Signature (PKCS#1v1.5)
Idh7kICHLFbr0G9NLuc/rU0xZKxcC+VK/EcXMFL/sG0w0QBoQn9uKmZgTto4qU9faSKDzKRd/ucKqHa1IXsDqvswTAtBJqT9Lbdo9TwkG0qLyMAwy85Sqmxn1pmcUdI52OELIS4nW4OvjBXrv9SM11KxbeE1Pzpg0/sCgj3/Iz/
M7ZBnmcYqOpIkWNzURXg3fK41VYAV2zjVdjqLvS6qX12D6J7sDzopM4yzRKcH9Odw1HXHmKj7bLtakim2yGJ4WrXYSQocrr52LbtO7wsAS7V2YLfRHkitf/twN9Qs/plsKdFyVkWmEyFXjU4G2TtX57ItG2DLODHoNpYAtQ79CA==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 131 of
                                                                                                                       133


                                                                                                                                                                                                                Investigator Name: Michaela Borja




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Mon, 07 Aug 2023 12:04:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Michaela Borja

   IP Address
   2001:4450:497f:e600:b95b:2e52:205f:8608

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MpFtYktvLrb2K2CKW5WswR2rHpsIpd4NDIfFZ2lFqur7u3cT8Uhxchh5/uLPetJibXhKXJgx600h0hy7/VQzkhE0mtu/8S/S1uukME+/n9nz5N7uoUI32dqiro7DpDMI46pvUtpAK87Reb8h/uidbgIdsj4XxRhxyMOU/b1w0kHdq4UfKbqGj1irN5Y4S08V4nTCCCOchOk0yltgrM3B
   +zFAXIois2pEeL7awYF7LvBZIsOD7pNV4Z704meRoynx4nZ7fV+AjQe5/bbvqLU+96LEBzIjyJgFqhMIZwMCUVX84JOACUKLiMC7HfZeVtZbfwKM02LQ8444+Qh8TWn7Hg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Mon,-07-Aug-2023-12-04-57-GMT.mhtml

   Hash (SHA256)
   337561d7ac7370686e504196d861fc47d899cf5c51335cd5938aa00c8fafacf0

   Signature (PKCS#1v1.5)
PwxO/0wSCRjCYJCMU9UxE0vP9kK9bTWP3hnDrG8Ex4qn4vtVgiiIfMVEp4C3MLqbRPp9uO6EUvz+xJiAgM0Axk/sFTgTcskxPuq7zG/ZGx6pSbpDQxdWrxc5ECkWgHKVnSiHv+9RCQEotOAZweH7CYR4jiUN0KBnD0ot+ZY8Kp+VxlKK5nB92ZSQohPNVy4MD
+zY0gtQ0YUjvn53SoZZ2GLE90XxEZ0BBKvfBwNmYotM0UdgNqoyZSl1F2HgDj5xYvaIJhXhY4K+tzZ9rpJZtnCwRHGiZgCDOia4hLpUXfkpABlceSFHTWfYD/eFl1g4ukhV91CVd+VxnDeQHpAWPw==
                                                                                Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 132 of
                                                                                                                      133


                                                                                                                                                                                                   Investigator Name: Remmel Jae Inabangan




                                                                             Evidence Collection Report
   Page Title
   Happy Birthday Decoration Hat Smiley Face 4D Balloons Baby Birthday Balloon Smiley Clown Hat Aluminum Film Balloon | Wish

   URL
   https://www.wish.com/c/644d463c7536595fd9ac287d

   Collection Date
   Fri, 25 Aug 2023 08:21:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NOishWM7R6CN50pvARDwTnvvMTcV8ij/v3qh0obW7+vX0TFyE7PWkoU1h+zSemtNZm4ucl6hTZN1wduedircEI8q2ePBgIc5aYpSZ97uU3VY09XRth+Wu0+jDyr7O1Qn2KaK05JYeGFTcO6Fqu99bZK9XUZJ7QrAaVPr9/
   QmR2O/3X6vRSdXO1c5hu1TX2bfio6PROTizeMGR7pwjK5bM4xO0XjKHvwbU7QSRlGE+m1BkQzq1FbRYhOJQDkR89B8uzZBWtpmaEfrvYgvEuJ73gyvd9G4poyYHprhdWkWd2jL8FIUSXyjehy/xnHpQnrubekY6TfsXaELGVZ4Kg8dow==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]c[fs]644d463c7536595fd9ac287d]]_Fri,-25-Aug-2023-08-21-34-GMT.mhtml

   Hash (SHA256)
   a88af5c20ff29927a2a7c286478b5ebfcb4402f53c656cf396ec14c209b8cb71

   Signature (PKCS#1v1.5)
UjRczetqEdJonDEynZer5LJZlPLm0gxpSF5N7jEYY1RkC8Kj4dEOQhv3dzYetP3UKyI6THyCPDdumX8s7G+Fe7gFLIzJ5G+SDP9vbk9oBSZmBkhVgM5prMzHK0/
BWORx4uiU2Cz00Ns2qSle4WqPllLrGa9C4TL5U6YUnERx45xtMLu2PmfwKIjpBYY0nwwk2PhzudfcBMCqItLCFGN9GdOkluGz5wRKej5njtT3a9xh472Y5s+HW86T+qirFmVK1uRJNWkxBfors3myAq972ke6ZKLvCkbRig+/HnEAyTOcH3hWVm2f1NH70MJxZmToB4v4lQ+6NBbLKbGsZGqJHQ==
                                                                                 Case 1:23-cv-23799-RAR Document 5-11 Entered on FLSD Docket 10/18/2023 Page 133 of
                                                                                                                       133


                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Cart | Wish

   URL
   https://www.wish.com/cart

   Collection Date
   Fri, 25 Aug 2023 08:23:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   136.158.42.158

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/116.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Zf4zpJTnizmUjLEmX+pdODlJHgxa4f4qYgE38iuqd4oi5Wni5HhKrXu8hhsNdlzni08EgA+nbPFSYqDUHP0lwkWcjMC0oLOlMUGREFAXfCrmIVuM7r8BZJQA7YZ6pqn7cPnAtuhnD/xhUosrmsV4F3Y4vC6GwjEEmLZzSxiuHqsf0U70ptnX1yrfK6jNHsMIOFq/yyqOdykgMB
   +3G0LPxt5wtm5PILXmKUeTWb+THnpn0qJ2TZzZpg/EUOoUIg4P9MhCGgLILcAV9IZdyLdQG88tPjoPtXSfckAxOR5UplzZUl/ScFGw+/8PselmXBuhB6uK+JHx1zi7YZgcKfp7Ew==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.wish.com[fs]cart]]_Fri,-25-Aug-2023-08-23-25-GMT.mhtml

   Hash (SHA256)
   08b9f36c5af965ce4cfea08446684a7ebc4f4f744a5f2de67f3bee52527f62fb

   Signature (PKCS#1v1.5)
Jjv0Ycj+r93W/
gT1RdhVjJmynE2Uz7U8URmu6RzG1Slix87SVg6OZCF9JyC0GrUMDUtTJE5KIo8EKFT1WO3sUv4YtXUrhtM/7y5ergQJJTcFVxeKInP1MbXrsiZtxb6moGYHbhLEYdtCyDhvqApY3CyeEmCB0VWSE4bPBTtTD6iTcgBbugmucC8FQrwCsBcZd/0af7taC3zg4IgLNh1H0JZHXEA5UbC0GJiCkBUvm0OT
71JMlc/vVlVimWdgXyDqORFC6j/cxCoPH+jTlI10DqcKS8s3cfbKVdE0J8MuNJ1raBX/ujaMT8fd0SmjSX3VvsiGtDsMSXGF0WnKq6q5Ug==
